                  Case 1:25-cv-02314-MAU                      Document 1             Filed 07/17/25          Page 1 of 228

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                                    District of Columbia

                                                                    Civil Division


                                                                           )      Case No.
                                                                           )                     (to be filled in by the Clerk’s Office)
             MARGUERITE PRIDGEN, pro se                                    )
                              Plaintiff(s)                                 )
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
                                                                           )      Jury Trial: (check one)          Yes           No
please write “see attached” in the space and attach an additional          )
page with the full list of names.)                                         )
                                  -v-                                      )
                                                                           )
                                                                           )
                                                                           )
        RUSSELL T. VOUGHT, DIRECTOR                                        )
     OFFICE OF MANAGEMENT AND BUDGET                                       )
                              Defendant(s)                                 )
(Write the full name of each defendant who is being sued. If the           )
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   Marguerite Pridgen
                                Street Address                         3881 Newark Street, NW F480
                                City and County                        Washington, DC
                                State and Zip Code                     20016
                                Telephone Number                       (202) 450-9010
                                E-mail Address                         mep@onebox.com


                                                                                                         RECEIVED
                                                                                                                     JUL 17 2025
                                                                                                             Clerk, U.S. District & Bankruptcy
                                                                                                             Court for the District of Columbia

                                                                                                                                           Page 1 of 6
                  Case 1:25-cv-02314-MAU                    Document 1    Filed 07/17/25      Page 2 of 228

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
                     Defendant No. 1
                                Name                           Russell T. Vought
                                Job or Title (if known)        Director, Office of Management and Budget
                                Street Address                 1600 Pennsylvania Avenue NW
                                City and County                Washington, DC
                                State and Zip Code             20503
                                Telephone Number               (202) 456-1111
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number



                                                                                                                  Page 2 of 6
                  Case 1:25-cv-02314-MAU                     Document 1         Filed 07/17/25        Page 3 of 228

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case


                                E-mail Address (if known)


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                       Federal question                                Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                       Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.; the Rehabilitation Act of 1973, 29
                       U.S.C. § 791 et seq.; the Whistleblower Protection Act of 1989 (WPA), 5 U.S.C. § 2302(b)(8), and the
                       Whistleblower Protection Enhancement Act (WPEA), Whistleblower Protection Enhancement Act of
                       2012, Pub. L. No. 112-199, 126 Stat. 1465 (2012)

          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                , is a citizen of the
                                           State of (name)                                                  .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                , is incorporated
                                           under the laws of the State of (name)                                                        ,
                                           and has its principal place of business in the State of (name)
                                                                                            .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual



                                                                                                                           Page 3 of 6
                  Case 1:25-cv-02314-MAU                       Document 1       Filed 07/17/25         Page 4 of 228

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case


                                           The defendant, (name)                                                  , is a citizen of
                                           the State of (name)                                                . Or is a citizen of
                                            (foreign nation)                                       .


                                b.         If the defendant is a corporation
                                           The defendant, (name)                                              , is incorporated under
                                           the laws of the State of (name)                                               , and has its
                                           principal place of business in the State of (name)                                            .
                                           Or is incorporated under the laws of (foreign nation)                                         ,
                                           and has its principal place of business in (name)                                             .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy−the amount the plaintiff claims the defendant owes or the amount at
                                stake−is more than $75,000, not counting interest and costs of court, because (explain):




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          See attachment.




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.



                                                                                                                              Page 4 of 6
                  Case 1:25-cv-02314-MAU            Document 1         Filed 07/17/25       Page 5 of 228

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case


          The Plaintiff was traumatized by the removal. The Plaintiff entered the Federal workforce as a teen and
          continued working for almost 30 years when she was suddenly terminated. She had never had a break in
          employment except to attend school. The Plaintiff routinely worked 50 -70 hours per week even when pursuing
          her master's degree at night. When she was sick, she went to work. When she was too sick to work, she
          begrudgingly used leave and still worked from home. Plaintiff spent most of her Federal career working on
          grants and financial assistance matters, and by 2007, Federal managers throughout the Executive Branch
          considered her an expert in Federal grants and cooperative agreements. This is why managers at OMB
          encouraged her to apply for a senior policy analyst position at the Agency. The Agency hired the Plaintiff in
          2007, and she received good performance ratings and performance awards until she began requesting disability
          accommodations and engaging in protected activity. The retaliatory treatment became progressively worse after
          she made other protected disclosures. During this time, she was cared financially and personally for a parent
          who was in the early stages of a terminal disease, and yet, the Plaintiff was still able to balance her professional
          responsibilities with her caregiver duties. Instead of offering support, the Plaintiff’s supervisor mocked the
          Plaintiff’s caregiving status and denied her leave under the Family and Medical Leave Act. This marginalization
          spiraled into progressively harsher retaliation by the Agency as the Plaintiff continued to deliver high quality
          work. On July 1, 2013, the Agency stopped paying the Plaintiff on the same day her supervisor placed her on the
          PIP. This was followed by the government shutdown which extended the period the Plaintiff was without her
          pay which was needed to cover living expenses for herself and for her sick parent. The Plaintiff had already been
          diagnosed with anxiety disorder, adjustment disorder, and disabling conditions and now because of the Agency
          was experiencing great emotional distress and health issues due to months without receiving income while
          having to work. She felt like and was being treated like an indentured servant. The Plaintiff’s health issues went
          untreated due to the loss of Federal health insurance after the removal. As a career civil servant, being fired from
          the Federal government after decades of service caused the Plaintiff significant stigma and harm to her personal
          and professional reputation. The removal was public as the Plaintiff was escorted out of the building with
          nothing but the clothes on her back in front of her co-workers. Even after the Board returned a decision in favor
          of the Plaintiff, the Board’s use of search engine optimization technology caused the Plaintiff’s MSPB case
          history to appear in the top results of a name search in perpetuity. This easy online access to the 2022 decision of
          MSPB in particular was essentially a billboard informing prospective employers that Plaintiff was an older
          disabled adult whistleblower who was fired, revelations that negatively impacted her competitiveness in a job
          market that favors young able-bodied candidates. Other career damage includes loss of 10 years of case law and
          regulation relevant to the Plaintiff’s specialty area and developmental assignments leading to senior level
          positions. The Plaintiff will always be 10 years behind others in these areas. She lost her contract officer
          representative certification, a recognized and transferrable certification required to manage Federal contract
          work. Per a 2022 MSPB order, the Plaintiff is again employed by the Agency, and is now facing potential
          backlash for the removal action and related legal activity under new Federal personnel policy. For the foregoing
          reasons, Plaintiff respectfully requests that this Court: (1) Reverse the Final Decision on remanded claims, (2)
          Find that the Agency failed to meet its burden under 5 U.S.C. § 1221(e)(2), (3) Award compensatory damages
          for emotional distress ($1,000,000), career rehabilitation ($30,000), and (4) attorney and court fees to be
          submitted separately, and (5) Grant such other relief as the Court deems just and proper.




                                                                                                                     Page 5 of 6
                  Case 1:25-cv-02314-MAU              Document 1         Filed 07/17/25       Page 6 of 228

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case−related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                     Date of signing:              07/17/2025


                     Signature of Plaintiff
                     Printed Name of Plaintiff      Marguerite Pridgen

          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                      Page 6 of 6
   Case 1:25-cv-02314-MAU             Document 1      Filed 07/17/25      Page 7 of 228

Complaint for a Civil Case (cont’d)                         Civil Action No. ____________




                                STATEMENT OF CLAIM

Plaintiff Marguerite Pridgen, pro se, brings this action pursuant to 5 U.S.C. § 7703(b)(2)

to seek review of the Merit Systems Protection Board ("MSPB" or "Board") decision on

June 18, 2025 affirming the basis for her removal from federal service. MSPB Docket

No. DC-0432-14-0557-B-1. Plaintiff asserts that her removal, purportedly for

unacceptable performance, was in fact the product of unlawful discrimination based on

race, color, and disability, and retaliation for protected disclosures and EEO activity, in

violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.; the

Rehabilitation Act of 1973, 29 U.S.C. § 791 et seq.; the Whistleblower Protection Act of

1989 (WPA), 5 U.S.C. § 2302(b)(8), and the Whistleblower Protection Enhancement Act

of 2012, Pub. L. No. 112-199, 126 Stat. 1465 (2012).


1. Plaintiff was hired by the Agency (Defendant) in 2007 as a GS-15 Policy Analyst, to

   lead the Federal grants management policy portfolio. Plaintiff had almost 30 years of

   federal service and was considered an expert in Federal grants. She had received good

   performance during her tenure at the Agency prior to making protected disclosures.

2. Beginning in 2010, Plaintiff engaged in protected EEO activity by filing complaints

   regarding denial of disability accommodation and reprisal. She also made protected

   disclosures to the Government Accountability Office (GAO) concerning agency

   failure to implement grant reform and the Federal Awardee Performance and Integrity

   Information System (FAPIIS).

3. In 2012, Plaintiff notified her first-line supervisor Karen Lee of protected disclosures

   to the Department of Justice (DOJ) regarding undue delays in implementing Public
   Case 1:25-cv-02314-MAU             Document 1     Filed 07/17/25      Page 8 of 228

Complaint for a Civil Case (cont’d)                        Civil Action No. ____________


   Law 110-417 and the grant fraud rule and filed a complaint with the Office of Special

   Counsel (OSC) concerning reprisal for whistleblowing.

4. Plaintiff's first-line supervisor was aware of Plaintiff's 2010 and 2012 EEO filings and

   filed an affidavit in response to claims in March 2012.

5. The Agency collective, including human resources managers and legal counsel

   involved in the decision to terminate Plaintiff, was aware of all Plaintiff's protected

   disclosures and EEO activities.

6. Lee deemed Plaintiff's performance unsatisfactory in May 2012, less than two months

   after filing an affidavit in the Plaintiff’s EEO case while Plaintiff was on

   administrative leave with no performance goals or plan in place.

7. The Agency maintained a list of Asian employees for special consideration in the

   workplace after President Obama issued an Executive Order 13515 on improving

   career and business opportunities for Asian-Americans and Pacific Islanders.

8. Plaintiff's Asian-American comparator, Hai (Gil) Tran (also a GS-15), received

   significantly more favorable treatment. His performance plan included lax generic

   requirements, allowing him to make mistakes and miss deadlines, while Plaintiff's

   plan imposed specific, rigid deliverables and perfection standards using subjective

   terms like 'thorough' and 'high-quality'.

9. The Agency routinely extended or ignored deadlines for Tran without attributing

   delays to performance deficiencies but denied extensions to Plaintiff and blamed her

   for delays not within her control.

10. The Agency assigned Tran to a private office based on his grade (GS-15) but

   repeatedly assigned Plaintiff (also GS-15) to shared offices, including one with five
   Case 1:25-cv-02314-MAU             Document 1     Filed 07/17/25     Page 9 of 228

Complaint for a Civil Case (cont’d)                       Civil Action No. ____________


   loquacious IT staff, which exacerbated her diagnosed Generalized Anxiety Disorder

   and Adjustment Disorder, a condition known to the agency since 2012.

11. The Agency routinely contested the legitimacy of Plaintiff's disabilities, made its own

   medical assessments, and insisted on work that aggravated her condition, rather than

   providing reasonable accommodation.

12. After learning of Plaintiff's EEO activity, the Agency placed Plaintiff on a second 90-

   day performance plan resembling a Performance Improvement Plan (PIP) in lieu of a

   standard 12-month performance plan, unlike for Tran. The agency began 'constructive

   removal' by reassigning her work, excluding her from communications and meetings.

13. During the entire 2013 PIP period, the Agency withheld the Plaintiff's paycheck,

   placing her under severe duress.

14. In 2014, the Agency removed Plaintiff from her position, citing a sole charge of

   unacceptable performance in a critical element. This removal action was preceded by

   a series of events indicative of discriminatory and retaliatory animus.

15. After removing the Plaintiff from federal service, the Agency falsely reported to the

   DC Department of Employment Services that the Plaintiff was terminated for

   misconduct, making her ineligible for unemployment benefits.

16. In 2022, the MSPB correctly reversed the Plaintiff’s removal on the basis that

   removal was not based on a critical performance element and remanded the Plaintiff’s

   claims of race, color and disability discrimination and retaliation to the MSPB

   Regional Office.

17. In 2025, the MSPB affirmed the agency’s basis for removal, improperly crediting

   post-disclosure performance justifications from the Agency and disregarding its own
  Case 1:25-cv-02314-MAU              Document 1     Filed 07/17/25     Page 10 of 228

Complaint for a Civil Case (cont’d)                       Civil Action No. ____________


   legal standard under 5 U.S.C. § 1221(e) and controlling precedent, while explicitly

   stating that the Plaintiff’s supervisors (Karen Lee and Norman Dong) “likely had

   motive to retaliate... and Lee had strong motive.” (See Exhibit A12, p.41.)

18. Plaintiff asserts that the Board’s Final Decision on remand claims is arbitrary and

   capricious because it failed to reconcile the Defendant’s burden with the factual

   record. Evidence shows retaliation was collective, sustained, and motivated by

   protected disclosures, EEO complaints, and Plaintiff’s race, color, and disability.



 Exhibit    Description                                  Reason for Including
 A1         Plaintiff and Comparator 2012–2013           Evidence of disparate treatment
            performance plan comparison                  between Plaintiff and
                                                         Comparator
 A2         Comparator and Plaintiff Workspace           Evidence of disparate treatment
            Assignments After EEO disclosures            between Plaintiff and
                                                         Comparator
 A3         Denial of Unemployment Benefits Due to       Evidence of Agency retaliatory
            Agency Misinformation                        motive
 A4         Plaintiff’s Pleading to MSPB on Remand       Supporting information on
            Claims                                       Plaintiff claims
 A5         MSPB Final Decision on Remand Claims         Decision being appealed
 A6         Paycheck Withheld During PIP Period          Evidence of Agency retaliatory
            2013                                         motive
      Case 1:25-cv-02314-MAU          Document 1       Filed 07/17/25   Page 11 of 228

Exhibit A2
Comparator and Plaintiff Workspace Assignments After EEO disclosures




Plaintiff workspace (cubicle in shared office with 5 people)




Tran Workspace (private office)
                            Case 1:25-cv-02314-MAU            Document 1         Filed 07/17/25      Page 12 of 228

Exhibit A1 Plaintiff and Comparator Performance Plan
Comparison

     OMB Strategic Plan goal          Appellant                          Comparator                        Appellant Analysis
     Improve effectiveness and        Develops thorough project          Collaborates to educate,          Appellant is assigned multiple
     efficiency of government rules   plans with appropriate             garner support, and to solicit    deadlines not within her
     and mandates.                    milestones for internal and        input and feedback on OFFM        control because they involve
                                      external coordination, review,     and OMB initiatives.              the complex and lengthy
                                      and issuance of policies           Collaborates with the             process of rulemaking.
                                      related to grants fraud and        appropriate organizations and     Comparator isn’t assigned
                                      accountability (e.g., proposed     at the appropriate level within   clear deliverables or any
                                      grants fraud rule, and FAPIIS      the organizations. Results of     specific deadlines.
                                      final rule). Identifies strategy   collaboration and analysis will
                                      and guidance, as necessary,        be reported to senior
                                      to bring together efforts under    management on a regular
                                      DNP with FPAIIS to reduce any      basis. Communicates, written
                                      duplication of efforts.            and verbally, analysis that is
                                      Proposed fraud rule is issued      clear, concise, relevant and
                                      by December 2012. Final            timely.
                                      FAPIIS rule issued by
                                      December 2012.
     Improve effectiveness and        Develops thorough project          Analyzes, using cost-benefit      Appellant is assigned multiple
     efficiency of government rules   plan with appropriate              analysis, and any other           deadlines not within her
     and mandates.                    milestones for internal and        appropriate analytical            control because they involve
                                      external coordination, review,     methods, recommended              internal clearance and
                                      and issuance of policies           options and provides other        compliance by other agencies.
                                      related to addressing GAO          viable options for improving      Comparator isn’t assigned
                                      recommendations on                 grants management policies        clear deliverables but the work
                                      undisbursed grant balances         to better target waste, fraud,    he is assigned is within his
                                      by August 2012. Drafts             and abuse, reduce                 control.
                                      accurate, complete,                administrative burden on
                                      coordinated, appropriate, and      recipients, and improve
                                      high-quality OMB response          performance & results. Makes
                                      and ensures timely transmittal     recommendations to senior
                                      of OMB response to GAO             management on changes to
                                      recommendations. Drafts            government-wide policies

                                                                                                    EXHIBIT 2
                      Case 1:25-cv-02314-MAU         Document 1         Filed 07/17/25      Page 13 of 228




OMB Strategic Plan goal     Appellant                           Comparator                        Appellant Analysis
                            Controller’s Alert. 70% of all      based on this analyses and
                            grant-making agencies have          evaluation. Develops and
                            developed internal controls         revises policies through
                            and processes to reduce the         guidance or other
                            amount of undisbursed grant         instrumentalities to further
                            balances in expired accounts.       support Administration goals
                                                                by March 2013. Identifies
                                                                opportunities to integrate
                                                                other EOP efforts into grant
                                                                reform work.
Improve effectiveness and   Based on clear and cogent           Identify a baseline of            Appellant is assigned multiple
efficiency of government    analysis, drafts effective data     outstanding audit findings and    deadlines not within her
programs.                   quality guidance that               develop a mechanism to            control because they involve
                            enhances the timeliness,            continue to identify progress     other agencies. Assignment to
                            accuracy, and completeness          in closing out open audit         draft guidance that results in
                            of USAspending.gov data,            findings by March 2013. Work      timeliness, accuracy and
                            while balancing agency              with the COFAR to identify        completeness of a data
                            resource constraints, in            what specific risk strategies     system is illogical and
                            coordination with Federal           could be established to more      nonsensical. Comparator isn’t
                            agencies through the Council        effectively close out high-risk   assigned clear deliverables.
                            on Financial Assistance             audit findings by March 2013.
                            Reform (COFAR) and relevant
                            OMB offices (e.g., OFPP, e-
                            Gov, PPM) by September 2012.
                            Provides accurate, thorough,
                            and high-quality analysis and
                            recommendations to inform
                            other inquiries. Identifies any
                            inconsistencies or needs for
                            clarification in current policies
                            and drafts recommendation to
                            address these area. Identifies
                            timeframe for review of

                                                                                           EXHIBIT 2
                       Case 1:25-cv-02314-MAU         Document 1        Filed 07/17/25     Page 14 of 228




OMB Strategic Plan goal       Appellant                         Comparator                       Appellant Analysis
                              documents for OMB clearance
                              and manages process to
                              ensue efficient and timely
                              review and clearance.
                              Guidance is issued by
                              December 2012.

Improve effectiveness and     Develops thorough project         Analyzes, using cost-benefit     Appellant is assigned deadline
efficiency of government      plans with appropriate            analysis, and any other          not within her control because
programs.                     milestones for oversight. By      appropriate analytical           it requires compliance by
                              2013, 100% of agencies have       methods, recommended             other agencies. Comparator
                              identified a process to certify   options and provides other       isn’t assigned clear
                              reliability.                      viable options for improving     deliverables or any specific
                                                                grants management policies       deadlines
                                                                to better target waste, fraud,
                                                                and abuse, reduce
                                                                administrative burden on
                                                                recipients, and improve
                                                                performance & results. Makes
                                                                recommendations to senior
                                                                management on changes to
                                                                government-wide policies
                                                                based on this analyses and
                                                                evaluation. Develops and
                                                                revises policies through
                                                                guidance or other
                                                                instrumentalities to further
                                                                support Administration goals.
Ensure agencies develop,      Identify 1-2 policy priorities    Based clear and cogent
express and implement         and provide specific              analysis, develops and drafts
policies in accordance with   recommendations, timeline,        a strategy and guidance in
the President’s budget.       implementation plans.             coordination with Federal
                              Develops and revises policies     agencies, for use of Single

                                                                                           EXHIBIT 2
                       Case 1:25-cv-02314-MAU        Document 1      Filed 07/17/25     Page 15 of 228




OMB Strategic Plan goal       Appellant                       Comparator                    Appellant Analysis
                              thorough guidance and other     Audit findings to reduce
                              instrumentalities to further    administrative burden to
                              support Administration goals.   recipients, and improve
                                                              performance results by 2013
Ensure agencies develop,      Ensures that all existing,      Not applicable
express and implement         government-wide grants OMB
policies in accordance with   approved forms have
the President’s budget.       continuing approval by OIRA.
                              Recommends and issues
                              specific policy changes
                              designed to reduce reporting
                              burden.




                                                                                       EXHIBIT 2
           Case 1:25-cv-02314-MAU        Document 1             Filed 07/17/25       Page 16 of 228

Exhibit A3 Denial of unemployment benefits due to
                  D.C. DEPARTMENT OF EMPLOYMENT SERVICES
agency misinformation
                            CENTRAL ADJUDICATION BRANCH
                                     P.0. BOX 23794
                                 WASHINGTON, D.C. 20026
                        DETERMINATION BY CLAIMS EXAMINER

   CLAIMANT:                                                     EMPLOYER:
  MARGUERITE PRIDGEN                                            OFF OF MGMT & BUDGET--FINANCIA
                                                                725 17TH ST NW
  3881 NEWARK ST NW APT F480
  WASHINGTON, DC- 20016-3029                                       WASHINGTON, DC- 20503


                                           Do not edit above this line
                                                   Fold here




   SOCIAL SECURITY NUMBER: XXX-XX-7100

   ISSUE: Discharge for Misconduct
   REASON FOR DETERMINATION:                                                            the
                                                  work performance. The claimant denies was
   The claimant was discharged for unsatisfactory
                                          she was never warned that   her  performance
   employer allegations, and states that
   unsatisfactory.

                of Columbia Unemployment Compensation Act in D.C. Code, Title 51-110(b)(1),
   The District                              from receiving benefits if it is found that
                                                                                         he/she
   provides that an individual shall be disaualified                                          of the
                                              employer for misconduct occurring in the course
   Was discharged from his/her most recent
   work.

                 has  the responsibility to provide evidence of this misconduct. In this case the
   Tne employer                                        support a finding of misconduct. Therefore,
   empioyer has not provided sufficient evidence to has not been established.
   Work related misconduct on the part of the claimant
   DECISION:
                                                                         eligible for unemployment benens
   nererore the claimant listed herein is determined
   effective 03/09/2014.
                                                                                         the claimant named
    I certify that a copy of this document was      mailed to the employer and to
    hergif at heabove addresses on x/xx/xXXX.


    CURTIS < ALISHIA
   Claims Examiner
                                                      OF APPEAL RIGHTS
                   SEETHE ENCLOSED D.c. cODE & NOTICE
      Case 1:25-cv-02314-MAU            Document 1       Filed 07/17/25       Page 17 of 228

             Exhibit A4_ Plaintiffs's Pleading on remand claims


                             UNITED STATES OF AMERICA
                          MERIT SYSTEMS PROTECTION BOARD
                           WASHINGTON REGIONAL BOARD


 MARGUERITE PRIDGEN,

         Appellant,                                   DOCKET NUMBER
                                                      DC-0432-14-0557-B-1
 v.

 OFFICE OF MANAGEMENT AND
 BUDGET,

         Agency.


                      APPELLANT’S BRIEF ON REMAND CLAIMS
         Appellant Marguerite Pridgen, pro se, submits this brief on the remand claims in

 response to the Administrative Judge’s “Summary of Status Conference and Order Closing

 the Record” dated January 30, 2024 and “Order Granting Extension of Time” dated February

 21, 2024. See Remand Appeal File (RAF), Tabs 20 and 23.

         The Board reversed the agency’s sole charge of performance-based removal, and the

agency offered no other basis for removing the appellant from the Federal service. Petition for

Review (PFR) File, Tab 3. The Board posed certain matters for the Administrative Judge or AJ to

re-assess on remand. The AJ presented those matters in the “Summary of Status Conference and

Order Closing the Record” (RAF Tab 20) which in summary includes (1) whether the appellant

met her burden to prove her Performance Improvement Plan or “PIP” assignments were the

result of race, color, and disability discrimination taking into consideration the similarly situated

employee and any other probative evidence, (2) whether the agency would have removed the

appellant regardless of the discriminatory assignments, and (3) whether any of the appellant’s

                                                  1
      Case 1:25-cv-02314-MAU             Document 1        Filed 07/17/25      Page 18 of 228




protected activities were a contributing or motivating factor in the agency’s decision to remove

her. In her initial filing through counsel and subsequent petition for review submitted pro se, the

appellant presented affirmative defenses in support of her claims that the agency’s basis for her

removal was unrelated to her performance, and instead, was an act of reprisal for the appellant’s

protected disclosures that wouldn’t have been taken but for her by race, color, and disability

status. This brief provides arguments and evidence in support of the appellant’s claims. When

taken collectively, the evidence shows that the agency used the performance system to cloak its

efforts to punish the appellant for protected activity, and if not for her protected activity, race,

color, and disability status, the agency wouldn’t have even taken a removal action. The appellant

attests that the unlawful removal had an extremely adverse impact on her emotional health and

professional identity and on the standard of living for herself and the terminally ill parent under

her care, justifying precedential equitable relief by the Board including $1,000,000 in damages

for emotional distress, humiliation and reputational harm, $30,000 for training needed to regain

the certification for contractor officer representative lost and makeup for developmental training

opportunities missed during the last ten years due to the removal, and actual attorney’s fees to be

requested under a separate petition.

                                   FACTUAL BACKGROUND

        The appellant adopts the Procedural History set forth in the AJ’s status summary (RAF,

Tab 28) and the factual information provided in her petition for review (see PFR FILE, Tab 3 at

9-13), previous filings and the following timeline organized to show the proximity of agency

actions to the appellant’s protected activities:

2007-2010 - The agency deemed appellant to have met performance standards.



                                                   2
      Case 1:25-cv-02314-MAU           Document 1       Filed 07/17/25     Page 19 of 228




2010 – The agency denied appellant’s initial requests for disability accommodation.

2010 – The appellant filed an EEO complaint regarding denial of disability accommodation.

2010 – The agency reassigned several of appellant’s key work duties without her input.

2010-2011 – The agency managers provided affidavits in response to the appellant’s 2010 EEO

complaint.

2011 – The appellant filed a new EEO complaint regarding discrimination and reprisal for 2010

protected activity that included a disclosure she made to GAO regarding GAO over agency

failure to implement grant reform per Public Law 106-107 and FAPIIS per Public Law

110-417.

2011 - The agency alleged the appellant made written threats and placed the appellant on

administrative leave.

2011-2012 - The agency managers filed affidavits in response to 2012 EEO complaint.

2011 - The agency changed the appellant’s leave status to sick leave and annual leave without

notifying the appellant and then notified her through a human resources manager from another

organizational component that there would be “dire consequences” if she didn’t provide

documentation to justify the leave use and assure she was fit for duty.

2012 - The appellant provided the agency with a statement from a medical practitioner

describing her diagnosis of Generalized Anxiety Disorder and Adjustment Disorder, confirming

that she was fit for duty.

2012 - The agency directed the appellant to report to work on a specified day.



                                                 3
       Case 1:25-cv-02314-MAU          Document 1        Filed 07/17/25     Page 20 of 228




2012 - The appellant informed agency human resources and personnel security managers that the

Federal Protective Service prevented her from entering the building because she was on the “Do

Not Admit” list.

2012 - The agency for the second time directed the appellant to report to work on a specified day.

2012 - The appellant informed agency human resources and personnel security managers that the

Federal Protective Service prevented her from entering building again because she was on the

“Do Not Admit” list.

2012 -The agency for the third time directed the appellant to return to her office on a specified

day.

2012 - The appellant, who was traumatized and in fear for her safety because of the previous two

incidents with the Federal Protective Service, gained access to her office only to find that her

work area was trashed and entrance to her specific workspace was blockaded.

2012 - The appellant’s supervisor (Lee) filed an affidavit in response to appellant’s 2012 EEO

claims.

2012 - The appellant’s supervisor refused to develop a 2011-2012 performance plan for appellant

but established a plan and evaluation for that period for Tran.

2012 - The appellant filed an MSPB appeal alleging agency refused to provide her with a 2011-

2012 performance plan and placed her under an invalid 90-day PIP like performance plan for

2012-2013.




                                                 4
      Case 1:25-cv-02314-MAU          Document 1       Filed 07/17/25      Page 21 of 228




2012 - The appellant notified her supervisor (Lee) of her disclosure to DOJ’s Offices of Inspector

General and Attorney General regarding how the agency was unduly delaying implementation of

Public Law 110-417 and the grant fraud rule.

2012 - The agency placed the appellant on a second 90-day performance plan resembling a PIP

in lieu of a 12-month performance plan.

2012 - The appellant filed an appeal with the Board regarding agency refusal to provide her with

a 2011-2012 performance plan and placing her under an invalid 90-day performance plan for

2012-2013.

2012 - The appellant filed a complaint with the Office of Special Counsel (OSC) regarding

reprisal for whistleblowing related to failure of agency to implement Public Law 100-417

2012 - The agency issued a performance counseling memo to the appellant citing poor

performance.

2013 - OSC notified agency of appellant’s 2012 complaint.

2013 - The agency denied the appellant’s request for an adequate accommodation for carpal

tunnel after the dictation software wasn’t working for database entry and her symptoms were

worsening.

2013 – The appellant’s supervisor insisted that she continue doing data entry work that

aggravated her disability.

2013 - The appellant made disclosures to OSC regarding agency’s continued failure to

implement Public Law 110-417 and directing agencies to underreport undisbursed balances in




                                                5
      Case 1:25-cv-02314-MAU           Document 1       Filed 07/17/25      Page 22 of 228




expiring grant accounts. The appellant’s disclosure describes management’s role in trying to

cover up the issue.

2013 - The agency gave appellant an unsatisfactory performance rating.

2013 - The appellant appealed the unsatisfactory performance rating.

2013 - The agency rejected the appellant’s appeal of unsatisfactory rating and appellant

responded to Dong and his supervisor regarding the agency’s continuing reprisal for protected

activity.

2013 - The agency placed the appellant under a 90-day Performance Improvement Plan or PIP.

2013 - The agency withheld the appellant’s paycheck during the entire 2013 PIP period.

2013 - The agency gave the appellant an unsuccessful performance rating.

2013 - The agency gave the appellant a Notice of Proposed Removal memo without supporting

information, confiscated appellant’s building pass, and escorted her out of the building.

2014 - The agency removed the appellant from the federal service based on performance.

2014 - The appellant filed an initial appeal of the removal action with the Board.

2014 - The agency reported to DC Department of Employment Services that appellant was

terminated for misconduct making her ineligible for unemployment benefits.

2014 -The appellant learned about the agency’s false report to the DC Department of

Employment Services after she was denied unemployment benefits and appealed the denial.




                                                 6
       Case 1:25-cv-02314-MAU                Document 1          Filed 07/17/25         Page 23 of 228




2014 - The agency reaffirmed with DC Department of Employment Services that the appellant’s

termination was for misconduct but appellant won denial of benefits appeal when the agency was

unable to provide documentation supporting the misconduct-based termination.

2022 - The agency informed the appellant that it would not comply with the Board’s order dated

September 12, 2022 after the appellant expressed indifference with returning to the agency.

2022 - The agency didn’t cancel the appellant’s removal and restore her by the Board ordered

deadline.1

2024 - The appellant applied for the SES Career Development Program, and the agency denied

the appellant access to scores, rater’s comments, and other information pertaining to her

application.


I.      Legal Standards

        As stated in the AJ’s “Summary of Status Conference and Order Closing the Record”

dated January 30, 2024, an appellant may receive injunctive, forward-looking relief if she shows

that discrimination based on one or more of the identified bases (i.e. race, religion, age, and

disability) was a “motivating factor” in her removal. Pridgen, 2022 MSPB 31. To obtain the full

relief, including status quo ante relief, compensatory damages, or other forms of relief related to

the result of an employment decision, she must show that such discrimination was a “but-for”




1
 The agency initially claimed through counsel it didn’t have sufficient financial information to meet the board’s
order despite the appellant providing massive amounts of financial and tax information to them. The agency then
claimed a suitability determination was required although the appellant confirmed no suitability determination was
necessary for cancelling the appellant’s removal. There is no evidence that agency even initiated the suitability
determination process until after the appellant retained counsel.



                                                         7
      Case 1:25-cv-02314-MAU            Document 1       Filed 07/17/25       Page 24 of 228




cause of the employment outcome. Id. The “but-for” causation standard does not require

discrimination to be the sole cause of the contested action, only a necessary one. Id., ¶¶ 22, 42.

There may be more than one but-for cause of a single employment action. Id. An appellant may

prove discrimination under these different standards of proof by various methods. Id., ¶¶ 23, 42.

“An employee may prevail even when the employer acted with mixed motives, i.e., when there is

evidence that discrimination was one of the multiple motivating factors for an employment

action such that the employer acted on the bases of both lawful and unlawful reasons.” 24 MSPB

3. No one method is the exclusive path to a finding of liability. Id. The methods by which an

appellant may prove a claim of disability disparate treatment discrimination are (1) direct

evidence; (2) circumstantial evidence, which may include (a) evidence of “suspicious timing,

ambiguous statements oral or written, behavior toward or comments directed at other employees

in the protected group, and other bits and pieces from which an inference of discriminatory intent

might be drawn,” also known as “convincing mosaic”; (b) comparator evidence, consisting of

evidence, whether or not rigorously statistical, that employees similarly situated to the plaintiff

other than in the characteristic on which an employer is forbidden to base a difference in

treatment received systematically better treatment; (c) evidence that the agency’s stated reason

for its action is “unworthy of belief, a mere pretext for discrimination” (i.e., the burden-shifting

standard under McDonnell Douglas Corp. Green, 411 U.S. 792, 802-04 (1973)); and (3) some

combination of direct and indirect evidence. Id. at ¶¶ 24, 42. Not all of the above types of

evidence, i.e., direct, “convincing mosaic,” comparator, or pretext, will be needed in every case.

       To establish her claim of whistleblower reprisal, the appellant must prove by

preponderant evidence that: (1) she made a protected disclosure under 5 U.S.C. § 2302(b)(8) or

engaged in activity protected by 5 U.S.C. § 2302(b)(9)(A)(i), (B), (C), or (D); and (2) that the



                                                  8
      Case 1:25-cv-02314-MAU            Document 1       Filed 07/17/25       Page 25 of 228




whistleblowing was a contributing factor in the personnel action being appealed. The Board

already determined that the appellant engaged in protected activity. Pridgen v. Office of

Management and Budget, 2022 MSPB 31, ¶¶54-66. Therefore, the appellant must prove her

protected activity was a contributing factor to her removal. An appellant may prove

whistleblowing was a contributing factor to a personnel action by establishing the

“knowledge/timing test” – i.e., that the official taking the action knew of the disclosures and

thereafter took the personnel action within a period of time such that a reasonable person could

conclude that the disclosure was a contributing factor in the personnel action. See, e.g., Strader v.

Department of Agriculture, 475 Fed. Appx. 316, 321 (Fed. Cir. 2012). The Board has held that

actions taken within two years of an official’s knowledge of the protected disclosure/activity is

sufficient to meet the “knowledge/timing test.” If the appellant fails to satisfy the

knowledge/timing test, the administrative judge shall consider whether the appellant proved

contributing factor through other evidence, such as that pertaining to the strength or weakness of

the agency’s reasons for taking the personnel action, whether the whistleblowing or protected

activity was personally directed at the proposing or deciding officials or directed more broadly at

the agency, and whether agency officials connected or disconnected from the removal action had

a desire or motive to retaliate against the appellant. Garilynn Smith v. Department of the Army,

2022 MSPB 4, Opinion and Order, ¶¶28-29. In Smith v. Army, the Board held that although

none of the relevant officials were directly implicated in the appellant’s disclosures, they had a

motive to retaliate because the appellant’s disclosures cast the agency as a whole in a negative

light and jeopardized the agency’s funding. The AJ in evaluating the remand claims under

Pridgen, 2022 MSPB 31 should apply this broader view of retaliatory motive as the court has




                                                  9
      Case 1:25-cv-02314-MAU                Document 1          Filed 07/17/25        Page 26 of 228




found that an official may have a retaliatory motive even if she is not directly involved in the

work at issue in an employee’s disclosure. 2022 MSPB 4, Opinion and Order, ¶¶29.

II.     Race, Color, and Disability Discrimination
        The Board determined that the appellant’s coworker Hai (Gil) Tran was similarly situated

to her and directed the AJ to determine whether the appellant met her burden of proving her PIP

assignments were the result of discrimination, taking into consideration the similarly situated

employee “and any other probative evidence.” The Board further directed the AJ to determine

whether the agency would have removed the appellant regardless of the discriminatory

assignments. The appellant is providing the following in defense of her claims that her

comparator received more favorable treatment in workplace assignments because he was Asian

and that the agency wouldn’t have removed the appellant had she been Asian.

        The agency showed preferential treatment toward Asians in the workplace. On October

14, 2009, President Obama issued “Executive Order 13515-Asian American and Pacific Islander

Community,” which among other actions, required a plan to “identify ways to foster the

recruitment, career development, and advancement of AAPIs [Asian Americans and Pacific

Islanders] in the Federal Government.” See E.O. 13515, Section 3.d. In response to E.O. 13515,

the Agency developed and maintained a list of Asian employees to receive special consideration

in career and employment activities. The list was referred to by some Asian employees as the

“yellow list”2 and the agency used the list in implementing race-conscious policies and practices




2
 Asian employees such as Bing Bradshaw referred to the list as the “yellow list” and encouraged Asian employees
to make sure they were on the list. The appellant had seen a version of the with Tran’s name.

                                                       10
       Case 1:25-cv-02314-MAU                Document 1         Filed 07/17/25         Page 27 of 228




that unfairly boosted opportunities for Asian Americans and Pacific Islanders to ascend higher

graded positions while negatively impacting African-American employees.3 Exhibit 1.

        The agency treated the appellant’s comparator more favorably due to race under the

performance management process. The appellant’s comparator Hai (Gil) Tran was on the list

of AAPI employees. The first and second level supervisors of the comparator and the

appellant were both members of the AAPI community due to their Asian ancestry. The

appellant’s supervisors treated Tran more favorably than her in several noticeable ways.

During the hearing, the appellant’s first line supervisor (Lee) emphasized that there were

differences between the performance plans of Tran and the appellant and primarily because

of their different work assignments. Hearing Transcript (HT) Day 2, p.88, ¶¶4-14. However,

Lee didn’t mention the key difference was that she included lax generic requirements in the

comparator’s plan, allowing him to make mistakes, miss or self-extend deadlines, and still

meet his performance goals. Conversely, the appellant’s supervisor included very specific

and rigid deliverables and deadlines in the appellant’s performance plan, leaving little slack

for the appellant to make a mistake or miss a deadline and still meet her goals. In the

appellant’s 2012-2013 performance plan, the appellant’s supervisor routinely used highly

subjective terms such as “thorough” and “high-quality” and established perfection standards

which required the appellant to “ensure” certain actions would occur or achieve “100%”

completion to meet the performance standards. The appellant’s comparator had no perfection

standards in his performance plan. The appellant’s plan included performance requirements



3
 Between 2009 to 2015, the percentage of AAPI employees at the GS-15 level increased in the agency workforce
while the percentage of GS-15 African American employees decreased with the agency’ implementation of E.O.
13515. See Fedscope.gov data by ethnicity and Exhibit 3. This suggests that the agency’s E.O. implementation had a
disparate impact on the African American workforce.

                                                       11
       Case 1:25-cv-02314-MAU                 Document 1           Filed 07/17/25          Page 28 of 228




that were highly dependent on processes and timing of activities not within her control

including federal rulemaking, governmentwide compliance, and agency clearance.

Conversely, the performance elements in the comparator’s plan included mostly broadly

stated self-directed work assignments with loose standards involving collaboration, making

recommendations, and identifying progress within unspecified deadlines. During Tran’s

performance period, his performance expectations remained static. Conversely, the

appellant’s supervisor repeatedly redefined and changed key elements of the appellant’s

assignments during their discussions making it unclear what the expectations were during the

performance (PIP) period. PFR, Tab 3. In addition to differences in performance plans, there

were differences in how the appellant and her comparator were treated in the workplace. The

agency assigned the comparator to a private office on the basis of his grade (GS-15) and

repeatedly assigned the appellant (GS-15) to shared offices. The last shared office assigned

to the appellant was occupied by five loquacious information technology staff who made it

difficult for the appellant to concentrate because of her anxiety disorder which was known to

the agency since 2012. HT Day 2, Tab 25 at 52, 18-22; at 205, 13-22; at 206, 1-4; and at 213,

15-22. After learning that 2011-2012 performance plans weren’t established for Tran and the

appellant, the agency established a 12-month plan for Tran and Lee gave him a positive

performance rating but established a 90-day plan resembling a PIP for the appellant and

subsequently gave her no performance rating followed by a negative performance rating. The

agency gave Tran authority to hire interns and approve appellant’s timecards but didn’t extend

these authorities to the appellant who was the same grade (GS-15) but unlike her comparator

had formal supervisory experience.4 The agency regularly gave Tran timely contract


4
 Prior to 2010, the agency asked the appellant to participate in selection panels for interns and vacant positions and
asked to serve in the roles of acting branch chief and acting deputy controller.

                                                          12
       Case 1:25-cv-02314-MAU                 Document 1          Filed 07/17/25          Page 29 of 228




resources to complete routine work including the annual update of the single audit compliance

supplement but refused to grant a request for special project funding (grants workforce

development) made by the appellant until the late in the appellant’s PIP period. PFR File, Tab

3 at Exhibit G4. Contrary to Lee’s testimony, the agency routinely extended or ignored

deadlines for Tran without attributing delays in his work to a performance deficiency and

routinely denied extensions to the appellant and attributed delays not within her control to

poor performance and poor communication.5 The agency allowed Tran to work compensatory

time but typically denied such requests from the appellant. On the few occasions the

appellant’s compensatory time requests were approved, Lee characterized the appellant’s

need for compensatory time as a reflection of her poor planning and time management. PFR

File, Tab 3. The agency allowed Tran to maintain his core assignments and choose additional

work assignments but denied the appellant the opportunity to do so. Instead, the agency

allowed other staff to routinely cherry pick work from the appellant’s assignments. Id. 6 The

agency allowed Tran to work independently but routinely interfered with the appellant’s

planning and delivery of her assignments. The appellant was blamed for the mistakes her

supervisor made in editing work products while Tran was not. PFR FILE, Tab 3. Of note,

several times after the appellant would request ‘use-or-lose’ annual leave, Lee told her she

had to come in the office to edit memos and therefore needed to cancel her leave. When the

appellant came into the office, Lee would ask her to add punctuation marks and change the

article in the sentence such as change “the” to “a.” The appellant questioned why she had to




5
  Lee testified that she didn’t have to extend performance goal deadlines for Tran, but Tran had very few deadlines in
his plan. See HT Day 2, Tab 25 at 85, 5-9 and Exhibit 2.
6
  The appellant’s 90-day PIP assignments related to grants workforce development and data reliability in
USAspending.gov remain unfinished 10 years after the appellant’s removal despite still being considered high
priority by the agency.

                                                         13
       Case 1:25-cv-02314-MAU                 Document 1           Filed 07/17/25         Page 30 of 228




change her leave for something so minor and Lee’s response was typically that had the

appellant used her leave earlier in the year she wouldn’t have so much expiring leave days.

         The agency made it difficult for employees to get accessible workplaces under the

Americans with Disabilities Act. The appellant struggled with getting the agency to take her

disability accommodations requests seriously. Her initial requests were denied or dismissed,

and consequently, she felt compelled to file a claim with the EEOC. The agency’s 2023

Federal Employee Viewpoint Survey (FEVS) reaffirms similar issues the appellant faced in

her previous tenure at the agency. The FEVS reveals that most employees in the agency’s

Office of Federal Financial Management found it difficult to request accessibility

accommodations and the agency didn’t respond to their accessibility needs in a timely

manner. Exhibit 57.

         The agency treated the appellant adversely because of her disabilities. The agency

took a series of actions and made statements that demonstrated hostility toward the appellant

due to her disability status. In 2011, the agency placed the appellant on administrative leave

and then placed her on sick leave and annual leave without informing her. Soon after, the

appellant received calls from a human resources manager who explained that the agency

threatened dire consequences that could include placing the appellant on AWOL status or

removal if no medical note was provided for extended leave the agency was charging without

her knowledge.8 The agency then questioned the legitimacy of the appellant’s disabilities and

made its own medical assessments of the appellant’s disabilities. HT Day 2, Tab 25 at 213,




7
  See employee responses to Questions 83 and 84.
8
 The agency placed the appellant on administrative leave in 2011 without a return to work date. In 2012, Carrie
Croak from the Executive Office of the President, Office of Administration, informed the appellant by voice mail
that the agency was making threats to take adverse personnel actions if she didn’t justify her sick leave and annual
leave that she was unaware was being charged to her leave account. HT Day 2, Tab 25 at 371, 8-15.

                                                          14
      Case 1:25-cv-02314-MAU          Document 1        Filed 07/17/25     Page 31 of 228




15-22 and at 214, 1-5. The terminating official (Dong) stated that he and other agency

managers questioned whether her disabilities were legitimate. Id. The agency contested that

the appellant’s difficulty with concentration and noisy work environments was related to her

diagnosis of generalized anxiety disorder (GAD) and adjustment disorder (AD) despite the

fact that these are common symptoms associated with these disorders: “To the extent that the

appellant may argue that noises in her work area disturbed her due to a disabling condition,

OMB will contest the allegation and argue that appellant did not have disabling condition as

defined by the Americans with Disabilities Amendments Act of 2008 (ADAAA).” See

Pridgen v. Office of Management and Budget, MSPB Docket No. DC-0432-14-0557-I-1,

IAF, Tab 40 at 5, 11 The terminating official (Dong) stated in his testimony that “there was

some discussion about whether the requests were legitimate requests for accommodation”

and that he and the appellant’s first line supervisor (Lee) believed that the appellant’s

accommodations requests were excuses for not meeting performance expectations HT Day 2,

Tab 25 at 252, 18-22, at 253-260. Exhibit 9 at 74; at 76; at 99 14-19 . The agency was basing

its assessment of the legitimacy of the appellant’s requests on whether other employees in the

same space were able to function without an accommodation. HT Day 2, Tab 25 at 259, 22

and at 260-261. Exhibit 9 at 69, 20; at 70, at 71, 9. It was discriminatory for the agency to

assess the need for accommodation based on the abilities of other employees.

       The agency’s Office of Federal Financial Management showed preference for white

and light complected employees in career advancements. No individual of the appellant’s

color or darker was ever promoted in the Office of Federal Financial Management to a career

GS-15 or senior executive service position during the period 2007 to 2024. The Office

received applications from many people of color some of whom had graduated from the SES


                                                15
       Case 1:25-cv-02314-MAU           Document 1       Filed 07/17/25       Page 32 of 228




CDP program or were already in SES positions and none was selected for senior executive

positions and GS-15 positions in the office. Although it is possible for more than 17-years to

pass with no person of dark color to be selected, it is more likely that than not that the Office

is color conscious when determining ascensions to higher graded positions and senior

executive positions. This behavior not only violates the fundamental principles of equality

and fairness but also constitutes a clear violation of anti-discrimination laws.

        The agency’s Office of Federal Financial Management enabled racial-tinged sexual

harassment of female African American employees by white male employees. The Office

directed the appellant to work with a white male branch chief (Wetklow) from Virginia after

he told a female African American employee around the appellant’s complexion that he’d

take her to the woodshed if she misbehaved. There is no evidence that he ever said this to

white or light complected males or females in the Office or the agency. Regardless, a white

male supervisor saying this to a black female subordinate in a workplace is beyond

inappropriate and disturbing as it has overtones of both racial and sexual harassment. Even

more disturbing is that the there is no evidence that the branch chief was reprimanded for his

behavior, suggesting the agency either condoned the behavior or acquiesced because it

involved a black female. The agency’s dismissive approach to this incident was evidence that

they were willing to allow racial-tinged sexual harassment of female African American

employees by white male employees without recourse. With this awareness, the appellant’s

working environment became more stressful as her supervisor (Lee) repeatedly directed her

to work with the branch chief on a PIP assignment.

III.   Whistleblowing and Other Protected Activity




                                                 16
      Case 1:25-cv-02314-MAU           Document 1        Filed 07/17/25    Page 33 of 228




       The Board in its September 12, 2022 Opinion and Order took issue with the appellant’s

argument that the timing of the 2010 protected activity was relevant to the removal action. PFR

File, Tab 48. The appellant would like to add context that explains that the 2010 EEO complaint

didn’t end with the agency dismissal of the complaint in 2011 and instead continued with the

processing of the 2012 complaint which addressed agency reprisal taken in response to the 2010

complaint and other claims. From 2010-2012, the agency took affidavits from the appellant’s

supervisors and coworkers and issued two reports of investigation, the last one issued on May 1,

2012. Essentially, the appellant’s 2010 EEO complaint was the impetus for the 2012 complaint,

and therefore, the 2010 EEO activity would be considered “other evidence” in re-assessing

relevance of this protected activity to the removal action.

       The Board already determined that the appellant engaged in other protected activity

within two years of the removal action. Pridgen, 2022 MSPB 31, ¶¶54-66. Therefore, the

appellant must prove her whistleblowing was a contributing factor to her removal. After the

agency became aware of the appellant’s EEO activity in 2010, the appellant was treated

adversely and the agency began to constructively remove her from her job. Soon after learning

of the appellant’s disclosures, the agency began constructive removal of the appellant by

reassigning her work, leaving her out of communications and meetings related to her work,

placing her on illegal PIPs, and withholding her pay during the 2013 PIP period. The agency

continued taking adverse actions against the appellant after her removal from federal service in

2014 including attempting to prevent her from securing unemployment benefits and not

providing access to personnel records she requested pursuant the Privacy Act claiming they no

longer had them. Exhibits 7 and 8. Several of the appellant’s disclosures were again discussed in

her 2013 appeal to Dong regarding her negative performance evaluation. Exhibit 4. The



                                                 17
      Case 1:25-cv-02314-MAU           Document 1        Filed 07/17/25         Page 34 of 228




terminating official, human resources manager, and other managers testified that the agency

collectively informed the decision to terminate rather than demotion or reassignment without

clear justification. HT Day 2, Tab 25 at 70, 2-8; at 74, 10-21; at 269, 4-22.

        The agency collective was aware of all of the appellant’s disclosures. The appellant’s

first line supervisor (Lee), who recommended the appellant’s removal, filed an affidavit on

March 30, 2012 in which she acknowledged awareness of the appellant’s 2010 EEO filing

and responded to questions regarding her role in reprisal and discriminatory treatment that

was the subject of the 2012 EEO claim. IAP, Tab 10 at 309-338. Less than two months later,

in May 2012, Lee deemed the appellant’s performance to be unsatisfactory even though the

appellant had been on administrative leave until May 2012 and had no performance goals or

plan in place. HT Day 2 at 189, 3-10. Lee subsequently established performance goals for the

appellant in a series of plans resembling PIPs even though she hadn’t done this for Tran. PFR

File, Tab 3. This is evidence of Lee’s awareness of the 2010 and 2012 EEO activity and

evidence of her suspiciously timed misuse of the performance management shortly after filing

her affidavit.

        The Report of Investigation for the appellant’s 2012 EEO complaint included a copy

of the appellant’s protected disclosure to the Government Accountability Office (GAO) over

agency failure to implement grant reform per Public Law 106-107 and FAPIIS per Public

Law 110-417 from the EEO counselor. This is evidence that the agency was aware of the

appellant’s protected disclosures to GAO. Lee was aware of the disclosures to DOJ. HT Day

1, Tab 24 at 35, 10-22 and at 35-36. The argument of whether the appellant’s supervisors (Lee

and Dong) were aware of all of the appellant’s disclosures would be irrelevant because the

agency collective was aware, and the agency collective was involved with the decision to


                                                 18
      Case 1:25-cv-02314-MAU            Document 1       Filed 07/17/25       Page 35 of 228




remove the appellant. The agency was the defendant in the appellant’s protected disclosures

to EEO, GAO, OSC, and DOJ. The agency had motive to retaliate against the appellant

because the appellant’s disclosures regarding failure to implement statutes and misinforming

GAO and Congress implicated the agency’s effectiveness as an oversight agency. Dong in

his oral and written testimony explained that managers from human resources and legal

counsel were deeply involved with planning some adverse action against the appellant and

ultimately decided on taking the removal action. HT Day 3, Tab 25 at 9-14. It was

inconsequential that some agency managers who were cognizant of the appellant’s protected

disclosures were not action officials in the removal or not identified by name in the appellant’s

protected disclosures. The cognizant managers were part of the agency’s management team

and could surmise the negative impact the disclosures would have on the agency’s role as the

standard bearer of Executive Branch management practices. The cognizant managers didn’t

intervene and prevent the appellant’s removal or investigate to rule out pretext for the

removal.    Instead, the agency collectively and surreptitiously used the performance

management system to strategize the appellant’s removal, deeming her to be suddenly

incompetent after three years. HT Day 2, at 266, 2-12. A responsible person with this context

would recognize the agency’s removal action for what it was: a racially motivated, reprisal

fueled gaslighting. A reasonable person would conclude that the disclosures were a

contributing factor in the removal. See, e.g., Strader v. Department of Agriculture, 475 Fed.

Appx. 316, 321 (Fed. Cir. 2012).

       The agency treated the appellant adversely after becoming aware of her EEO complaints.

The agency’s adverse treatment of the appellant occurred after learning of her protected

disclosures and continued after her termination. The evidence clearly demonstrates that the



                                                 19
      Case 1:25-cv-02314-MAU          Document 1        Filed 07/17/25     Page 36 of 228




appellant acted in good faith to expose wrongdoing of the agency managers. The appellant

diligently collected evidence of the misconduct, risking her own career and livelihood to protect

public funds from mismanagement, waste and fraud. The appellant’s acts aligned with the spirit

of whistleblower protections, which aimed to encourage individuals to come forward and

disclose wrongdoing for the greater good. HT Day 1, Tab 24 at 34, 8-22. The retaliation suffered

by the appellant, including the actions to constructively remove her from her position and

officially remove her from the federal service, further underscored the agency's disregard for

ethical standards and the importance of whistleblower protection laws. It was only reinforced by

the 2013 employee viewpoint survey where employees in OMB’s Office of Federal Financial

Management disproportionately reported fear of reprisal for protected disclosures compared to

the agency and the federal government overall. Exhibit 5.

       The Agency Took Harsher Action with Appellant Than it Did With Non African

American Employees Deemed to be Poor Performers. The agency had a predominately

Caucasian and Asian workforce when it terminated the appellant in 2014. During the hearing,

the agency human resources managers testified that other employees who were deemed to be

having performance issues. HT Day 2, Tab 25 at 4-7. However, the agency presented no

evidence that these employees were removed because of their performance issues, and none

of the employees were identified by race suggesting they weren’t African American. The

agency stated in its termination letter dated March 14, 2014 that poor performance was the

sole basis for removing the appellant from federal service. IAF, Tab 10 at 37-40. Now that

the board has reversed the agency’s removal action, a reasonable person would need to

consider other evidence supporting the agency’s removal action. The agency claimed that

removal was the only option for the appellant. HT Day 2, Tab 25 at 264, 19-22 and at 265, 1-


                                                20
       Case 1:25-cv-02314-MAU                 Document 1           Filed 07/17/25         Page 37 of 228




11.9 This would suggest that the agency determined that the appellant couldn’t perform any

job at the agency below GS-15 or couldn’t work in another office performing different work.

This is countered by the fact that the agency had already deemed the appellant capable of

performing as a GS-15 policy analyst in past performance cycles, awarding her cash awards

and commendations for her work. For argument’s sake, even if there were a performance

issue, a reasonable person would question why the agency didn’t choose to take a less extreme

action than removal such as reassignment or transfer given the appellant’s almost 30-year

tenure in the federal government and good past performance. A reasonable person would

question how the appellant was suddenly so incompetent that she couldn’t do the same work

she had performed successfully in years prior. A reasonable person would question why the

agency was discussing her removal prior to the PIP period if they were sincerely attempting

to help her improve her performance.10 A reasonable person would question why the agency

stopped paying the appellant at the beginning of the PIP period, placing her under even greater

duress, if they were sincerely attempting to create an environment that would help her

improve her performance.11 PFR File, Tab 3 at Exhibit P4.

         In considering the evidence together, a reasonable person would conclude that the

removal action itself was merely discrimination and reprisal thinly veiled as a performance-based

removal. The agency took the removal action in response to the appellant’s protected disclosures

and to punish the appellant for making formal complaints.




9
 At the time of the appellant’s removal, the agency had XX position vacancies ranging from at the .
Fedscope.opm.gov

10
   In his original deposition taken September 24, 2014 for the Initial Appeal, Dong stated that he, Lee and other
managers had been discussing the appellant’s removal before establishing the PIP which shows pretext.
11
   The agency didn’t extend the PIP period to include a period when the appellant was receiving her pay which
shows the agency didn’t care about supporting the appellant in performance of her work.

                                                          21
      Case 1:25-cv-02314-MAU           Document 1        Filed 07/17/25      Page 38 of 228




IV.   Precedent and Legislative Intent

The appellant was traumatized by the removal. The appellant had entered the federal workforce

as a teen and continued working for almost 30 years and was suddenly terminated. She had never

had a break in employment except to attend school. The appellant routinely worked 50 -70 hours

per week even when pursuing her master's degree at night. When she was sick, she went to work.

When she was too sick to work, she begrudgingly used leave and still worked from home. The

appellant spent most of her federal career working on grants and financial assistance matters, and

by 2007, federal managers throughout the Executive Branch considered her an expert in federal

grants and cooperative agreements. This is why managers at OMB encouraged her to apply for a

senior policy analyst position at the agency. The agency hired the appellant in 2007, and she

received good performance ratings and performance awards until she began requesting disability

accommodations and engaging in protected activity. The retaliatory treatment became

progressively worse after she made other protected disclosures. During this time, she was

responsible for caring for a parent who was in the early stages of a progressive terminal disease,

and yet, the appellant was still able to balance her professional responsibilities with her caregiver

duties. Instead of offering support, the appellant’s supervisor mocked the appellant’s caregiving

status and denied her leave under the Family and Medical Leave Act. This marginalization

spiraled into progressively harsher retaliation by the agency as the appellant continued to deliver

high quality work. On July 1, 2013, the agency stopped paying the appellant on the same day her

supervisor placed her on the PIP. This was followed by the government shutdown which

extended the period the appellant was without her pay which was needed to cover living

expenses for herself and for her sick parent. The appellant had already been diagnosed with

anxiety disorder, adjustment disorder, and disabling conditions and now because of the agency


                                                 22
       Case 1:25-cv-02314-MAU                 Document 1           Filed 07/17/25          Page 39 of 228




was experiencing great emotional distress and health issues due to months without receiving

income while having to work. She felt like and was being treated like an indentured servant. The

appellant’s health issues went untreated due to the loss of federal health insurance after the

removal.

           As a career civil servant, being fired from the federal government after decades of

service caused the appellant significant stigma and harm to her personal and professional

reputation. The removal was public as the appellant was escorted out of the building with the

nothing but the clothes on her back in front of her co-workers. Even after the Board returned a

decision in favor of the appellant, the Board’s use of search engine optimization technology

caused the appellant’s MSPB case history to appear in the top results of a name search in

perpetuity. This easy online access to the 2022 decision of MSPB in particular was essentially a

billboard informing prospective employers that appellant was an older disabled adult

whistleblower who was fired, revelations that negatively impacted her competitiveness in a job

market that favors young able-bodied candidates. Exhibit 3.12 Other career damage includes loss

of 10 years of case law and regulation relevant to the appellant’s specialty area and

developmental assignments leading to senior level positions. The appellant will always be 10

years behind others in these areas. She lost her contract officer representative certification, a

recognized and transferrable certification required to manage federal contract work.

         In consideration of the facts of the case, the appellant is seeking damages incurred and

future relief as follows:


12
  Also, the 2022 online record was not cleansed of details regarding the appellant’s medical conditions before it was
posted to the world wide web. EEOC recommends that to improve equal employment opportunities for workers with
disabilities the Federal sector federal agencies should act to increase the number of employees disclosing their
disability status by “ensuring the confidentiality of disclosure.” See https://www.eeoc.gov/federal-sector/reports/eeo-
status-workers-disabilities-federal-sector.

                                                          23
         Case 1:25-cv-02314-MAU           Document 1       Filed 07/17/25      Page 40 of 228




(1)       Emotional pain, suffering, mental anguish ($1,000,000). The agency’s actions had a

negative impact on the appellant’s health and wellness, increasing her anxiety and sleeplessness,

putting her at increased risk for Alzheimer’s disease which runs in her family. Exhibit 6. The

amount represents past damages for past pain, suffering, and mental anguish and future expenses

to address the emotional and psychological impact of reprisal (trauma informed therapy and

treatment).

(2)       Certification training and career development training ($30,000). Estimated at $2,000 for

restoring contracting officer certification and annual training estimated at $3,000/year for 10

years.

(3)       Actual attorney’s fees to be requested under a separate petition if the appellant is the

prevailing party.


V.        Conclusion

          The mosaic of evidence proves that the agency held animosity toward the appellant

because of her disability status, decided to punish her for making protected disclosures, and

wouldn’t have removed her had she not been African American. Although only one agency

management official signed the removal letter, agency officials including human resources

managers, legal counsel, and others were aware of the appellant’s disclosures and decided

collectively to support the removal action. The fact that the appellant was a good performer was

irrelevant once the agency wanted her gone. The agency had motive to protect its reputation and

standing with Congress and had knowledge of the appellant’s protected activities. It is beyond

belief that the agency would have removed an Asian or Caucasian employee of the appellant’s

tenure and past performance under similar circumstances. Instead, the agency decided on the

most severe personnel action because the appellant was statistically irrelevant to the workforce

                                                   24
        Case 1:25-cv-02314-MAU           Document 1       Filed 07/17/25    Page 41 of 228




which was predominately Caucasian and Asian. The agency realized that terminating a disabled

black woman wouldn’t matter.

.

    Dated: April 5, 2024                                 Respectfully

                                                         submitted, Marguerite

                                                         Pridgen

                                                         By /s/ Marguerite Pridgen
                                                         Appellant, pro se
                                                         3881 Newark St NW
                                                         Washington, D.C. 20016
                                                         Tel: (202) 656-9370
                                                         mep@onebox.com


                                   CERTIFICATE OF SERVICE


           I hereby certify that I caused a copy of the foregoing Appellant’s Brief on Remand

    Claims to be served by facsimile to the MSPB Washington Regional Office and by email

    filing on the Defendant on this 5th day of April, 2024.



                                         /s/ Marguerite Pridgen
                                             Marguerite Pridgen




                                                   25
      Case 1:25-cv-02314-MAU            Document 1        Filed 07/17/25       Page 42 of 228




AAPI GS-15s increased on average by 1% while African American GS-15s decreased by -.7% at
OMB.



                    2008    2009      2010       2011       2012      2013       2014


 Asian              19      19        19         21         19        17         20
 Afr-Amer           10      11        9          8          8         8          6
 All                144     147       155        158        158       146        162


 There is a statistical significance in increase of GS-15 AAPIs relative to GS-15 African
 American decrease at the agency:


 AAPI and AA (2009-2015)

 T alpha 95% conf
 interval                  2.446912
 Mean difference           10.57143 Employees
 Std deviation of
 difference                2.225395 Employees

 Std error of difference    0.84112 Employees

 Lower confidence level    8.513282 Employees
 Upper conf level          12.62958 Employees




(Data source – Fedscope.gov)




                                                                                        EXHIBIT 1
                            Case 1:25-cv-02314-MAU            Document 1         Filed 07/17/25      Page 43 of 228

Exhibit A6 Plaintiff and Comparator Performance Plan
Comparison

     OMB Strategic Plan goal          Appellant                          Comparator                        Appellant Analysis
     Improve effectiveness and        Develops thorough project          Collaborates to educate,          Appellant is assigned multiple
     efficiency of government rules   plans with appropriate             garner support, and to solicit    deadlines not within her
     and mandates.                    milestones for internal and        input and feedback on OFFM        control because they involve
                                      external coordination, review,     and OMB initiatives.              the complex and lengthy
                                      and issuance of policies           Collaborates with the             process of rulemaking.
                                      related to grants fraud and        appropriate organizations and     Comparator isn’t assigned
                                      accountability (e.g., proposed     at the appropriate level within   clear deliverables or any
                                      grants fraud rule, and FAPIIS      the organizations. Results of     specific deadlines.
                                      final rule). Identifies strategy   collaboration and analysis will
                                      and guidance, as necessary,        be reported to senior
                                      to bring together efforts under    management on a regular
                                      DNP with FPAIIS to reduce any      basis. Communicates, written
                                      duplication of efforts.            and verbally, analysis that is
                                      Proposed fraud rule is issued      clear, concise, relevant and
                                      by December 2012. Final            timely.
                                      FAPIIS rule issued by
                                      December 2012.
     Improve effectiveness and        Develops thorough project          Analyzes, using cost-benefit      Appellant is assigned multiple
     efficiency of government rules   plan with appropriate              analysis, and any other           deadlines not within her
     and mandates.                    milestones for internal and        appropriate analytical            control because they involve
                                      external coordination, review,     methods, recommended              internal clearance and
                                      and issuance of policies           options and provides other        compliance by other agencies.
                                      related to addressing GAO          viable options for improving      Comparator isn’t assigned
                                      recommendations on                 grants management policies        clear deliverables but the work
                                      undisbursed grant balances         to better target waste, fraud,    he is assigned is within his
                                      by August 2012. Drafts             and abuse, reduce                 control.
                                      accurate, complete,                administrative burden on
                                      coordinated, appropriate, and      recipients, and improve
                                      high-quality OMB response          performance & results. Makes
                                      and ensures timely transmittal     recommendations to senior
                                      of OMB response to GAO             management on changes to
                                      recommendations. Drafts            government-wide policies

                                                                                                    EXHIBIT 2
                      Case 1:25-cv-02314-MAU         Document 1         Filed 07/17/25      Page 44 of 228




OMB Strategic Plan goal     Appellant                           Comparator                        Appellant Analysis
                            Controller’s Alert. 70% of all      based on this analyses and
                            grant-making agencies have          evaluation. Develops and
                            developed internal controls         revises policies through
                            and processes to reduce the         guidance or other
                            amount of undisbursed grant         instrumentalities to further
                            balances in expired accounts.       support Administration goals
                                                                by March 2013. Identifies
                                                                opportunities to integrate
                                                                other EOP efforts into grant
                                                                reform work.
Improve effectiveness and   Based on clear and cogent           Identify a baseline of            Appellant is assigned multiple
efficiency of government    analysis, drafts effective data     outstanding audit findings and    deadlines not within her
programs.                   quality guidance that               develop a mechanism to            control because they involve
                            enhances the timeliness,            continue to identify progress     other agencies. Assignment to
                            accuracy, and completeness          in closing out open audit         draft guidance that results in
                            of USAspending.gov data,            findings by March 2013. Work      timeliness, accuracy and
                            while balancing agency              with the COFAR to identify        completeness of a data
                            resource constraints, in            what specific risk strategies     system is illogical and
                            coordination with Federal           could be established to more      nonsensical. Comparator isn’t
                            agencies through the Council        effectively close out high-risk   assigned clear deliverables.
                            on Financial Assistance             audit findings by March 2013.
                            Reform (COFAR) and relevant
                            OMB offices (e.g., OFPP, e-
                            Gov, PPM) by September 2012.
                            Provides accurate, thorough,
                            and high-quality analysis and
                            recommendations to inform
                            other inquiries. Identifies any
                            inconsistencies or needs for
                            clarification in current policies
                            and drafts recommendation to
                            address these area. Identifies
                            timeframe for review of

                                                                                           EXHIBIT 2
                       Case 1:25-cv-02314-MAU         Document 1        Filed 07/17/25     Page 45 of 228




OMB Strategic Plan goal       Appellant                         Comparator                       Appellant Analysis
                              documents for OMB clearance
                              and manages process to
                              ensue efficient and timely
                              review and clearance.
                              Guidance is issued by
                              December 2012.

Improve effectiveness and     Develops thorough project         Analyzes, using cost-benefit     Appellant is assigned deadline
efficiency of government      plans with appropriate            analysis, and any other          not within her control because
programs.                     milestones for oversight. By      appropriate analytical           it requires compliance by
                              2013, 100% of agencies have       methods, recommended             other agencies. Comparator
                              identified a process to certify   options and provides other       isn’t assigned clear
                              reliability.                      viable options for improving     deliverables or any specific
                                                                grants management policies       deadlines
                                                                to better target waste, fraud,
                                                                and abuse, reduce
                                                                administrative burden on
                                                                recipients, and improve
                                                                performance & results. Makes
                                                                recommendations to senior
                                                                management on changes to
                                                                government-wide policies
                                                                based on this analyses and
                                                                evaluation. Develops and
                                                                revises policies through
                                                                guidance or other
                                                                instrumentalities to further
                                                                support Administration goals.
Ensure agencies develop,      Identify 1-2 policy priorities    Based clear and cogent
express and implement         and provide specific              analysis, develops and drafts
policies in accordance with   recommendations, timeline,        a strategy and guidance in
the President’s budget.       implementation plans.             coordination with Federal
                              Develops and revises policies     agencies, for use of Single

                                                                                           EXHIBIT 2
                       Case 1:25-cv-02314-MAU        Document 1      Filed 07/17/25     Page 46 of 228




OMB Strategic Plan goal       Appellant                       Comparator                    Appellant Analysis
                              thorough guidance and other     Audit findings to reduce
                              instrumentalities to further    administrative burden to
                              support Administration goals.   recipients, and improve
                                                              performance results by 2013
Ensure agencies develop,      Ensures that all existing,      Not applicable
express and implement         government-wide grants OMB
policies in accordance with   approved forms have
the President’s budget.       continuing approval by OIRA.
                              Recommends and issues
                              specific policy changes
                              designed to reduce reporting
                              burden.




                                                                                       EXHIBIT 2
                                                                   Case 1:25-cv-02314-MAU       Document 1     Filed 07/17/25   Page 47 of 228

                                                                  Renew



th         Money               Work & Jobs      Social Security    Medicare       Caregivi ng   Games        Travel   More...                            AARPENESPANOL       Help (5



                                                           Join                                                                                  Renew

WORK&JOBS



Workplace Age Discrimination Still Flourishes in
America
It's time to step up and stop the last acceptable bias


By Joe Kita                    l!.I .21. Comments
Published December 30, 2019 •                       EN ESPANOL




                                                                              I




                                                                                                                                                                    •

               •
                                                                                                                                                                         •
       •                                                                                                                                                                     •
                                                                                                                                                                                 •

   •                                                                                                                                                                         ••
 •
                                                                                                                                                                             ••      •

•
•
      •                                                                                                                                                                      •       •

      •
 •
      •      •
             •
•••. •
:
     •• ••
                      ••
.:,. . . . . . _ ••   I>   4




AARP
                                      About 35 percent of the U.S. population is now age 50 or older. Yet, in 2018, the Equal Employment Opportunity
                                      Commission - the nation's workforce watchdog - issued a damning special report on age discrimination against
                                      older Americans. It concluded that even though 50 years had passed since Congress outlawed the practice, "age
                                      discrimination remains a significant and costly problem for workers, their families and our economy."



https://www .aarp.org/work/age-discrimination/still-thrives-in-america/                                                                                                                  1/13




3/31/24, 10:24 PM                                                                               Age Discrimination Still Thrives in America

                                      Yictorja LjQ.Q.ii;, the EEOC'sactjngchajr at the time, went so far as to compare it to harassment: "Everyone knows
                                      it happens every day to workers in all k inds of jobs, but few speak up. It's an open secret:•



                                                                  AARP Membership- $12 fo
                                                                  Automatic Renewal
                                                                  Get instant access to members-only pr
                                                                  subscription to AARP the Magazine.                            -~ Al Assistant
                                                                  Join Now>
                                                Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 48 of 228

                     That same year, an AARP survey found that:

                       • Nearly 1 in 4 workers age 45 and older have been subjected to negative comments about their age from
                          supervisors or coworkers.
                       • About 3 in 5 o lder workers have seen or experienced age discrimination in the workplace.
                       • 76 percent of these o lder workers see age discrimination as a hurdle to finding a new job; another report
                          found that more than half of these older workers are prematurely pushed out of longtime jobs and 90 percent
                          of them never earn as much again.

                     Diane Huth's story is not unusual. "I am 69 years old, and that means I am unemployable;· says Huth, who lives in
                     San Antonio. "I worked in corporate America for more than 40 years with big-name companies in branding. But I
                     cannot get a job, the same job I rocked 15 years ago. I cannot even get an interview for that job because of all the
                     screening mechanisms. I'm just too old; nobody takes me seriously for a job at my age, even in things I had excelled



                     That rampant discrimination has a huge ripple effect:

                       • 29 percent of U.S. households headed by someone age 55 or older have no retirement savings or pension,
                          meaning they'll have to continue working or rely on Social Security to survive. But if the only job that remains
                          open to them is unskilled and minimum wage, what does their future hold?
                       • Older people who don't feel useful are three times more likely to develop a disability and four times more
                          likely to die prematurely, compared with counterparts who do feel useful, according to a 2007 study published
                          in the Journals of Gerontology. If 30-plus years as a professional are suddenly thoroughly discounted by the
                          business world, the effect on your health and longevity is undeniable.

                     Paradoxically, what most companies do not seem to understand is that older workers possess a depth of
                     knowledge and experience that's worth paying for, is not easily replaced and can be tapped in many different
                     ways.

                     "People walk out of companies now with an enormous amount of intellectual property in their heads," says Paul
                     Rupert, the founder and CEO of Respectful Exits, a nonprofit consulting firm that's raising corporate awareness
                     about age discrimination. "They know things that are essential to the company's success, and if that knowledge is
                     not captured and transmitted to the next generation, that company is losing a tremendous chunk of capital and
                     it'll eventually pay a price:•

                     How did we get to this point? And how can we combat such widespread age discrimination?

                     To answer these questions, the AARP Bulletin asked me to independently examine ageism in the workplace to
                     determine why it is so prevalent and what can be done about it, to provide both a snapshot and a primer on the
                     state of age discrimination in America. Here's what I've learned.


https://www.aarp.org/worl</age-discrimination/still-thrives-in-america/                                                                  2/13
S/S1/L4, 7U:L4 l'M                                                       Age u1scnmma11on :,1111 1nnves m America
                                               Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 49 of 228




                          AARP


                          AARP Is fighting age discrimination
                          AARP is strongly committed to protecting older workers from age-related bias and pushing for stronger laws and
                          policies that guard your rights. And we offer lots of programs to support people fighting discrimination or trying to stay
                          in the workplace after age 50. Here's some of what we do - and some links you can use to get help.

                          Defending your right.s. MRP Foundation attor□e,~ are protecting older adults against age discrimination in courts
                          throughout the nation, including the U.S. Supreme Court. Cases are selected especially whe n they are expected to
                          establish significant legal precedents. AARP Foundation also files briefs in many important age-related cases.

                          Fighting for better laws. AARP's policy team has been pushing hard to pass legislation that would fix a 2009 Supreme
                          Court decision that made it much harder to win an age discrimination case.

                          Helping change state laws. AARP is championing bills in several states to stem the tide of workplace age
                          discrimination. Get news and alerts about AARP's efforts with state lawmakers.

                          Working with employers. Through its Em12lov.ers Pledge Program (EPP), AARP works with companies to help t hem
                          understand the value of o lder, experienced workers. More than 1,000 employers have signed a pledge publicly
                          affirming that they are committed to fighting age discrimination.

                          Finding a job. AARP's Job Board is designed to help o lder workers find employers committed to fighting age bias. The
                          Job Board includes work postings from companies that have taken AARP's Employer Pledge.

                          Back to Work 50+. This AARP Foundation program provides the training a nd tools older adults need to compete for
                          today's in -demand jobs. Visit.aarQ.O.rg/BackToWorkSOPlus or call 855-850-2525 to register for a workshop.

                          Resume retooling. Resumes can be tailored to make it harder for prospective employers to ignore you based on
                          age. AARP Resume Advisor,.12owered bv. To12Resume, offers a free resume review for everyone a nd custom professional
                          writing packages at a discount for AARP members.

                          Find out more. Go to aar12.orgL8geDiscrimination for more pract ical advice and resources to help workers age SO-plus
                          deal with age discrimination.

https:/iwww.aarp.org/work/age-discrimination/still-thrives-in-america/                                                                                 3/13
                                               Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 50 of 228




                     Ageism: An accepted bias

                     If you haven't felt the pinch of ageism yet, trust us, you will. If you apply for a job online, there's a good chance that
                     a screening algorithm wi ll automatically disqualify you because of your age. If you're an older employee, it's likely
                     you'll bear your share of age-related comments and jokes. And if you're gunning for a promotion or heading into a
                     job interview, you may feel compelled to touch up the gray, dress a bit younger and act like technology is your best
                     friend.

                     That's because .a!?eism io the workolace occurs eyerv d,Qv across America. and it is tolerated or - even worse -
                     unrecognized for what it truly is: discrimination, plain and simple.

                     "Age discrimination is so pervasive that people don't even recognize it's illegal;' asserts Kristin Alden, an attorney
                     specializing in employee rights at the A lden Law Group in Washington, D.C.

                     What immediately became apparent in my reporting is that, like other biases and discriminatory practices, ageism
                     takes many forms. In the workplace, we found illegal age discrimination in three main areas:

                      • Recruitment and hiring, when younger applicants are shown favor simply because of their age.
                      • On-the-job bias, when older workers receive fewer training opportunities, promotions and rewards,
                         harassed.
                                                                                                                                          4
                      • Termination, when a company "freshens" its workforce or trims budget by targeting senior employees for
                         layoffs or encouraging them to retire.

                     Paul Rupert, of Respectful Exits, suggests - persuasively - that the problem emanates from our free-enterprise
                     roots. The predominant business model in this country is still an industrial one where companies view employees
                     as "human capital," he says. "It's a sad phrase, but companies view their workforce the same way they view their
                     capital equipment. You buy it, you assume it has a certain shelf life, and then you get rid of it and replace it with a
                     new model:'

                     Stories like these are typical:

                     " I became aware of ageism when it happened to a couple of people I cared about;' says Patti Temple Rocks, who
                     has spent 38 years in communications and is the author of I'm Not Done: It's Time to Talk About Ageism in the
                     Workplace. "My first reaction was, I'm not going to let this happen to me. I'm going to be completely in touch with when
                     I'm no longer relevant. I read everything I cou ld about r einventing myself. But when it did happen, I realized
                     everything I had been thinking was wrong. I was still on my game, but I was being moved into a nonessential role
                     to make room for someone younger. I wasn't ready for my second act because I was still wel l into my first:•

                     " I learned to structure my resume io ways so jt'snot obyjous how old I am." says an engineering executive in his
                     late SOs, who asked to remain anonymous. "I would get calls, the phone screens wou ld go really well, but then
                     when I went for interviews - sometimes flown in by corporate jet - I'd never hear back or be told someone else
                     got the job. Eventually, I realized what they were thinking when I walked in: This guy isn't a spring chicken.

                     These tales are as easy to find as, wel l, spring chickens. Between 1997 and 2018, approximately 423,000 U.S.
                     workers filed age discrimination claims with the EEOC. That's roughly 19,200 per year and 22 percent of all
                     workplace discrimination claims. But here's something important to keep in mind: An AARP survey found that
                     only 3 percent of older employees have ever made a formal complaint of age discrimination to a government
                     agency or someone in the workplace, which means there are probably hundreds of thousands more who simply
                     accept the job rejections, shrug off the denials for promotion, withstand the workplace harassment or take the
                     offer of early retirement.

https://www.aarp.org/work/age-discrimination/still-thrives-in-america/                                                                      4/13
                                                Case 1:25-cv-02314-MAU    Document
                                                                ARTIClf CONTINUES    1 ADVERTISEMENT
                                                                                  AFTER Filed 07/17/25   Page 51 of 228




                     ADEA and flawed laws

                     One reason ageism remains an issue is simply our American culture. W e live in a youth-obsessed world that spent
                     an estimated $53 billion on antiaging goods and services in 2019. Is it any wonder that our resistance to growing
                     old is shared by the companies that employ us? Meanwhile, the rise of technologies that didn't even exist until
                     many older people were already wel l into their careers has led to hiring biases in which many organizations
                     assume (often wrongly) that younger workers wi ll be more tech sawy. And we, as older workers, sometimes
                     unwittingly reinforce these prejudices. If you joke about having "senior moments" or complain out loud about kids
                     using social media rather than the telephone, then you're guilty of fanning a perception that the mindsets and
                     capabilities of o ld vs. young are different.




       HEALTH & WELlNESS
       AARP® Dental Insurance Plan administered by Delta Dental Insurance Company
       Dental insurance plans for members and their families
                                                                                                                                               5
       View Details >                                                                                                     See All Benefits >



                     Dwarfing these societal factors, however, is the fact that the nation's key federal law, the Age Discrimination in
                     Employment Act of 1967 (ADEA), was essentially defanged by the U.S. Supreme Court in 2009.

                     The history of the legislation goes back to the creation and passage of the Civil Rights Act of 1964 and specifically
                     Title VI I, which made it illegal for employers to discriminate based on race, color, religion, sex and national origin.

                     Notice anything missing from that last sentence?

                     An amendment to include age discrimination as one of the protected categories in Title VII failed. Instead,
                     Congress created a commission to study the issue of age discrimination, and that commission determined -
                     without question - that workplace discrimination was rampant at the time (mid -1960s), with 50 percent of
                     employers using age limits to deny jobs to workers 45 and older. That report led to Qassage of ADEA in 1967. It
                     sought to "promote employment of older persons based on their ability rather than age [and] prohibit arbitrary
                     age discrimination...:'

                     When he signed ADEA into law, on Dec. 15, 1967, President Lyndon B. Johnson remarked: "This act does not
                     compe l employers and labor unions and employment agencies to choose a person aged 40 to 65 over another
                     person. It does require that one simple question be answered fairly: Who has the best qualifications for the job?"

                     Fifty-two years later, that question remains: Are today's jobs going to, and being performed by, the best-qualified
                     workers, regard less of age? Unfortunately, in many cases the answer is no. Part of the problem is the law itself.
                     A lthough ADEA was supposed to serve as an age-based equivalent of the Civil Rights Act, it never granted age the
                     same level of legislative respect as race, gender or r eligion, and that's why, in part, its idealistic goals have never
                     been achieved.

                     Two key factors rendered it, from its inception, weaker than Title VI I.



https://www.aarp.orq/worl</aQe-discrimination/still-thrives-in-america/                                                                        5/13
                                          Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 52 of 228
3/31/24, 10:24 PM                                                  Age Discrimination Still Thrives in America

                    Lack of damages: Even if you win an age discrimination suit against an employer - and even if you prove the
                    discrimination was intentional - the most you can be awarded is twice your lost back pay plus attorney fees if you
                    prevail. Nothing for pain and suffering. So unless a company is facing a large class action suit, it has little to lose. In
                    fact, many attorneys won't even take on individual age-bias complaints for this r eason. "This is not the situation
                    for other types of discrimination;' explains attorney Alden. "For race, sex, national origin, disability and all the
                    others, the employee, if successful, is entitled to compensatory damages and attorney fees:•

                    "Reasonable factors" are considered in employer's defense: ADEA established two types of age discrimination:
                    intentional ("disparate treatment") and unintentional ("disparate impact"). The latter is defined as an employment
                    policy that seems neutral but adversely affects older workers. An example might be a company deciding to lay off
                    all its vice presidents. Nothing wrong with that on the surface, but since VPs are usually senior people, older
                    workers would be hardest hit. Under ADEA, disparate impact discrimination is permitted if it's based on
                    "reasonable factors other than age:' So all a company would have to do to sidestep ageism claims is prove the
                    layoffs were financially necessary.

                    That all said, although imperfect the ADEA did afford older employees in the U.S. protections against age
                    discrimination.

                    But then the law came under review by the Supreme Court, and its rulings further weakened the protections it
                    granted to o lder workers. First the court upheld and even widened the damages and reasonable-factors
                    loopholes. In 1993 it rul ed that the Hazen Paper Co. did not discriminate against 62-year-old Walter Biggins
                    when it fired him a few months before he became vested in its pension plan. The company argued that his
                    dismissal was based on cost savings, not age, and the court agreed. Since then the Hazen decision has been r"'"
                    on to narrow ADEA's reach and to permit arbitrary actions based on inaccurate or stigmatizing stereoty,
                    age.

                    Then, in 2009, came Gross v, FBL Financial Seryices Inc,. in which the Supreme Court essentially gutted ADE;-..
                                                                                                                                           6
                    four-year-old Jack Gross was reassigned in 2003 from his position as a claims administration director at FBL. His
                    r eplacement was in her early 40s. The following year, he sued for age discrimination and the case ended up at the
                    Supreme Court. It rul ed that in order to prove age discrimination, one must show that age was the determining
                    factor. In other words, even if you proved that your employer intentionally discriminated against you because of
                    your age, if it was not the most important factor in the actions it took, you do not have a case. In addition,
                    the Gross decision placed the burden of proof entirely on the plaintiff, as opposed to putting the burden on the
                    organization to prove it didn't discriminate, creating yet one more hurdle for older workers to overcome.

                    The rulings in Gross and other cases have not escaped the attention of corporate America. One Wall Street
                    recruiter told the AARP Bulletin that age discrimination is increasing in the financia l sector. "If companies know
                    they can get away with something, they'll do it;' he says. "It's like an episode of The Simpsons where Mr. Burns is
                    rubbing his hands together with glee and saying, 'We're going to get rid of these senior people and save lots of
                    money!'"

                    Other companies seem to discriminate against senior people in their hiring practices. AARP Foundation, which
                    fi les age discrimination suits expected to establish significant legal precedents, is pursuing a case against
                    PricewaterhouseCoopers, the accounting firm. The plaintiff, Steve Rabin, then 50, was rebuffed in his effort to
                    obtain an associate position at PwC. At the time, he had an MBA and more than 10 years of experience in
                    accounting services. The complaint asserts that a PwC manager asked Rabin whether he'd be able to "fit in" with
                    younger employees and made other somewhat derogatory age-related comments. More than 3,000 other
                    plaintiffs have joined Rabin in a class action suit against PwC. The company denies any wrongdoing, arguing that
                    the plaintiffs have failed to offer "some reliable and verifiable way to identify who met the minimum
                    qualifications."
                                             Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 53 of 228
3/31/24, 10:24 PM                                                     Age Discrimination Still Thrives in America

                    It should be noted that most states also have laws against age discrimination - some are stronger than federal
                    law; some weaker. California, for example, unlike ADEA, allows for both compensatory and punitive damages, and
                    New Jersey explicitly permits employment discrimination against employees over age 70. The former may be
                    why, in some years, California has seen nearly three times as many complaints of age discrimination than its
                    residents report to the EEOC. Some states have lower burdens of proof, and state laws usually cover employers
                    that the federal law does not, such as businesses with fewer than 20 employees. AARP is actively trying to
                    improve state age discrimination laws, most recently in Connecticut, Oregon and New Jersey.

                    The company perspective on age bias

                    Frank Cania, president of HR Compliance Experts, believes that ageism is often considered by human resource
                    departments as being on par with other types of workplace discrimination but that HR personnel are not as
                    aware of it as they should be. Although a number of states have recently passed laws requiring employers to
                    provide annual sexual harassment training, he says there's no similar legislation or mandated programs that
                    exclusively target ageism. "The average HR person would say, 'Oh, yeah, that's definitely a problem; it needs to be
                    addressed;" he explains. "But then they may place a job ad using terms like 'fast-paced environment, energetic,
                    technology ninja' or ' We work hard and party harder.'"

                    Unsurprisingly, tech companies are some of the biggest age discriminators. With Facebook CEO Mark
                    Zuckerberg famously declaring in 2007 that "young people are just smarter;' Silicon Valley has become a poster
                    child for the youth work culture. According to a 2016 report by Statista, the average median employee age at 17
                    top tech companies was 32, compared with 42 for the total U.S. workforce. That doesn't appear to be a
                    coincidence. In 2019, Google agreed to QID'..$11 million to settle the claims of more than 200 job applicants who
                    said they were discriminated against because of their age.

                    Older tech companies are not immune to the problem. A 2018 ProPublica investigation alleges that !BM
                    deliberately engjneered the djsmjssal of an estimated 20,000 employees over age 40 in a five-year period. " In
                    making these cuts, IBM has flouted or outflanked U.S. laws and regulations intended to protect later-care"'
                    workers from age discrimination;' the article asserts.

                    The EEOC is looking into these charges, and a class action suit has been filed. But whether the company v...
                                                                                                                                        7
                    be held accountable remains to be seen. One workplace consultant who requested anonymity told the AARP
                    Bulletin that IBM's strategy was "brilliant;' explaining that its supervisors and attorneys were exquisitely aware of
                    how difficult it is to successfully prosecute age discrimination, and they took full advantage of that. Last year, in
                    response to the allegations in that suit and several individual suits, IBM told Bloomberg: "We have reinvented
                    IBM in the past five years to target higher value opportunities for our clients. The company hires 50,000
                    employees each year:'

                    EEOC: A watchdog loses its bark

                    The EEOC is supposed to be our police force in all this. Its job is to enforce federal laws that protect employees or
                    job applicants from all types of workplace discrimination. Its mandate is also one of leadership: It's charged with
                    initiating investigations when warranted and being the overall champion of worker rights.

                    But when it comes to age discrimination, the EEOC is struggling to keep up, and to bear down. An analysis by
                    the Washington Post found that of 205,355 total age discrimination complaints filed with the agency from 2010 to
                    2017, just 1 percent resulted in a finding of discrimination. That alone is not dispositive: It's possible that the vast
                    majority of these complaints are not actionable.

                                                        ARTICLE CONTINUES AFTER ADVERTISEMENT
3/31/24, 10:24 PM                               Case 1:25-cv-02314-MAU   Document 1 Filed 07/17/25
                                                                         Age Discrimination          Page 54
                                                                                             Still Thrives    of 228
                                                                                                           in America

                     But the numbers seem to tilt toward a finding that the EEOC has not been offering enough help in this realm.
                     Indeed, according to the organization's own data, it brought only 10 age discrimination suits in 2018. That's a
                     minute number compared with the disability (84) and sexual harassment (41) discrimination cases it brought that
                     year. When one considers how difficult it is for an individual to file a complaint, the 8 months, on average, it takes
                     for any sort of resolution, and the paltriness of the compensation (if any), you have to wonder whether the hassle
                     is even worth it.

                     Cathy Ventrell-Monsees is an attorney and senior adviser at the EEOC. She acknowledges the numbers but
                     explains that the agency is trying to be strategic. This means emphasizing tools such as mediation and settlements
                     and bringing to court only those cases with the greatest potential impact. "For example, hiring is a big priority for
                     us right now;• she explains. "Our researchers are looking at on line hiring systems and algorithms that can
                     incorporate biases in the job-selection criteria:'

                     But critics of the EEOC say there's more at work than simple strategy. An investigation by the online
                     publication Vox found a critical lack of resources at the EEOC. " It has a smaller budget today than it did in 1980,
                     adjusted for inflation, and 42 percent less staff;' the article stated. "At the same time, the country's labor force
                     increased about 50 percent, to 160 million .... The EEOC, in short, can't come close to fulfilling the mission
                     Congress gave it:'

                     Ventrell-Monsees concedes that "age discrimination issues have become more visible as older workers remain in
                     the workforce longer" but counters that the EEOC has "significantly elevated the attention the agency gives to
                     age discrimination issues:' She cites a public commission meeting in 2017 focused on the ADEA@50, a web page
                     of resources on ADEA, and the 2018 "State of Age Discrimination" report.

                     While the EEOC is to be applauded for these efforts, it still handles an anemic caseload in the area and has said
                     little of substance about its plans to alleviate what it identified as a "significant and costly problem" for older
                     workers.

                     Gary Gilbert, a former EEOC chief administrative judge who now heads Gilbert Employment Law in Silver Spring,
                     Maryland, puts it more succinctly: "The commission is just not appreciating the degree of societal bias we have
                     against older workers at this t ime:•

                     That bias can even be found w ithin the federal government, which is the largest employer in the U.S., wi•·
                     4.2 million workers, including uniformed military and postal employees. For one, it encourages bias wi·
                     mandatory retirement ages for many classes of employees. For example, federally employed law enfor
                     officers must retire at age 57, and air traffic controllers at 56. The assumption is that physical and menta,
                                                                                                                                       8
                     depart at those ages. In fact, in many cases there's no science to support such specificity; these age limits are
                     largely arbitrary.

                     "Such regu lations were designed to meet the need for, and I quote from the law, 'a young and vigorous
                     workforce;" says John Grobe, president of Federal Career Experts, a consulting firm that advises government
                     agencies and their employees about retirement. " But, hell, some people might lose a step at 55, and some might
                     still be sharp as a tack when they're 70:'

                     AARP Foundation is actively fighting discriminatory practices within the federal government. Last fall,
                     Foundation attorneys fi led an amicus brief in the Supreme Court case Babb v. Wilkie, arguing that the lower court,
                     by requiring an extremely high standard of proof from federa l employees making age discrimination claims, has
                     not complied with the letter or spirit of ADEA.

                     " Even a single incidence of age discrimination in government is worrisome;' says Dara Smith, a senior attorney at
                     AARP Foundation. "Private-sector employers see that and say, 'Well, if the federal government can get away with
                     it, maybe we can, too: They should be held to a higher standard:'


https://www.aarp.org/work/age-discrimination/still-thrives-in-america/                                                                      8/13
        Case 1:25-cv-02314-MAU              Document 1        Filed 07/17/25        Page 55 of 228




MEMORANDUM FOR THE RECORD
DATE:
                 T'hursday, July 18, 2013
TO:
                Noman Dong
                Deputy Controller (2nd level supervisor)
                Office of Federal Financial Management
FROM:            Marguerite Priagen
                 Policy Analyst
                 Office of Federal Financial Management
SUBJECT:         Appeal of Performance Evaluation dated June 26, 2013 from Karen Lee, Chief.
                 Management Controls and Assistance Branch

My supervisor Karen Lee ratedmy performance for 2012-2013 at the" Unsatistactory" levelonthe
basis that she feels lfailed to work independently as a GS-15 with minimal guidance in areas of
immediate responsibility: failed to submit clear. coherent, and analytically rigorous deliverables:
failedto submit deliverables on time: and failed to coordinate work with other key stakeholders.             Ms.
 Leehas also stated that she has not been satistied with my performance since Ireturned from
extended leave in May 2012.

 Atthe beginning of the performance period, lexpressed confusion and concern over the
 performance goals and expectations Ms. Lee established for me. In particular. I noled rhat rha
 performance plan included deadl1nes that were not under my control and was writen in a way
 tbat would allow Ms. Lee to be very subjective and eas1ly use the pertformance evaluation
 nrocess Loretaliate against me for previous EEOactivity and other disclosures. Since May 20)2
  Ihave repeatedly complained to Ms. Lee and her superiors that she has routinely ()
 misintepreted direction from senior leadership regarding the scope and directin
 iniiatives. (2) drastically changed the Scope of mny work products as they were nearing
 compietion., (3) defined a standard ot lhoroughness for me. inwhich cannot be humanly met and is
                   the standard she has set for other
 inconsistent with                                        GS-15s the branch. (4) assigned me
                       deliverables that have greatly detracted from
 unnecessary tasks and                                               my ability to meet           critical
 9dlines. (5) denied me access to resoueseedeu to complete my work, (6) trealed me l
     arahlv than others in her branento
                                        nassighing woTK, () retaliated against me for namin
                          (8) tailed    address my request for
 formal  complaints,  and
                                                                   accommodations
                                                                                tor barriers
   Ms. LLee has been unwilling to correct these problems and continues to establish disabilities.
                                                                                             in my
   work life which will prevent me meeting the milestones deseribed in her Performance
                            July 1, 2013 and 2013-2014
  ImprovementPlan dated evaluation did Ms.
                           her
                                                             Performance
                                                 Lee mention that Appraisal Plan. Also
  noteworthy, nowhere in
   period she required meto provide help desk support (o state usersthroughout
                                                                          ot asystemtheshe was hired to
                                                                                          pertomance
                      The FSRS system is practically unusable by large
   because (FSRS).
  develop   of the faulty                                                   grantmakers
                          system specifications Ms. Lee supplied to the system developer. such asAt states
                            the  performance  period, state agencies were
   ditferent points during
                      their  frustrations with using the syslem,           contacting me on almost a
   daily basis due to had previously issued, and not geting unanswered          questions regarding
   guidance Ms. Lee                                             adequate   follow-up                  the
                                                                                     action from OMB
Attachment
     performance
            perioneriod            Comments,           created.
                                       s ofMs. Ms.Leesituationshe
                                                             DOner
                                                       management
                                   context.theIn
                 d. mymythe lightInLee'
                          rating
                        performance
                     performance
                          and                               specific                       mentioning
                                                             of
                                                                              provided
                         that be these
                       changed                           examples.                                    (werfel
                             circumstances,
                               be I period.                                         Lee
                                                in attachmentthissummary         to                       the
                  allowed fair a                                                 cited
                  would I to                                                                      support and
                                                                                                                      Case 1:25-cv-02314-MAU




                                      the andBased                         If
                                                                       examples                               Lee).
               "Successtully     to                                  you     comments
                          beobjective
                      report
                willing                              on do      Iwould                                   had IMs.
                                                            not supporting
                                               recent memorandum,                                provided Lee
                                 to
                                                                                                                      Document 1




                                    a              believe           li ke                with
                          to manner          history,                                                           was
                competent
                     take Meets"                                       any                   my
                                                                                      her                copied
                                                                                                              to
                            a                    in additional
                                                            Ms.              2012-2013                    the
                   detail level the 1                                           rating               states on
                              and future. doLee                              have I
           assignment                                                                                       many
                                                                                                                      Filed 07/17/25




                                                     nottairly
                                                                  provided          that                      in
                  unbiasedhigherorbelieveinformation,                performance                            an
                   Consequently,evaluated                                             are
                                                                                                    efforttheseof
                                         for        she                            both
               supervisor  to                                    responses
                    make                 the              is please inaccurate                          emailsto
                     2012-2013 capable my evaluation.herIn                                     remediate
                                                                                                                      Page 56 of 228




                       this performance
                                                 amI                      let to                                and
                                for
                                 the
                happen. requesting                       of                 some and
                                                                           me
                                     evaluating know. taken                                              the yet
                      performan
                 2013-2014                                                 of                    negative didn
                                                   durins                  Ms. out
                                             tha
2013   Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25


                                                       Survey
                                                                Page 57 of 228

                                                              Results
                                Viewpoint
           Employee
Federal
Employees Influencing Change
                                                                  Management
                                Office of   Federal Financial
                                             Subagency Report
                                2nd Level




                                      United States Office of
                                      Personnel Management
           Case 1:25-cv-02314-MAU                            Personnel
                                                       Document 1 FiledManagement
                                                                        07/17/25 Page 58 of 228




                                       Office of Management and Budget
                                    Office of Federal Financial Management
                                            Znd Level Subagency Report
My Work Experience (continued)

13 The work I do is ÜnportanL
                                                                                      N Positive        Neutral    Negative          DNK
Governmentwide                                                                   369,703    90.0%       6.9%         3.1%            1,092
 Ofice of Management and Budget                                                     312     80,8%       12.0%       72%                       0
  Statutory Ofice                                                                     49    86.0%       6.4%        7.6%
   Office of Federal Financial Management                                             11    86.4%       0.0%        13.6%


I4 jobs
   Physical
        well
             condions Gorexomple, noise levet, temperature, ighting, cleantiness in the werkplace) allov empleyes to pfors hetr
                                                                                      N    Positive    Neutral    Negative           DNK
Governmentwide                                                                  373.712     66.1%      14.3%        19.5%            1.514
 Ofce of Management and Budget                                                      313     SS.8%      19.6%       24.7%
   Statutory Office                                                                  49     61.6%      29.9%        8.5%
    Office of Federal Financial Management                                           11     71.5%      28.5%        0.0%



15 My performance gpraisal is afair reflection of my performance.
                                                                                           Positive   Neutral     Negative           DNK

Governmentwide                                                                  369,528     68.4%      15.2%       16.4%            5.283

 Office of Management and Budget
   Statutory Office
                                                                                    300
                                                                                     47
                                                                                            68.6%
                                                                                            78.2%
                                                                                                      (18.7%
                                                                                                       14.8%
                                                                                                                   12.7%
                                                                                                                    7.0%
                                                                                                                                       13



    Office of Federal Financial Management                                           10     59.9%     25.4%        14.8%                    1




16. I am held accountable for achieving results.
                                                                                           Positive    Neutral    Negative          DNK

Governmentwide                                                                  372,151     81.5%      12.4%        6.1%            1,767

 Otfice of Management and Budget                                                    312     71.4%      20.2%       8.4%                 2

                                                                                     48     71.4%      18.2%       10.4%                  1
   Statutory Office
    Otfice of Federal Financial Management                                           11    79.1%       20.9%        0.0%




17. Ican disclose asuspected violation efay law, rule or regulation without fear efreprisal.
                                                                                           Positive   Neutral     Negative          DNK

                                                                                357,689    61.2%      19.4%        19 5%          16, 155
 Governmentwide
                                                                                           70.1%                   11.5%              38
  Office of Management and Budget                                                   275               18.4%
                                                                                                                                        6
   Statutory Ofice                                                                   42    60.8%      27.6         11.6%
                                                                                                                  36.1%                 2
    Office of Federal Financlal Management                                                 39.1%      (24.8%




                                                                                                                             Page 4 of 22
2013 Federal Employee Viewpoint Survey
 Case 1:25-cv-02314-MAU             Document 1      Filed 07/17/25   Page 59 of 228
   2023 Office of Personnel Management


    Federal Employee
   Viewpoint Survey Results
                           Empowering employees. Inspiring change.

1st Level                         Office of Management and Budget
Subagency                         (MD) Ofice of Federal Financial Management
Report




                                                                     OPM.GOV/FEVS     #FE




                            Office of Management and Budget
                       (MD) Office of Federal Financial Management
                                Ist Level Subagency Report
                 Case 1:25-cv-02314-MAU                          Document 1               Filed 07/17/25                Page 60 of 228

Diversity, Equity, Inclusion, and Accessibility (continued)

84. My organization responds to my accessibitity needs in a timety manner.
                                                                                                                                No Accessibility
                                                                                                                                      Needs                 NBJ
                             Organizations                                             Positive         Neutral     Negative           (N)                  (N)
  Governmentwide                                                            354,146     66.2%           23.1%        10.7%           132,481            111,953
      Office of Management and Budget                                           162     65.2%           24.2%        10.6%             143                  141

       (MD) Office of Federal Financial Management                                 5    17.8%           40.3%        41.9%                1                  5

Note: For confidentiality purposes, a "en indicates that there are fewer than 4 responses to the question, exchuding No Accessibility Needs' and 'No
Basis to Judge,' and results are therefore suppressed.


85. My organization meets my accessibility needs.
                                                                                                                                No Accessibility
                                                                                                                                      Needs                 NBJ
                             Organizations                                             Positive         Neutral     Negative           (N)                  (N
  Governmentwide                                                           359,241      69.6%           21.7%         8.7%           135,576            103,447
      Office of Management and Budget                                           172     70.1%           17.0%        12.9%             148                  127
       (MD) Office of Federal Financial Management                                      30.2%           0.0%         69.8%                2                  3

Note: For confidentiality purposes, a " C" indicates that there are fewer than 4 responses to the question, excluding No Accessibility Needs' and No
Basis to Judge,' and results are therefore suppressed.



Employee Experience

86.    My job inspires me.
                                     Organizations                                                                Positive        Neutral          Negative
  Governmentwide                                                                                   596,094         62.0%           20.8%               17.2%
      Office of Management and Budget                                                                    446       75.4%           14.0%               10.6%

       (MD) Ofice of Federal Financial Management                                                          11     45.4%            8.5%                46.1%



87. The work I do gtves me a sense afaccompishmen.
                                     Organizations                                                          N     Positive        Neutral          Negative
  Governmentwide                                                                                   595.301         74.6%           13.6%               11.8%

      Offlice of Management and Budget                                                                   446       84.0%           8.4%                7.6%

       (MD) Office of Federal Financial Management                                                         11     63.1%            8.5%                28,4%



88. Ifeel a strong personal attachment lo my organization.
                                     Organizations                                                                Positive        Neutral          Negative
  Govermmentwide                                                                                   597,272        60.7%            21.7%               17.5%
      Office of Management and Budget                                                                    445       71.6%           16.3%               12.1%

       (MD) Offce of Federal Financial Management                                                          1      45.4%            16.9%               37.7%



89. I identij with the mission af my organization
                                     Organizations
  Govermmentwide
      Office of Management and Budget
                                                                                                   59
                                                                                                                22/ 30
       (MD) Ofice of Federal Financial Management                                                          11     63.1%            8.5%                26




2023 OPM Federal Employee Viewpoint Survey                                                                                                                  Page 20
                 Case 1:25-cv-02314-MAU                        Document 1                Filed 07/17/25               Page 61 of 228


Diversity, Equity, Inclusion, and Accessibility (continued)

78. Employees tn my work unit make mefeel I belong.
                                                                                                                                                           NBJ
                                   Organizations                                                           Positive        Neutral         Negative         (N
  Govemmentwide                                                                              588,459        78.5%           14.0%            7.5%          8,428
    Olice of Management and Budget                                                                 442      86.8%           8.5%             4.8%               3

      (MD) Office of Federal Financial Management                                                    10     59.3%          18.7%            22.0%               1




79. Employees tn my work unt care about me as a person
                                                                                                                                                           NBJ
                                   Organizations                                                          Positive       Neutral         Negative          (N)
  Governmentwide                                                                           578,492         77.0%          16.0%            7.0%           15,647
    Oflice of Management and Budget                                                             437        88.7%          7.6%             3.7%             5

      (MD) Offce of Federal Fnancial Management                                                    10     58.5%           19.5%           22.0%             1




80. I am comfortable expressing opinions that are diferent from other employees in my work unit
                                                                                                                                                           NBJ
                                   Organizations                                                      N    Positive        Neutral         Negative        (N)
  Govemmentwide                                                                              589,040        74.9%           13.19%          12.0%          7,632
    OMce of Management and Budget                                                                443        86.6%           6.3%             7.1%            2

      (MD) Offce of Federal Financial Management                                                     11     45.4%          17.7%            36.9%            0



81. In my work unit, people's diferences are respected
                                                                                                                                                           NBJ
                                   Organizations                                                          Positive       Neutral         Negative          (N)
  Governmentwide                                                                           583,167         76.2%          14.6%            9.2%           12,653
    OMce of Management and Budget                                                               439        85.9%          8.5%             5.5%             6

      (MD) Office of Federal Financial Management                                                    9    42.1%           13.1%           44.9%             2



82. I can be successful in my organization being myself.
                                                                                                                                                           NBJ
                                   Organizations                                                      N    Positive        Neutral         Negative         (N)
  Governmentwide                                                                             589.824        75.2%           14.0%           10.8%          6,319
    Office of Management and Budget                                                              442        83.3%           9.4%             7.4%            2
      (MD) Office of Federal Financial Management                                                    11     43.1%          28.4%            28.4%



83. I can easily make arequest of my organizationto meet my accessibitity needs.
                                                                                                                                     No Accessibility
                                                                                                                                          Needs            NBJ
                             Organizations                                           N    Positive        Neutral      Negative             (N)            (N)

  Governmentwide                                                              377,881      71.6%          18.4%         10.0%            130,393          90,868
    Oflice of Management and Budget                                                190     72.1%          14.0%         13.9%               139             118

      (MD) Ofice of Federal Financial Management                                     6     49.3%           0.0%         50.7%                1               4

Note: For confidentiality purposes, a"    e" indicates that there are fewer than 4 responses to the question, excluding No Accessibility Needs' and 'No
Basis to Judge,' and results are therefore suppresed.
                                              Case 1:25-cv-02314-MAU     Document 1    Filed 07/17/25    Page 62 of 228




                                                                                   •                                                                                  ••
                       Exhi it                                                     1nso...                                                                             •

DOI: 10.1111/jsr.14035



REVIEW ARTICLE




The European Insomnia Guideline: An update on the diagnosis
and treatment of insomnia 2023

Dieter Riemann 1 •2 •                         Colin A. Espie 3 "                  Ellemarije Altena 4
Erna Sif Arnardottir 5 •6 0                            Chiara Baglioni 7 Cl                 Claudio L.A. Bassetti 8
Celyne Bastien 9                          Natalija Berzina 10           I    Bj0rn Bjorvatn 11                    Dimitris Dikeos 12
Leja Dolenc Groselj 13 (                          I Jason G. Ellis 14 ""l                  Diego Garcia-Borreguero 15
Pierre A. Geoffroy 16 C                       I       Michaela Gjerstad 1 7                 Marta Gon~alves 18
Elisabeth Hertenstein 19                          I    Kerstin Hoedlmoser 20                      Tuuliki Hion 21
Brigitte Holzinger 22                                         I Markus Jansson-Frojmark 24·25 > I
                                              Karolina Janku 23 0
Heli Jarnefelt 26                 I Susanna Jernelov 24•25 f' I Poul J0rgen Jennum 27
Samson Khachatryan 28 •                                 Lukas Krone 3 •8 ·19 (,,                 Simon D. Kyle 3
Jaap Lancee 29 <.,                        Damien Leger 30 •              I Adrian Lupusor 31 I
Daniel Ruivo Marques 32•33                                   Christoph Nissen 34                          Laura Palagini 35                  I
Tiina Paunio 36                       Lampros Perogamvros 34                          Dirk Pevernagie 37 'i.l               I
Manuel Schabus 20                           Tamar Shochat 38                      Andras Szentkiralyi 39                    I
Eus Van Someren 40•4 1 •                          I Annemieke van Straten 42                               Adam Wichniak 43
Johan Verbraecken 44                              Kai Spiegelhalder 1 -

Correspondence
Dieter Riemann, Department of Clinical                   Summary
Psychology and Psychophysiology, Centre for
                                                         Progress in the field of insomnia since 2017 necessitated this update of the
Mental Disorders, Medical Centre - University
of Freiburg, Faculty of Medicine, University of          European Insomnia Guideline. Recommendations for the diagnostic procedure for
Freiburg, Germany; Hauplstr. 5, D-79104
                                                         insomnia and it s comorbidities are: clinical interview (encompassing sleep and medi-
Freiburg. Germany.
Email: dieter.riemann@uniklinik-freiburg.de              cal history); the use of sleep questionnaires and diaries (and physical examination and
                                                         additional measures where indicated) (A). Actigraphy is not recommended for the
                                                         routine evaluation of insomnia (C), but may be useful for differential-diagnostic pur-
                                                         poses (A). Polysomnography should be used to evaluate other sleep disorders if sus-
                                                         pected (i.e. periodic limb movement disorder, sleep-related breathing disorders, etc.),
                                                         treatment-resistant insomnia (A) and for other indications (BJ. Cognitive-behavioural
                                                         therapy for insomnia is recommended as the first-line treatment for chronic insomnia
                                                         in adults of any age (including patients with comorbidities), either applied in-person
                                                         or digitally (A). When cognitive-behavioural therapy for insomnia is not sufficiently


Fol' aHmations ,efor to pagt 26


This Is an open access article under the terms of the Creative Commons Attribution License, which permits use, distribution and reproduction in any medium,
provided the original work is proper1y cited.
C> 2023 The Autho rs. Journal of Sleep Research published by John Wiley & Sons Ltd on behalf of European Sleep Research Society.

J Sleep Res. 2023;32:e14035.                                                                                         wileyonlinelibrary.com / journal/lsr     1of36
https:/ / doi.org/ 10 .1 111/ jsr.14035




_2_of_3_6_,__ _lll!_
                   l \2,~~\,,;-,- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - R _ I E _ M _ A _ N _ N _~_~_
            7

                                                         effective. a pharmacological intervention can be offered (A). Benzodiazepines (A).
                                                         benzodlazepine receptor agonists (A), daridorexant (Al and low-dose sedating antide-
                                                         pressants (B) can be used for the short-term treatment of insomnia (:S 4 weeks).
                                                         Longer-term treatment with these substances may be initiated in some cases, consid-
                                                         ering advantages and disadvan tages (B). Orexin receptor antagonists can be used for
                                                         periods of up to 3 months or longer in some cases (A). Prolonged-release melatonin
                                                         can be used for up to 3 months in patients ~ 55 years (B). Antihist;,-'- _ ,_ ~ -
                                                         antipsychotics, fast-release melatonin, ramelteon and phytoth
                                                         recommended for insomnia treatment (A). Light therapy and e,
                                                                                                                                                                           --
                                                                                                                                                                           p
                                                         may be useful as adjunct therapies to cognitive-behavioural ther.                                                  -
                                                         KEYWORDS
                                                         diagnosis, evidence-based medicine, guideline, insomnia, treatment



1           SUMMARY FO R PATIENTS                                                     1.3             Who developed this guideline?

11              What 1s insomnia?                                                     11     I   11                       n J.
        Case 1:25-cv-02314-MAU        Document 1             Filed 07/17/25       Page 63 of 228


                  D.C. DEPARTMENT OF EMPLOYMENT SERVICES
                         CENTRAL ADJUDICATION BRANCH
                                  P.0. BOX 23794
                              WASHINGTON, D.C. 20026
                     DETERMINATION BY CLAIMS EXAMINER

CLAIMANT:                                                     EMPLOYER:
MARGUERITE PRIDGEN                                           OFF OF MGMT & BUDGET--FINANCIA
                                                             725 17TH ST NW
3881 NEWARK ST NW APT F480
WASHINGTON, DC- 20016-3029                                      WASHINGTON, DC- 20503


                                        Do not edit above this line
                                                Fold here




SOCIAL SECURITY NUMBER: XXX-XX-7100

ISSUE: Discharge for Misconduct
REASON FOR DETERMINATION:                                                            the
                                               work performance. The claimant denies was
The claimant was discharged for unsatisfactory
                                       she was never warned that   her  performance
employer allegations, and states that
unsatisfactory.

             of Columbia Unemployment Compensation Act in D.C. Code, Title 51-110(b)(1),
The District                              from receiving benefits if it is found that
                                                                                      he/she
provides that an individual shall be disaualified                                          of the
                                           employer for misconduct occurring in the course
Was discharged from his/her most recent
work.

              has  the responsibility to provide evidence of this misconduct. In this case the
Tne employer                                        support a finding of misconduct. Therefore,
empioyer has not provided sufficient evidence to has not been established.
Work related misconduct on the part of the claimant
DECISION:
                                                                      eligible for unemployment benens
nererore the claimant listed herein is determined
effective 03/09/2014.
                                                                                      the claimant named
 I certify that a copy of this document was      mailed to the employer and to
 hergif at heabove addresses on x/xx/xXXX.


 CURTIS < ALISHIA
Claims Examiner
                                                   OF APPEAL RIGHTS
                SEETHE ENCLOSED D.c. cODE & NOTICE
             Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 64 of 228



Re: OMB FOIA 19-260
1 message
Marguerite Pridgen <margueritepridgen@gmail.com>                       Thu, Oct 3, 2019 at 4:39 PM
To: MBX OMB FOIA <MBX.OMB.FOIA@omb.eop.gov>
 In response to your correspondence dated September 30, 2019, I'm narrowing the scope of the
 subject Privacy Act request to include the following:

 Subject Matter: Marguerite Pridgen
 Offices: Office of Administration, Office of Management and Budget, White House Office
 Search terms: Marguerite, Pridgen


 Sincerely,
 Marguerite Pridgen
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 65 of 228



                                                                         1



     1                    UNITED STATES OF AMERICA

     2                 MERIT SYSTEMS PROTECTION BOARD

     3                    WASHINGTON REGIONAL OFFICE

     4   --------------------------------X

     5   MARGUERITE PRIDGEN,                 :

     6                    Appellant,         :

     7            v.                         :   Docket No.:

     8   OFFICE OF MANAGEMENT AND BUDGET,:       DC-0432-14-0557-I-1

     9                    Respondent Agency.:

    10   --------------------------------X

    11

    12                    Deposition of NORMAN DONG

    13                         Washington, DC

    14                    Monday, August 25, 2014

    15                           1:42 p.m.

    16

    17

    18

    19

    20   Job No.: 64987

    21   Pages: 1 - 111

    22   Reported by: Stephanie M. Marks, RPR
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 66 of 228



                                                                        2



     1          Deposition of NORMAN DONG, held at the

     2   location of:

     3

     4

     5             THE EMPLOYMENT LAW GROUP, PC

     6             888 17th Street, NW

     7             Suite 900

     8             Washington, DC 20006

     9             (202) 261-2806

    10

    11

    12

    13             Pursuant to agreement, before Stephanie M.

    14   Marks, Registered Professional Reporter and Notary

    15   Public in and for the District of Columbia.

    16

    17

    18

    19

    20

    21

    22
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 67 of 228



                                                                         3



     1                    A P P E A R A N C E S

     2        ON BEHALF OF APPELLANT:

     3             SUBHASHINI BOLLINI, ESQUIRE

     4             THE EMPLOYMENT LAW GROUP, PC

     5             888 17th Street, NW

     6             Suite 900

     7             Washington, DC 20006

     8             (202) 331-3911

     9

    10        ON BEHALF OF RESPONDENT AGENCY:

    11             MIDE FAMUYIWA, ESQUIRE

    12             U.S. DEPARTMENT OF HOMELAND SECURITY

    13             FEMA, Office of Chief Counsel

    14             Personnel Law Branch (West)

    15             500 C. Street, SW

    16             Washington, DC 20472

    17             (202) 646-2500

    18

    19         ALSO PRESENT:

    20              Marguerite Pridgen

    21

    22
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 68 of 228



                                                                        4



     1                       C O N T E N T S

     2   EXAMINATION OF NORMAN DONG                         PAGE

     3         By Ms. Bollini                                 5

     4

     5

     6

     7

     8                       E X H I B I T S

     9                        (None marked)

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 69 of 228



                                                                         5



     1                     P R O C E E D I N G S

     2                           NORMAN DONG,

     3   being first duly sworn to testify to the truth, the

     4   whole truth, and nothing but the truth, was examined

     5   and testified as follows:

     6          EXAMINATION BY COUNSEL FOR THE APPELLANT

     7                   BY MS. BOLLINI:

     8             Q     Mr. Dong, my name is Suba Bollini.      I'm

     9   representing the appellant in this matter,

    10   Marguerite Pridgen, and I will be taking your

    11   deposition today.

    12                   Before we start out with substantive

    13   questions, I just wanted to go over kind of the ground

    14   rules of a deposition.

    15             A     Okay.

    16             Q     First of all, have you ever been

    17   deposed before?

    18             A     Yes.

    19             Q     And when was the last time?

    20             A     Oh, I think it was probably back in

    21   2001, 2002.

    22             Q     Okay.   What kind of matter were you
       Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 70 of 228



                                                                                 6



            1   deposed for?

            2             A     It was a wrongful termination suit.

            3             Q     And where were you employed at the

            4   time?

            5             A     District of Columbia.

            6             Q     All right.   Well, since it's been a few

            7   years, I'll go over all of the rules for you.

            8             A     Okay.

            9             Q     First of all, as you know, we're

           10   creating a written record of your testimony today, so

           11   it's important that you speak clearly so that the

           12   court reporter can understand your questions [sic].       That

           13   means that your questions [sic] should be verbal rather
than

           14   sounds or gestures.     So uh-huh, uh-uh, nodding or

           15   shaking your head cannot be transcribed accurately.

           16                   When I begin a question, you may know

           17   what I'm going to say, but I ask that you allow me to

           18   finish the question before you begin your response so

           19   that our -- we can create a clear record.

           20                   Also, your counsel may object after I

           21   ask a question.   If you could allow him to get his

           22   objection on the record, that would be helpful.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25    Page 71 of 228



                                                                          7



     1   Before you begin your response, that is.        And unless

     2   he instructs you not to respond, you may respond to my

     3   questions even if he does pose an objection.        That

     4   just needs to be noted for the record.

     5                    If you don't understand a question,

     6   however, please let me know.     We're going to proceed.

     7   If you do answer a question, we will assume for the

     8   sake of the record that you answered it because you

     9   understood it.

    10              A     Got it.

    11              Q     We'll be discussing some terminology

    12   that is specific to the work that you did at OMB

    13   during the 2012/2013 time frame, maybe 2014 a little

    14   bit as well.    And those are some -- there may be some

    15   terms that I'm not familiar with or that I

    16   inadvertently use incorrectly.     If you think that I

    17   have done so, I think it would be helpful if you let

    18   me know or ask a question if that's the case.        All

    19   right?   Is that fair?

    20              A     Yes.

    21              Q     Okay.   If you need a break at any time,

    22   let me know and we can take that break.        The only
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 72 of 228



                                                                        8



     1   thing I ask is that you not request a break between a

     2   question that I ask and when you complete your

     3   response to that question.

     4              A    I understand.

     5              Q    All right.   And during the break, I

     6   also ask that you not confer with counsel about the

     7   subject matter of the deposition or any of the

     8   questions that you've already answered; however, if

     9   you feel at any point that you do need to add

    10   information to any of your earlier responses or

    11   correct any of your earlier responses, I ask that you

    12   do so today and get those on the record.

    13                   The oath that you took from the court

    14   reporter is the same oath that you would take if you

    15   were testifying in a court of law at the time of a

    16   trial.   And the meaning of that oath is that you agree

    17   to testify truthfully, to the best of your ability and

    18   under the penalty of perjury.    Do you understand that

    19   oath?

    20              A    Yes.

    21             Q     And is there any reason that you may

    22   not be able to understand my questions or answer them
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 73 of 228



                                                                          9



     1   truthfully and completely today?

     2             A     No.

     3             Q     And during the course of the

     4   deposition, I will not be asking you to disclose any

     5   conversations that you had with counsel, those are

     6   attorney/client privileged.     So please be aware of

     7   that.

     8                   All right.    Could you spell your name

     9   for the record, please.

    10             A     Norman Dong.    N-O-R-M-A-N D-O-N-G.

    11             Q     What did you do to prepare for your

    12   deposition today?

    13             A     I prepared with counsel.

    14             Q     Other than preparations with counsel,

    15   did you do anything to prepare?

    16             A     I prepared with counsel.

    17             Q     All right.    Did you have any

    18   discussions with anyone to refresh your memory on any

    19   topics that you thought might be covered during the

    20   deposition today?

    21             A     I prepared with counsel.

    22             Q     All right.    And did you review any
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 74 of 228



                                                                         10



     1   documents to prepare for your deposition?

     2              A     I prepared with counsel.

     3              Q     All right.   Is that a yes or no?    Did

     4   you --

     5              A     I prepared with counsel.

     6              Q     Okay.   Other than anything that counsel

     7   gave you to review, did you prepare -- or did you

     8   review any documents to prepare for today's

     9   deposition?

    10              A     Not outside of the preparations with

    11   counsel.

    12              Q     Okay.   And just so that we have the --

    13   an answer on the record.

    14                    Did you discuss with anyone any topics

    15   that you thought may be covered during the deposition

    16   today other than speaking with counsel?

    17              A     No.

    18              Q     Just a few background questions that

    19   are not meant to insult you in any way, but I have to

    20   go over these.

    21                    Have you ever been arrested?

    22              A     No.
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 75 of 228



                                                                        11



     1               Q   Have you ever been terminated from a

     2   job?

     3               A   No.

     4               Q   Have you ever been subject to

     5   disciplinary action in the course of your employment?

     6               A   No.

     7               Q   Have you ever been accused of

     8   misconduct during the course of your employment?

     9               A   No.

    10               Q   I'd like to go over your educational

    11   background briefly.

    12                   Can you explain to me what degrees you

    13   have and from what institutions they were awarded?

    14               A   I have a bachelor of arts in history

    15   from Yale, and a master's in public policy from the John

    16   F. Kennedy School of Government at Harvard.

    17               Q   What is your current title and

    18   position?

    19               A   I'm the commissioner at the Public

    20   Buildings Service at the General Services

    21   Administration.

    22               Q   How long have you held that position?
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 76 of 228



                                                                        12



     1               A   Since March of 2014.

     2               Q   And prior to beginning your service in

     3   the position at GSA, your current position, what did

     4   you do?

     5               A   I was at the Office of Management and

     6   Budget.    I started as the deputy controller and then

     7   became the interim and acting controller.

     8               Q   When did you become the interim and

     9   acting controller?

    10               A   I became the interim controller in May

    11   of 2013, and I became the acting controller in January

    12   of 2014.

    13               Q   When did you start serving as deputy

    14   controller?

    15               A   That was in April of 2012.

    16               Q   Let's go backwards a ways from then.

    17                   What did you do immediately prior to

    18   serving as deputy controller at OMB?

    19               A   I was the chief financial officer at

    20   the Federal Emergency Management Agency.

    21               Q   How long did you hold that position?

    22               A   From October of 2008 through the end of
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 77 of 228



                                                                         13



     1   March of 2012.

     2             Q      And prior to serving as chief financial

     3   officer at FEMA, what did you do?

     4             A      I was vice president at Affiliated

     5   Computer Services.

     6             Q      How long did you hold that position?

     7             A      That was from 2003 to 2008.    I think it

     8   was, like, February of 2003 to August of 2008.

     9             Q      Immediately prior to that, what did you

    10   do?

    11             A      I was managing director or managing

    12   partner, I forget the exact title, at Governmentum

    13   [sic] Solutions.

    14             Q      And when did you hold that title?

    15             A      That was from some time in 2001 through

    16   February of -- or until February of 2003.

    17             Q      What did -- what did Governmentum

    18   Solutions, what does that firm --

    19             A      It was a consulting firm that had

    20   public and private clients, and it was acquired by

    21   Affiliated Computer Services.

    22             Q      What were your job duties at
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 78 of 228



                                                                        14



     1   Governmentum Solutions?

     2               A   Managing engagements.    We had a project

     3   on the U.S. customs -- with the U.S. customs service

     4   at the time.    We also did other projects with the

     5   Conference of Mayors.   Those are the clients that I

     6   remember.    To managing staff and managing engagements.

     7               Q   Could you explain a little bit more

     8   what "managing engagements" means?

     9               A   Managing project work.    So if we were

    10   contracted to do a specific project, making sure that

    11   we produce the deliverables, working with the

    12   customer, managing the staff.

    13               Q   And did you manage projects of a

    14   particular area, I guess particular types of services?

    15   I guess, what were the nature of the contracts that

    16   you managed for Governmentum Solutions?

    17               A   We worked -- the stakeholder engagement

    18   of a larger project that focused on modernizing

    19   customs' Automated Commercial Environment, which was

    20   a -- their major system that they use to support their

    21   business.    And we were focused on the stakeholder

    22   engagement of that.
Case 1:25-cv-02314-MAU      Document 1    Filed 07/17/25   Page 79 of 228



                                                                            15



     1               Q      Prior to working at Governmentum

     2   Solutions, what did you do?

     3               A      I was employed by the District of

     4   Columbia.       I was the city administrator and deputy

     5   mayor for operations.

     6               Q      And what years?

     7               A      Well, I started with D.C. in 1996, and

     8   there I was -- I started as the chief of staff to the

     9   chief financial officer.        And then in 1998, I became

    10   the director of the Office of Grants Management and

    11   Development.       And then in 1999, I assumed the role

    12   working in the mayor's office.

    13               Q      All right.   Prior to working for the

    14   District of Columbia, what did you do?

    15               A      I was with the Department of Housing

    16   and Urban Development as a special assistant in the

    17   Office of Policy, Development and Research.

    18               Q      How long did you hold that position?

    19               A      From February of 1994 to June of 1996.

    20               Q      And prior to that, what did you do?

    21               A      I was in the Office of the State

    22   Controller in the state of Connecticut.
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 80 of 228



                                                                        16



     1               Q   And what were your job duties there?

     2               A   I was a special assistant for finance

     3   and accounting.   I think the actual title was

     4   executive assistant of finance and accounting.

     5               Q   When was the first time you held a

     6   position with supervisory duties?

     7               A   I'd say beginning at HUD, where I was

     8   responsible for managing staff, where we had interns,

     9   and we had detailees, and we had folks who were

    10   employed at HUD as part of an inner-governmental

    11   exchange.

    12               Q   And did you review the performance of

    13   any direct reports when you were at HUD?

    14               A   No.   That came later in the District of

    15   Columbia.

    16               Q   When, during your tenure with the

    17   District of Columbia, did you -- did you first hold

    18   responsibility for reviewing the performance of any

    19   subordinate employees?

    20               A   I was chief of staff to the chief

    21   financial officer.

    22               Q   In your role as chief financial officer
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 81 of 228



                                                                         17



     1   at FEMA, did you review the performance of any

     2   employees?

     3             A     Yes, I did.

     4             Q     How many?

     5             A     All of my direct reports.

     6             Q     How many direct reports?

     7             A     I have to take a moment to count.

     8                   At least ten.

     9             Q     And at OMB, did you review the

    10   performance of any employees?

    11             A     Yes.

    12             Q     How many?

    13             A     I had three -- at least three, if not

    14   four direct reports.

    15             Q     Who were your direct reports during

    16   your tenure at OMB?

    17             A     There were two branch chiefs, there was

    18   a senior advisor, and there is an executive assistant.

    19             Q     Did the persons who held those titles,

    20   did the employees change during your tenure where

    21   different people who held those titles or was it the

    22   same four?
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 82 of 228



                                                                        18



     1              A    I think it was the same four.

     2              Q    Okay.   Can you name them, please.

     3              A    Sure.   The branch chiefs were

     4   Michael Wetklow and Karen Lee.    The senior advisor was

     5   Regina Kearney, and the executive assistant is

     6   Areletha Venson.

     7              Q    I'm sorry.   Areletha, what was her last

     8   name?

     9             A     Venson, V-E-N-S-O-N.

    10              Q    Thank you.

    11                   How, if at all, were you involved in

    12   the selection of Karen Lee to the position of the

    13   branch chief?

    14              A    I was not.

    15              Q    I'd like to talk a bit about what your

    16   job duties were in the positions that you held at OMB,

    17   starting with deputy controller.

    18                   Could you describe for me what your

    19   primary job duties were as deputy controller?

    20              A    My primary responsibility of deputy

    21   controller is running the day-to-day operations of the

    22   office.   Focused on different issues in our portfolio.
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 83 of 228



                                                                        19



     1             Q     You said different issues in your

     2   portfolio.

     3                   Can you tell me what those issues were?

     4             A     Sure.   Financial systems, improper

     5   payments, internal controls, financial reporting,

     6   grants management, real property management.

     7             Q     Anything else?

     8             A     Those are the major ones that come to

     9   mind.

    10             Q     Which of those areas that you named --

    11   let me just go back, actually.

    12                   Are you familiar with what Karen Lee's

    13   job duties were as a branch chief?

    14             A     Yes.

    15             Q     Could you describe those for me,

    16   please.

    17             A     She was the head of the management

    18   assistance and controls branch, I believe.     And the

    19   issues within her portfolio included grants

    20   management, spending transparency, real property.        She

    21   was responsible for Recovery Act.    Those are the major

    22   ones that come to mind.
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 84 of 228



                                                                         20



     1              Q    Prior to working at OMB, did you have

     2   any experience with any of those particular areas,

     3   grants management, spending transparency, real

     4   property or Recovery Act?

     5              A    Yes.

     6             Q     Okay.   Which?

     7              A    Grants management.

     8              Q    Any others?

     9              A    I touched upon real property management

    10   in my role as CFO at FEMA.       Spending transparency,

    11   I was responsible for that while I was at FEMA as

    12   well.   What was the other one?

    13              Q    Recovery Act.

    14              A    Less so.

    15              Q    And prior to working at OMB, what

    16   experience did you have with grants management?

    17              A    As I mentioned earlier, I was the

    18   director of the Office of Grants Management and

    19   Development in the District of Columbia.       And as the

    20   chief financial officer at FEMA, we also played a

    21   significant role in that agency's grants management.

    22              Q    Do you know how many employees
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 85 of 228



                                                                        21



     1   Karen Lee supervised in her role as branch chief?

     2                        MR. FAMUYIWA:    Objection.   Can you

     3   reference time frame with respect to that question?

     4                   BY MS. BOLLINI:

     5              Q    During your -- at any time during your

     6   tenure.

     7              A    I can give you an approximate number

     8   that may have changed over time.     Again, I'd have to

     9   go back and count.

    10              Q    Okay.

    11              A    I think there were at least four OMB

    12   permanent staff as well as other staff who were

    13   detailed in from agencies.

    14              Q    Who were the four OMB permanent staff

    15   that you supervised during your tenure?

    16              A    There was Gil Tran, Victoria Collin,

    17   Marguerite Pridgen, Aaron Joachim.     And I'm trying to

    18   think if I've missed anybody.     There was also

    19   Shelly Thompson who is somebody who joined us and then

    20   left.   So I think there was about four to five

    21   permanent staff.

    22              Q    How, if at all, were you involved in
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 86 of 228



                                                                        22



     1   the supervision of those five employees that you

     2   identified as being Ms. Lee's direct reports?

     3               A   I'm not sure I understand your

     4   question.

     5               Q   Sure.

     6                   Were you involved in any way in

     7   supervising Mr. Tran's work, Ms. Pridgen's work,

     8   Ms. Collins', Mr. Joachim's or Ms. Thompson's work?

     9               A   There was definitely interaction with

    10   the staff, but I wouldn't consider myself their direct

    11   supervisor.

    12               Q   On what types of matters did you

    13   interact with those individuals?

    14               A   Team meetings, team discussions about

    15   the various issues we were working on, the projects we

    16   were working on.

    17               Q   Did you review the work product of any

    18   of the employees that Ms. Lee supervised?

    19               A   Let me make sure I understand your

    20   question.    Is your question did I see the work

    21   product?

    22               Q   Let's start with that.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 87 of 228



                                                                         23



     1                    Did you see the work product of any of

     2   them?

     3              A     I often saw work product.

     4              Q     Did you see the work product of all of

     5   those five employees that you identified, Mr. Tran,

     6   Ms. Pridgen, Ms. Collin, Mr. Joachim and Ms. Thompson?

     7              A     Over the course of my tenure, yes.

     8              Q     When, if ever, did you provide feedback

     9   to anyone on the quality of the work product submitted

    10   by any of those employees?

    11                         MR. FAMUYIWA:    Objection.   We

    12   haven't established that he provided feedback to

    13   anybody.

    14                         MS. BOLLINI:    My question was

    15   when, if ever.

    16                    BY MS. BOLLINI:

    17              Q     You may answer.

    18              A     When I had the opportunity -- when the

    19   staff had the opportunity to share work product with

    20   me, I would take the opportunity to provide feedback

    21   to the staff.

    22              Q     Did you say that you had more
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 88 of 228



                                                                        24



     1   interaction with any of the five employees that you

     2   identified as reporting directly to Ms. Lee than you

     3   had with others?   So let me rephrase that.

     4                   Did you work more closely with any of

     5   those employees than with others?

     6             A     I would say for the most part it was

     7   fairly consistent based on their presence in the

     8   office.

     9             Q     I'd like to go back to each of those

    10   employees that you identified, Mr. Tran, Ms. Pridgen,

    11   Mr. Collin, Mr. Joachim, Ms. Thompson.

    12             A     Sure.

    13             Q     Can you tell me what their -- each

    14   employee's job title was at the time that you worked

    15   at OMB?

    16             A     I don't recall the specific titles.     I

    17   believe that they were policy analysts with different

    18   degrees of experience and tenure.

    19             Q     And were you familiar with the job

    20   duties that each of those policy analysts performed?

    21             A     Yes.

    22             Q     How did you become familiar with the
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 89 of 228



                                                                        25



     1   job duties of each of those policy analysts?

     2             A     When I first started working at OMB,

     3   there was a series of briefings on the different

     4   projects as well as the different individuals staffing

     5   the projects.

     6             Q     During those briefings when you first

     7   started working at OMB, did any of the briefings

     8   cover -- or did any of the briefings address the work

     9   of Marguerite Pridgen?

    10             A     There were broader discussions about

    11   the work that we're doing in grants management.

    12             Q     When, if ever, did Ms. Pridgen's name

    13   come up in any of the briefings that you identified

    14   having participated in after you began working at OMB?

    15             A     I'm not sure I understand.    Can you

    16   repeat the question or rephrase it?

    17             Q     Sure.

    18                   When was the first time you heard

    19   anything about Marguerite Pridgen after you started

    20   working at OMB?

    21             A     I believe the first detailed

    22   conversation was with Lauren Wright.
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 90 of 228



                                                                        26



     1             Q     When was that?

     2             A     It was probably not long after I

     3   started back in April of 2012.

     4             Q     What did you and Ms. Wright talk about

     5   during that conversation?

     6             A     She briefed me on the situation and

     7   what had happened prior to my arrival.

     8             Q     What did she tell you about what had

     9   happened prior to your arrival?

    10             A     She mentioned that Marguerite was

    11   placed on administrative leave, and then she also

    12   mentioned that Marguerite would be coming back to OMB.

    13             Q     Did she explain to you why -- or did

    14   she describe any reasons that Ms. Pridgen had been

    15   placed on administrative leave?

    16             A     Yes.

    17             Q     What were those?

    18             A     From what I recall, there were some

    19   potential security issues that were being investigated

    20   by the Secret Service.

    21             Q     Did Ms. Wright provide you with any

    22   detail about what those security issues were?
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 91 of 228



                                                                         27



     1             A     She explained that there were some

     2   potential threats articulated.

     3             Q     Did she say that Ms. Pridgen had

     4   articulated those threats?

     5             A     Yes.

     6             Q     Did she tell you what the threats were?

     7             A     I don't recall the specifics.

     8             Q     What do you recall?

     9             A     It was potential harm -- from what I

    10   recall, from what I understand, it was potential harm

    11   to herself or others.

    12             Q     What else, if anything, did Ms. Wright

    13   tell you about the potential threats that Ms. Pridgen

    14   articulated?

    15             A     That's all that I recall.

    16             Q     Did she tell you what the context of

    17   those potential threats were?

    18                          MR. FAMUYIWA:   Objection.   Asked

    19   and answered.

    20                   BY MS. BOLLINI:

    21             Q     Go ahead.

    22             A     I don't recall any more specifics.
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 92 of 228



                                                                          28



     1               Q   Did she tell you Ms. Pridgen had filed

     2   an EEO complaint?

     3                           MR. FAMUYIWA:    Objection.   Asked

     4   and answered.

     5                           MS. BOLLINI:    No, it wasn't.

     6                   BY MS. BOLLINI:

     7               Q   Go ahead, please.

     8               A   She did mention that Ms. Pridgen had

     9   filed a complaint.

    10               Q   And was this in the same conversation

    11   that you had with her in which she described to you

    12   the potential threats that Ms. Pridgen articulated?

    13               A   I'm not sure I understand that

    14   question.

    15               Q   Okay.    I just wanted to understand

    16   whether Ms. Wright had described the potential threats

    17   as having been related in any way to Ms. Pridgen's EEO

    18   complaint.

    19                           MR. FAMUYIWA:   Objection.    First,

    20   asked and answered.      And two --

    21                           MS. BOLLINI:    It was not asked and

    22   answered, counsel.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 93 of 228



                                                                         29



     1                         MR. FAMUYIWA:     If I can finish my

     2   objection.

     3                         It's asked and answered, and you

     4   are misstating the testimony of the witness.

     5                    BY MS. BOLLINI:

     6             Q      Please go ahead.

     7                         MS. BOLLINI:     Could you read the

     8   question back.

     9                    (The record was read as requested.)

    10                         THE WITNESS:     I don't recall that.

    11                    BY MS. BOLLINI:

    12             Q      Other than discussing with you the

    13   potential threats that Ms. Pridgen articulated, what

    14   else, if anything, did Ms. Wright tell you about

    15   Ms. Pridgen during your detailed conversation --

    16                         MR. FAMUYIWA:     Objection.   Asked

    17   and answered.

    18                    BY MS. BOLLINI:

    19             Q      -- in April of 2012?

    20                         MR. FAMUYIWA:     Sorry about that.

    21                         Objection.     Asked and answered.

    22                         MS. BOLLINI:    It was not, but
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 94 of 228



                                                                        30



     1   thank you.

     2                         THE WITNESS:    I think the major

     3   issues were the reasons why she was placed on

     4   administrative detail.

     5                   BY MS. BOLLINI:

     6             Q     Other than the potential threat that we

     7   discussed, did Ms. Wright identify any other reasons

     8   for Ms. Pridgen having been placed on administrative

     9   leave?

    10             A     No.

    11             Q     And did Ms. Wright discuss with you

    12   whether -- any potential threats -- whether the agency

    13   had resolved concerns about any potential threats?

    14                         MR. FAMUYIWA:    Objection.   Asked

    15   and answered.

    16                         MS. BOLLINI:    Incorrect.

    17                   BY MS. BOLLINI:

    18             Q     Go ahead.

    19             A     Can you repeat the question, please.

    20             Q     Sure.

    21                   Did Ms. Wright discuss with you whether

    22   the agency had resolved any concerns it had about the
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 95 of 228



                                                                        31



     1   potential threats that Ms. Pridgen had allegedly

     2   articulated?

     3               A   I believe in the initial conversation

     4   that was still an ongoing issue.

     5               Q   Did you have more than one conversation

     6   with Ms. Wright about the potential threat that

     7   Ms. Pridgen had articulated?

     8               A   It may have come up on more than one

     9   occasion.

    10               Q   You said in the initial conversation it

    11   was still an ongoing issue; is that correct?

    12               A   (Gesturing affirmatively.)

    13               Q   What was your understanding of what the

    14   agency's position was on that issue during that

    15   initial conversation?

    16               A   I'm not sure I understand that

    17   question.

    18               Q   Okay.   During the initial conversation,

    19   was it your understanding -- did Ms. Wright tell you

    20   that the agency or some entity was still investigating

    21   the matter?

    22               A   I believe she said that the Secret
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 96 of 228



                                                                        32



     1   Service was investigating the matter.

     2             Q     And at some point, did Ms. Wright

     3   notify you that the Secret Service had concluded its

     4   investigation into the matter?

     5             A     Yes, she did.

     6             Q     When did she tell you that?

     7             A     I'm not sure of the exact date, but I

     8   think it was maybe a month or so after I started.

     9             Q     Did Ms. Wright share with you what

    10   the -- what conclusions, if any, the Secret Service

    11   came to as a result of its investigation?

    12             A     She told me that Marguerite would be

    13   allowed access back into the New Executive Office

    14   Building, but not the Old Executive Office Building.

    15             Q     Did Ms. Wright explain to you why

    16   Ms. Pridgen would be allowed access into the New

    17   Executive Office Building and not the Old Executive

    18   Office Building?

    19             A     I don't recall the specifics.    I just

    20   took it as a decision that had been made.

    21             Q     Prior to Ms. Pridgen returning to the

    22   OMB from administrative leave, did you discuss with
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 97 of 228



                                                                        33



     1   any agency employee her performance?

     2             A     I don't recall much discussion about

     3   performance.    Most of the conversation seemed to be

     4   focused on administrative leave and the reasons for

     5   that.

     6             Q     What do you recall -- what discussions

     7   do you recall about Ms. Pridgen's performance prior to

     8   her -- or what discussions do you recall having had

     9   about Ms. Pridgen's performance prior to her returning

    10   from administrative leave?

    11                        MR. FAMUYIWA:     Objection.   Asked

    12   and answered.

    13                        MS. BOLLINI:    It was not.

    14                   BY MS. BOLLINI:

    15             Q     Go ahead and answer.

    16             A     I believe that Lauren Wright had

    17   informed me that Ms. Pridgen did not have a

    18   performance plan for the current performance year.

    19             Q     What discussion, if any, did you have

    20   with Ms. Wright about Ms. Pridgen's performance plan

    21   for the coming performance year?

    22             A     We were talking about how we would
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 98 of 228



                                                                        34



     1   complete performance assessments for all employees

     2   within the Office of Federal Financial Management, and

     3   we were talking about how we would approach a

     4   situation where you have an employee who never had a

     5   performance plan established in that year.

     6             Q     And did you and Ms. Wright arrive at

     7   some conclusion as to how you would address that

     8   situation?

     9             A     We wanted to make sure that all

    10   employees within OFFM had an opportunity to be

    11   evaluated on performance expectations, and we talked

    12   about potentially giving more time to Ms. Pridgen when

    13   she returned back to OMB.

    14             Q     Can you explain what you mean by "more

    15   time"?

    16             A     To allow an additional period to be

    17   evaluated on performance if there was not a

    18   performance plan in place or if she was not on site

    19   because of being on administrative leave.

    20             Q     Can you explain what that additional

    21   time period was?   Did you -- did you and Ms. Wright

    22   decide on what that time period would be?
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25    Page 99 of 228



                                                                         35



     1              A    I don't recall the exact number of

     2   days.   I just remember conceptually there was an

     3   interest in terms of having an articulated performance

     4   expectation.

     5              Q    I'd like to go back to the term you

     6   used "more time."

     7                   Could you explain first what the

     8   performance rating period is, the annual evaluation

     9   period for OMB?

    10              A    I believe for GS employees, that runs

    11   through March 31st.    And for SES employees, that runs

    12   through June 30th.

    13              Q    To the best of your recollection, what

    14   was the actual time period on the calendar that you

    15   and Ms. Wright decided would be appropriate for

    16   Ms. Pridgen upon her return?

    17              A    I don't recall the final details, but

    18   my -- from what I remember, I think there was some

    19   focus on 90 days.

    20                         THE WITNESS:    Can we take a break

    21   in a few minutes?

    22                         MR. FAMUYIWA:    Sure.
Case 1:25-cv-02314-MAU     Document 1    Filed 07/17/25   Page 100 of 228



                                                                            36



      1                           MS. BOLLINI:    We can take a break

      2   right now if you would like.

      3                    (A brief recess was taken.)

      4                    BY MS. BOLLINI:

      5             Q      Before we took a break, you and I were

      6   talking about discussions you had with Lauren Wright

      7   about -- or that related to Ms. Pridgen prior to

      8   Ms. Pridgen's returning to the OMB after she was on --

      9   placed on administrative leave.        And you mentioned

     10   that -- and I may not be stating your testimony

     11   correctly.     But you mentioned that Ms. Wright did tell

     12   you at some point that Ms. Pridgen had filed an EEO

     13   complaint?

     14             A      She had informed me of that.

     15             Q      And just so that I understand

     16   correctly, did she inform you of that in that period

     17   after you -- or prior to Ms. Pridgen's return to the

     18   agency?

     19             A      Yes.

     20             Q      What did Ms. Wright tell you about

     21   Ms. Pridgen's EEO complaint?

     22             A      From what I recall, it focused on
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 101 of 228



                                                                         37



      1   reasonable accommodation.

      2             Q    Did she tell you anything else about

      3   it?

      4             A    I'm trying to remember the details.     I

      5   know there was focus on reasonable accommodation, and

      6   I believe that there were issues related to

      7   discrimination that were being alleged.

      8             Q    Did Ms. Wright tell you what the basis

      9   of Ms. Pridgen's reasonable accommodation claim was?

     10             A    I can't remember the specifics, because

     11   I know that there were additional requests after I

     12   assumed my position.   So I wouldn't be able to say

     13   what was before versus what was after.

     14             Q    And just so I understand correctly, do

     15   you mean that Ms. Pridgen made additional requests

     16   after she returned to the agency from administrative

     17   leave?

     18             A    I believe so.

     19             Q    Other than telling you that Ms. Pridgen

     20   had EEO claims based on the reasonable accommodation

     21   and discrimination, what else, if anything, did she

     22   tell you about Ms. Pridgen's EEO complaint?
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 102 of 228



                                                                         38



      1             A    I think those are the major issues.

      2             Q    Did Ms. Wright tell you what types of

      3   discrimination Ms. Pridgen alleged in her EEO

      4   complaint?

      5             A    She may have.

      6             Q    And what's your understanding of what

      7   types of discrimination Ms. Pridgen alleged in the EEO

      8   complaint that she filed prior to being placed on

      9   administrative leave?

     10             A    I believe she was alleging issues

     11   related to age and race.

     12             Q    Did Ms. Wright discuss with you any of

     13   the underlying facts related to Ms. Pridgen's EEO

     14   complaint?

     15             A    I don't recall the specifics.

     16             Q    Did Ms. Wright tell you anything about

     17   procedurally where Ms. Pridgen's EEO complaint was at

     18   the time she discussed it with you?

     19             A    She may have.   Again, it was long ago,

     20   and I don't recall a lot of the details.

     21             Q    And what's your understanding of why

     22   Ms. Wright shared with you information about
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 103 of 228



                                                                           39



      1   Ms. Pridgen's EEO complaint prior to Ms. Pridgen

      2   returning to the agency from administrative leave?

      3             A    I believe she wanted me to have the

      4   entire set of facts in terms of issues.

      5             Q    When you say the "entire set of facts

      6   in terms of issues," can you tell me what, if any,

      7   other issues Ms. Wright discussed with you about

      8   Ms. Pridgen prior to Ms. Pridgen's return?

      9             A    I think the conversation focused

     10   largely on the reasons why she was placed on

     11   administrative leave as well as any prior EEO

     12   complaints.

     13             Q    Was it during that same conversation

     14   you had with Ms. Wright that you discussed with her

     15   establishing a performance plan for Ms. Pridgen upon

     16   her return?

     17             A    Yes.     That was part of what we

     18   discussed before in the interest of giving all

     19   employees a clear set of performance expectations.

     20             Q    Did you review any records relating to

     21   Ms. Pridgen prior to her returning to the agency from

     22   administrative leave?
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 104 of 228



                                                                           40



      1               A   What type of records?

      2               Q   Any records relating to her employment,

      3   her performance, otherwise?

      4               A   I don't believe so.

      5               Q   Just to clarify, performance

      6   evaluations, for instance, did you review any of her

      7   past performance evaluations?

      8                        MR. FAMUYIWA:     Objection.   Asked

      9   and answered.   Or maybe you want to clarify the

     10   question.

     11                        MS. BOLLINI:     No.

     12                        THE WITNESS:     So who's got --

     13                   BY MS. BOLLINI:

     14               Q   You can answer if you understood.

     15               A   Would you mind rephrasing the question?

     16               Q   Sure.

     17                   Did you review any of Ms. Pridgen's

     18   past performance evaluations prior to her returning

     19   from administrative leave?

     20               A   I don't believe so.

     21               Q   Did Ms. Wright discuss with you

     22   anything relating to Ms. Pridgen's conduct in any
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 105 of 228



                                                                          41



      1   discussions you had with her prior to Ms. Pridgen

      2   returning from administrative leave?

      3               A   Would threats be considered part of

      4   conduct in terms of the reasons for her being on

      5   administrative leave?

      6               Q   Let's say yes for the sake of this

      7   conversation.

      8                   Other than threats, did she discuss

      9   anything about Ms. Pridgen's conduct?

     10               A   The focus largely was on the reasons

     11   for her being out on administrative leave.

     12               Q   Did Ms. Wright discuss with you, again,

     13   prior to Ms. Pridgen returning from administrative

     14   leave, Ms. Pridgen's relationships with her

     15   supervisors prior to her being placed on

     16   administrative leave?

     17               A   I'm not sure I understand that

     18   question.    Would you mind rephrasing it?

     19               Q   Sure.

     20                   Prior to when you and Ms. Wright had a

     21   conversation about Ms. Pridgen prior to Ms. Pridgen

     22   returning from administrative leave, did Ms. Wright
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25    Page 106 of 228



                                                                          42



      1   share with you any information about Ms. Pridgen's

      2   professional relationship with any of her supervisors

      3   in the period of time prior to her being placed on

      4   administrative leave?

      5                       MR. FAMUYIWA:    Objection.      Vague.

      6   Can you explain what you mean by supervisor?        Are you

      7   just referring to one person or all of her

      8   supervisors?

      9                       MS. BOLLINI:    All.     Any.

     10                       MR. FAMUYIWA:    Thank you.

     11                       THE WITNESS:    I guess I'm still

     12   not sure what you're asking.

     13                  BY MS. BOLLINI:

     14             Q    Sure.

     15                  Did Ms. Wright share with you any

     16   concerns that any of Ms. Pridgen's former supervisors

     17   had voiced to her, Ms. Wright, during the period of

     18   time prior to Ms. Pridgen being placed on

     19   administrative leave?

     20             A    I think she may have suggested that

     21   previous supervisors may have had some concerns, but I

     22   don't recall a lot of the specifics beyond that.
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 107 of 228



                                                                         43



      1             Q    What do you recall?

      2             A    I don't recall a lot, actually.     Again,

      3   I think the conversations that I had with

      4   Lauren Wright were focused mainly on the EEO complaint

      5   that had been put forward had been about the

      6   discussion of why she was on administrative leave,

      7   given the threats that were articulated by

      8   Ms. Pridgen, and how we would approach the situation

      9   had she came back in the organization, and we wanted

     10   to make sure that she had a clear performance plan,

     11   just like every other OFFM employee.

     12             Q    And prior to Ms. Pridgen returning from

     13   administrative leave, did you discuss with anyone

     14   what -- what Ms. Pridgen's portfolio of work would be

     15   upon her return to the agency?

     16             A    Say that again, please.

     17             Q    Sure.

     18                  Prior to Ms. Pridgen returning to the

     19   agency, did you discuss with anyone what Ms. Pridgen's

     20   portfolio of work should be when she returned to the

     21   agency?

     22             A    Yes.
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 108 of 228



                                                                         44



      1             Q    With whom did you discuss that?

      2             A    I believe I spoke to Lauren Wright

      3   about this, spoke to Karen Lee about this, and also

      4   spoke to Danny Werfel, who is the controller.

      5             Q    Did you speak with each of those

      6   persons individually?

      7             A    I think it was largely individually,

      8   but there may have been joint discussions.

      9             Q    All right.   What did you and Ms. Wright

     10   discuss about Ms. Pridgen's portfolio of work prior to

     11   Ms. Pridgen returning?

     12             A    I think the consensus was that it

     13   should focus on grants management if that had been

     14   Ms. Pridgen's previous area of focus.

     15             Q    What input, if any, did Ms. Wright

     16   provide on the topic of what Ms. Pridgen's portfolio

     17   of work should be upon her return from administrative

     18   leave?

     19             A    From what I recall, I think the

     20   conversation was at a high level.    I don't think she

     21   was involved in scoping out specific projects, but I

     22   think we both agreed that the area of focus should be
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 109 of 228



                                                                          45



      1   based on where it had been previously.

      2             Q    What input did Karen Lee provide to the

      3   topic of -- or in the question of what portfolio of

      4   work should be assigned to Ms. Pridgen upon her return

      5   from administrative leave?

      6             A    I think if the decision was made, that

      7   Marguerite should focus on grants management.      Ms. Lee

      8   was responsible for helping identify specific projects

      9   within grants management that would be suitable for

     10   Ms. Pridgen, given her background and expertise.

     11             Q    How about Mr. Werfel, what input, if

     12   any, did he provide in the question of what portfolio

     13   of work should be assigned to Ms. Pridgen upon her

     14   return?

     15             A    I think he agreed that the focus should

     16   be grants management, but beyond that, he wasn't

     17   involved in the specifics.

     18             Q    And did you -- did you agree that

     19   Ms. Pridgen's portfolio should be focused on what she

     20   had previously worked on?

     21             A    I think the intent was to find a

     22   portfolio that would be commensurate with her skills
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 110 of 228



                                                                          46



      1   and expertise, and if that's, you know, grants

      2   management -- if her background and experience was in

      3   grants management, then that's where the focus should

      4   be.

      5               Q   I'd like to understand what your --

      6   what's your understanding of what the agency did with

      7   Ms. Pridgen's portfolio of work during the period of

      8   time that she was on administrative leave.

      9                        MR. FAMUYIWA:    Objection.   Vague.

     10   Can you explain the exact time period you're talking

     11   about?

     12                        MS. BOLLINI:    During the period of

     13   time she was on administrative leave.

     14                        MR. FAMUYIWA:    Yeah, but the

     15   problem is, Mr. --

     16                        MS. BOLLINI:    I asked what his

     17   understanding is, so -- of what the agency did.

     18                   BY MS. BOLLINI:

     19               Q   You may answer if you understand the

     20   question.

     21               A   Will you mind rephrasing the question

     22   so that I totally understand it?
Case 1:25-cv-02314-MAU   Document 1       Filed 07/17/25   Page 111 of 228



                                                                             47



      1             Q    Sure.    Okay.     Let's see if I can.

      2                  So your understanding is that Ms. Pridgen

      3   had a portfolio of work that she was assigned prior to

      4   the time she was placed on administrative leave; is

      5   that your understanding?

      6             A    Yes.

      7             Q    Okay.    And do you know what the agency

      8   did with the assignments that were -- or the projects

      9   that were in her portfolio of work when it placed her

     10   on administrative leave?

     11                         MR. FAMUYIWA:      Objection.   Calls

     12   for speculation.

     13                         MS. BOLLINI:      I asked whether he

     14   knows.

     15                         THE WITNESS:      I don't have the

     16   details of what she was assigned before she was placed

     17   on administrative leave, if that was your question.

     18                  BY MS. BOLLINI:

     19             Q    Okay.

     20             A    But I do know that there was a need for

     21   grants management work upon her return.

     22             Q    Could you explain what you mean by that
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 112 of 228



                                                                          48



      1   phrase or that sentence, "there was a need for grants

      2   management work upon her return"?

      3             A     I think there were important projects

      4   that needed to get done.

      5             Q     And what were those projects, if you

      6   can recall?

      7             A     One example was grants workforce

      8   training and development to make sure that all grants

      9   management professionals with responsibility for

     10   administering or supporting grants programs in the

     11   federal government had a certain set of skills and

     12   competencies.

     13             Q     And what's your understanding of -- let

     14   me rephrase that.

     15                   Did the agency assign Ms. Pridgen any

     16   work related to grants workforce training and

     17   development upon her return from administrative leave?

     18             A     Yes.

     19             Q     What's your understanding as to what

     20   Ms. Pridgen's assignment was in that particular area?

     21             A     From what I recall, she was charged

     22   with coming up with an overall -- developing an
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 113 of 228



                                                                          49



      1   overall strategy and plan for improving the federal

      2   grants workforce.

      3             Q    I'd like to go back for a moment to the

      4   topics related to training that you participated in.

      5                  Did OMB provide you any training on EEO

      6   policies and procedures?

      7             A    I believe in the course of my career,

      8   I've had training on EEO policies and procedures,

      9   including my time at FEMA.

     10             Q    Do you recall having had any training

     11   that was provided by OMB or during your tenure at OMB?

     12             A    I don't recall specific training

     13   provided while I was at OMB.

     14             Q    During your tenure at OMB, did you

     15   participate in any training on the No FEAR Act?

     16             A    Not during my time at OMB, but I have

     17   been part of training of No FEAR.

     18             Q    During your tenure at OMB, did you

     19   participate in any training on conducting employee

     20   performance evaluations?

     21             A    I've had significant experience on the

     22   question of employee performance evaluations, and
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 114 of 228



                                                                           50



      1   during the -- my time at OMB, I believe we had some

      2   more focused discussions with the managers about the

      3   mechanics of doing that in terms of the annual

      4   performance evaluation cycle.

      5             Q      When did you have those discussions

      6   with managers?

      7             A      I don't recall the specifics.     I think

      8   it was -- it was around the evaluation cycle and what

      9   needed to be submitted when.

     10             Q      Do you know whether Ms. Karen Lee was

     11   involved in any of those discussions on performance

     12   evaluation cycle at OMB?

     13             A      There may have been discussions with

     14   branch chiefs.    I'm not sure.   But I knew that -- I do

     15   know that Karen Lee had significant discussions with

     16   HR on the question of performance evaluation and how

     17   to approach it.

     18             Q      How do you know that Ms. Lee had

     19   significant discussions with HR on performance

     20   evaluations?

     21             A      Because I know that she was talking to

     22   Lauren Wright about how to -- how to evaluate all of
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 115 of 228



                                                                         51



      1   her employees, and I believe that Mike Wetklow was as

      2   well.   And that's something that I encouraged my

      3   branch chiefs to do in terms of working with HR to

      4   make sure that we followed proper protocol and

      5   procedure.

      6              Q   How do you know that Ms. Lee was

      7   talking to Lauren Wright about conducting performance

      8   evaluations?

      9              A   I was aware of a lot of things that my

     10   branch chiefs were doing.

     11              Q   Do you know what the period of time is

     12   that Ms. Lee talked to -- or let's see.

     13                  Do you know when Ms. Lee had

     14   discussions with Lauren Wright about conducting

     15   performance evaluations?

     16              A   I think it was on multiple occasions.

     17   Again, we had several opportunities during the cycle.

     18              Q   All right.   I'd like to talk to you

     19   about Ms. Pridgen's returning to the agency from

     20   administrative leave.

     21              A   Okay.

     22              Q   What was the first interaction, if any,
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 116 of 228



                                                                          52



      1   that you had with Ms. Pridgen upon her return from

      2   administrative leave?

      3             A    I don't recall a lot of the specifics.

      4   I think it was a general hello, either in a meeting or

      5   in the hallway.

      6             Q    Okay.    Going back for a moment, I'd

      7   like to talk about your experience with EEO matters.

      8                  When, if ever, were you named as a

      9   discriminator or retaliator in an EEO complaint?

     10             A    A discriminator or a retaliator?

     11             Q    Retaliator, yes.

     12             A    I don't believe ever.     There was a case

     13   in the District of Columbia where Anthony Williams was

     14   named in a lawsuit, and I think I was named as a -- I

     15   forget the technical term, but a party of interest or

     16   something.

     17             Q    You've never had an employee allege

     18   that you've discriminated or retaliated against them

     19   under any EEO law?

     20             A    I don't believe so.     There was a

     21   performance issue with the deputy CFO at FEMA, which

     22   we were addressing while I was there.
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 117 of 228



                                                                           53



      1             Q      When, if ever, did you have to -- or

      2   when, if ever, did you respond to a request for a

      3   reasonable accommodation for an employee?

      4             A      I think one example is at FEMA where we

      5   had a -- an employee with a physical disability where

      6   we had to modify the entrance to the restroom.

      7             Q      And how, if at all, were you involved

      8   in responding to that request for reasonable

      9   accommodation?

     10             A      My director of business operations came

     11   to me and told me that it was an issue, and I approved

     12   the funding to address that issue.

     13             Q      And when, if ever, did you have any

     14   involvement in responding to a request for a

     15   reasonable accommodation from an employee at OMB?

     16             A      I believe Ms. Pridgen had made some

     17   requests during my tenure.

     18             Q      Do you recall what those requests were?

     19             A      I think one issue was proximity to the

     20   restroom, which we accommodated.      I believe another

     21   issue was something related to having to accommodate

     22   an ability -- an inability to type for long periods of
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 118 of 228



                                                                           54



      1   time or to use the keyboard, and I believe that there

      2   was some software that we acquired, Dragon Speak, I

      3   forget the specifics of it, that was also provided.

      4                  Ms. Wright informed me that there was

      5   also a request for an air purifier, which I believe

      6   was also accommodated.     There was also a request for

      7   quieter space, which I believe also was accommodated.

      8             Q    Are you aware of any others for

      9   Ms. Pridgen?

     10             A    There may have been others.       Those are

     11   the four that I can recall.

     12             Q    When, if ever, did you deny any of the

     13   requests for reasonable accommodation that you just

     14   identified?

     15                          MR. FAMUYIWA:    Objection.

     16   Misstates the testimony of the witness.

     17                          MS. BOLLINI:    It doesn't.

     18                  BY MS. BOLLINI:

     19             Q    You may answer.

     20             A    I'm not sure I understand that.

     21             Q    Sure.

     22                  Did you deny any of those requests for
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 119 of 228



                                                                          55



      1   reasonable accommodation before they were granted?

      2              A    Again, I'm not sure I understand the

      3   question, if they were granted.

      4              Q    Okay.   At any point, are you aware of

      5   whether any of Ms. Pridgen's requests for reasonable

      6   accommodation were denied?

      7                         MR. FAMUYIWA:    Objection.   Asked

      8   and answered.   Unless you're asking about other

      9   supervisors denying it.

     10                         MS. BOLLINI:    This is a totally

     11   different question.

     12                   BY MS. BOLLINI:

     13              Q    Are you aware of any having been

     14   denied?

     15                         MR. FAMUYIWA:    Objection.   Vague.

     16   Maybe you can clarify the question.      I'm not sure that

     17   I understand it myself, honestly.

     18                         THE WITNESS:    Yeah.   Again, I'm

     19   having trouble following this question, if they were

     20   granted.

     21                   BY MS. BOLLINI:

     22              Q    Sure.
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 120 of 228



                                                                           56



      1                    When, if ever, did you -- what input,

      2   if any, did you have into Ms. Pridgen's request for a

      3   quieter work space?

      4             A      I wanted to make sure that all of our

      5   employees had an environment where they could succeed

      6   and perform.

      7             Q      What input, if any, did you have into

      8   Ms. Pridgen's request, and -- what input, if any, did

      9   you have into the agency's response to Ms. Pridgen's

     10   request for quieter work space?

     11                         MR. FAMUYIWA:    Objection.   Vague.

     12   Maybe you can explain what you mean by "input."       And

     13   objection.     Asked and answered.

     14                    BY MS. BOLLINI:

     15             Q      You may answer if you understand.

     16             A      HR came to me and recommended that we

     17   provide quieter space for Ms. Pridgen, and we granted

     18   that request.

     19             Q      Are you aware of whether the agency

     20   denied Ms. Pridgen's request for a quieter work space

     21   at any time before it granted that request?

     22                         MR. FAMUYIWA:    Objection.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 121 of 228



                                                                          57



      1   Speculation and asked and answered.

      2                        MS. BOLLINI:    Incorrect.

      3                   BY MS. BOLLINI:

      4              Q    You may answer.

      5              A    Can you rephrase it?

      6              Q    I don't know if I can rephrase it.

      7                   The question was whether you're aware

      8   of whether the agency had, at any time, denied

      9   Ms. Pridgen's request for a quieter work space prior

     10   to its granting that request.

     11                        MR. FAMUYIWA:    Objection.    Vague,

     12   and it calls for two different answers.       I don't know

     13   if you're referring to him or somebody else --

     14                        MS. BOLLINI:    No, it does not.

     15                        MR. FAMUYIWA:     -- denying the

     16   request.

     17                        MS. BOLLINI:    It does not.

     18                   BY MS. BOLLINI:

     19              Q    But you may answer.

     20                        MR. FAMUYIWA:    Shall she repeat

     21   the question?

     22                        THE WITNESS:    Yeah.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 122 of 228



                                                                          58



      1                        MS. BOLLINI:    Do you mind reading

      2   that back?

      3                   (The record was read as requested.)

      4                        THE WITNESS:    I think there was a

      5   focus on wanting to ensure that it was a legitimate

      6   request.

      7                        MS. BOLLINI:    Could you read the

      8   question again?   I'm not sure that you answered the

      9   question.

     10                   (The record was read as requested.)

     11                        MR. FAMUYIWA:    Yeah.   The Agency

     12   objects.    I think that you need to explain -- and I

     13   think I know where you're going.     I think you need to

     14   explain the question to him for him to understand it,

     15   otherwise the response will probably ...

     16                        MS. BOLLINI:    Okay.    Thank you for

     17   your objection.

     18                   BY MS. BOLLINI:

     19               Q   But are you aware of the agency ever

     20   having denied Ms. Pridgen's request for a quieter work

     21   space?

     22               A   I think if there were conversations, it
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 123 of 228



                                                                          59



      1   was about wanting to make sure that the request was

      2   reasonable and legitimate.

      3              Q    But are you aware of the agency having

      4   denied Ms. Pridgen's request at any time?

      5                        MR. FAMUYIWA:    Objection.   Asked

      6   and answered.   And the question is vague.

      7                        MS. BOLLINI:    It was not answered,

      8   counsel.

      9                        MR. FAMUYIWA:    Okay.

     10                        THE WITNESS:    I think, as I said

     11   before, there were conversations about wanting to make

     12   sure that it was a reasonable and legitimate request.

     13                   BY MS. BOLLINI:

     14              Q    Are you aware -- I'm sorry I have to

     15   repeat the question, because I don't understand

     16   whether you are aware or not.

     17                   Are you aware of the agency having

     18   denied Ms. Pridgen's request for a quieter work space

     19   at any time?

     20                        MR. FAMUYIWA:    Objection.   Asked

     21   and answered.   The question is vague.    If you want to

     22   explain what you mean when you say that the agency
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 124 of 228



                                                                          60



      1   denied her request.

      2                         THE WITNESS:    Because the request

      3   was granted.

      4                   BY MS. BOLLINI:

      5               Q   At any time, are you aware of the

      6   request having been denied prior to its being granted?

      7                         MR. FAMUYIWA:    Objection.   Asked

      8   and answered.   The question is vague.     You may want to

      9   explain what you mean when you say that the request

     10   was originally denied.

     11                   BY MS. BOLLINI:

     12               Q   You may answer.

     13               A   I think my counsel has raised a

     14   question.

     15               Q   Do you understand the question, sir,

     16   actually?

     17               A   And I've responded.

     18               Q   But I think the question calls for a

     19   yes or no.

     20                   Are you aware if the request had been

     21   denied at any time prior to the agency's granting it?

     22               A   I'm not sure what constitutes a formal
Case 1:25-cv-02314-MAU    Document 1     Filed 07/17/25   Page 125 of 228



                                                                            61



      1   denial, especially since the request was accommodated.

      2              Q    Are you aware of the agency having,

      3   formally or informally, denied the request for a

      4   quieter work space prior to its having granted that?

      5                        MR. FAMUYIWA:      Objection.   Asked

      6   and answered.   The question is vague.      You may want to

      7   explain what you mean when you say the agency denied

      8   the request before it was granted.

      9                        MS. BOLLINI:      Counsel, you stated

     10   your speaking objection several times, and you're

     11   misstating my question.      So, again, I think we're

     12   getting somewhere.

     13                        MR. FAMUYIWA:      I'm not misstating

     14   the question.   I think I have a right to respond.       I'm

     15   not misstating the question.      I have explained it to

     16   you.   I have a right to object.     You can repeat the

     17   question, I have the right to object to that question,

     18   and if he can respond, he responds.

     19                        MS. BOLLINI:      If your objections

     20   are improper repeatedly, you do not have a right to

     21   repeatedly state them.

     22                        MR. FAMUYIWA:      My objections are
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 126 of 228



                                                                          62



      1   not improper.   They are not.

      2                   BY MS. BOLLINI:

      3              Q    You may --

      4                        MS. BOLLINI:    Do you mind reading

      5   back the question?

      6                   (The record was read as requested.)

      7                        THE WITNESS:    As I said before, I

      8   think there was some discussion about whether the

      9   requests were legitimate requests for accommodation.

     10   The request for accommodation was ultimately granted.

     11                   BY MS. BOLLINI:

     12              Q    Do you know when Ms. Pridgen first

     13   requested a quieter work space?

     14              A    I think it was several months after --

     15   or I forget the exact -- it was after she came back in

     16   May of 2013.    I don't know exactly when.

     17              Q    Do you know how long after Ms. Pridgen

     18   requested a quieter work space the agency granted that

     19   request?

     20              A    I think it was several months, but I

     21   think part of the issue was that work space was

     22   provided to accommodate an earlier request in terms of
Case 1:25-cv-02314-MAU    Document 1     Filed 07/17/25    Page 127 of 228



                                                                             63



      1   proximity to the restroom.

      2             Q     What, if anything, did the agency do to

      3   determine whether Ms. Pridgen's request for a quieter

      4   work space was a legitimate request?

      5                           MR. FAMUYIWA:    Objection.   Can you

      6   reference a time frame?

      7                           MS. BOLLINI:    No.   Thank you.

      8                           MR. FAMUYIWA:    Okay.   Objection.

      9   Vague.

     10                           THE WITNESS:    Can you restate

     11   that, please.

     12                   BY MS. BOLLINI:

     13             Q     Sure.

     14                   Are you aware what, if anything, the

     15   agency did to determine whether Ms. Pridgen's request

     16   for a quieter work space was a legitimate request for

     17   an accommodation?

     18             A     I think the first issue was satisfying

     19   the prior request for proximity to the washroom.           The

     20   second issue was to examine who else was in that -- or

     21   to understand, I should say, who else was in that work

     22   space and to look at their productivity -- or let me
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 128 of 228



                                                                          64



      1   back up.

      2                   To consider how they would be able

      3   to -- how other employees would be able to function in

      4   that same space.

      5              Q    How, if at all, were you involved in

      6   responding to Ms. Pridgen's request for a work space

      7   closer to the bathroom?

      8                        MR. FAMUYIWA:    Objection.   Asked

      9   and answered.

     10                        MS. BOLLINI:    It's not.

     11                        THE WITNESS:    I'm not sure I

     12   understand the time frame that you're referring to.

     13                   BY MS. BOLLINI:

     14              Q    Sure.

     15                   At any time, how, if at all, were you

     16   involved in responding to Ms. Pridgen's request to

     17   have a work space closer to the bathroom?

     18              A    We supported that request.

     19              Q    And what input, if any, did you provide

     20   into the agency's response or the agency's

     21   consideration of the request for accommodation?

     22                        MR. FAMUYIWA:    Objection.   Vague.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 129 of 228



                                                                          65



      1   Can you explain what "input" means?

      2                        MS. BOLLINI:    Standard definition.

      3                        MR. FAMUYIWA:    Okay.

      4                        THE WITNESS:    I'm not sure when

      5   the decision was made to grant her work space closer

      6   to the restroom, but we supported it.

      7                   BY MS. BOLLINI:

      8              Q    Were you involved at all in responding

      9   to Ms. Pridgen's request for a work space closer to

     10   the bathroom?

     11                        MR. FAMUYIWA:    Objection.   Asked

     12   and answered.

     13                        THE WITNESS:    I'm with him on this

     14   one.

     15                   BY MS. BOLLINI:

     16              Q    Okay.   I don't know if you were

     17   involved at all in responding to that request.

     18              A    We supported it.    I -- you know, HR and

     19   MOD got involved in the specifics.     We granted the

     20   request.

     21              Q    But I wanted to know you, as deputy

     22   controller or whatever role you were playing, did you
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25    Page 130 of 228



                                                                           66



      1   have any input into responding to Ms. Pridgen's

      2   request to have a work space closer to the bathroom?

      3                         MR. FAMUYIWA:    Objection.   Asked

      4   and answered.   Do you want him to explain what he

      5   means when he says "we supported it"?      Is that what

      6   you want him to explain?

      7                         MS. BOLLINI:    My original question

      8   actually stands.

      9                         MR. FAMUYIWA:    Okay.   Objection.

     10   Asked and answered.

     11                         THE WITNESS:    I'm having trouble

     12   following it.

     13                   BY MS. BOLLINI:

     14             Q     Sure.

     15             A     Again, we granted the request.      I am

     16   not sure what you're asking beyond that.

     17             Q     Sure.

     18                   Did anybody ever ask you whether or not

     19   the agency should grant that request?

     20             A     I believe that HR recommended that we

     21   grant the request, and we accepted the recommendation.

     22             Q     When you say "we," who are you
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 131 of 228



                                                                          67



      1   referring to?

      2             A     I believe it was myself, perhaps the

      3   branch chief.

      4             Q     And would that be Karen Lee?

      5             A     Yes.

      6             Q     And did you have the authority to deny

      7   the request for -- Ms. Pridgen's request for a work

      8   space closer to the bathroom?

      9             A     I'm not sure, quite frankly.     Again, on

     10   issues like that, I would defer to HR and the

     11   management and operations division.

     12             Q     I'd like to go back to Ms. Pridgen's

     13   request for a quieter work space.

     14                   How did that request come to your

     15   attention?

     16             A     I believe I was informed by either

     17   Karen Lee and/or Lauren Wright.

     18             Q     What does -- what was the first

     19   discussion, if any, you had with Karen Lee,

     20   Lauren Wright or anyone after you first learned about

     21   Ms. Pridgen's request for a quieter work space?

     22             A     I think it came down to how do you balance
Case 1:25-cv-02314-MAU    Document 1     Filed 07/17/25   Page 132 of 228



                                                                            68



      1   multiple requests, where first there was a request to

      2   be near the restroom, but then there was also a

      3   request to have quiet, individual space.        And our

      4   options -- or if you look at the footprint of the New

      5   Executive Office Building on the sixth floor, the

      6   options are quite limited.

      7               Q   What discussions did you have with

      8   anyone about how to balance those multiple requests

      9   for Ms. Pridgen?

     10               A   From what I recall, I think the

     11   conversation focused on making sure that the employee

     12   had an environment in which she could succeed.

     13   Ultimately the decision was made to retrofit another

     14   space to be able to accommodate the employee.        I don't

     15   believe a space was being used as office space before,

     16   maybe it was a conference room or something.        I don't

     17   remember the specifics.      But there was a significant

     18   effort made on the part of OMB to accommodate the

     19   employee.    But it wasn't easy in terms of mechanics of

     20   having to do that -- of doing that.

     21               Q   I'd like to go back to the issue of the

     22   agency's question of whether Ms. Pridgen's request for
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 133 of 228



                                                                           69



      1   a quieter work space was a legitimate request for an

      2   accommodation.

      3                    You mentioned that the agency had to

      4   consider how other employees were able to function in

      5   the same space; is that accurate?

      6             A      Uh-huh.

      7             Q      Can you explain what you mean by that?

      8             A      There were other employees in that

      9   suite.

     10             Q      And is this the suite that Ms. Pridgen

     11   did not find to be quiet enough?      Is that your

     12   understanding?

     13             A      Yes.

     14             Q      How did the agency consider whether

     15   other employees were able to -- or how did the agency

     16   determine whether other employees were able to

     17   function in the same space?

     18             A      I think it was looking to see if there

     19   were similar complaints from other employees.

     20             Q      How did the agency determine whether

     21   there were similar complaints from other employees in

     22   the same work space?
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 134 of 228



                                                                          70



      1             A    I think that they would have heard from

      2   their supervisors.

      3             Q    Do you know whether there were similar

      4   complaints from other employees in the same work

      5   space?

      6             A    I do not believe that was the case.

      7             Q    And why was it relevant to the agency

      8   whether other employees in the same work space had

      9   lodged similar complaints?    I mean, how was it

     10   relevant to the agency's determination of whether

     11   Ms. Pridgen's request for quieter work space was

     12   legitimate?

     13             A    If we were hearing from multiple

     14   employees that there was a problem in that suite, that

     15   would have reinforced the request, the legitimacy of

     16   the request.

     17             Q    Are you aware of what job duties the

     18   other employees in the -- in that work space

     19   performed?

     20             A    I believe they were in the budget

     21   review division of OMB.

     22             Q    Do you know whether those were GS-15
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 135 of 228



                                                                         71



      1   employees?

      2             A    I do not know their grade level.

      3             Q    Are you aware of what type of work

      4   space Ms. Pridgen worked in prior to her being in the

      5   shared work space that was not quiet enough for her?

      6             A    I don't know the specifics of what

      7   office Ms. Pridgen occupied.   I am familiar in general

      8   in terms of OFFM employees and the office space that

      9   they occupy.

     10             Q    And can you describe what type of

     11   office space other GS-15 policy analysts in OFFM

     12   worked in?

     13             A    I believe it either would be single

     14   offices or shared space, particularly if they were on

     15   detail, but if the request was to have proximity to

     16   the restroom, then that suite was what was available

     17   in terms of work space.

     18             Q    Did Ms. Pridgen ever identify any

     19   alternative work space that she thought would have

     20   been appropriate as a reasonable accommodation when

     21   she was seeking a quieter work space?

     22             A    She may have.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 136 of 228



                                                                          72



      1             Q     Are you aware of any?

      2             A     Not aware of a lot of the specifics,

      3   but she may have identified other potential space.

      4             Q     Other than considering how other

      5   employees were able to function in that shared work

      6   space, what else, if anything, are you aware of the

      7   agency having done to determine whether Ms. Pridgen's

      8   request for a quieter work space was a legitimate

      9   request for reasonable accommodation?

     10             A     Can you repeat that?

     11             Q     Sure.

     12                        MS. BOLLINI:    Could you read that

     13   back, please.

     14                   (The record was read as requested.)

     15                        THE WITNESS:    I think it comes

     16   back to what I said before, and that is you had

     17   multiple requests for accommodation, and one of which

     18   is proximity to the restroom, and that limited your

     19   options in terms of what you would be able to do.

     20                   BY MS. BOLLINI:

     21             Q     I'd like to go back to the question of

     22   legitimacy of request for a reasonable accommodation.
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 137 of 228



                                                                           73



      1                   Can you describe to me what -- why

      2   there was a question of whether Ms. Pridgen's request

      3   for a quieter work space was a legitimate request or

      4   not?

      5             A     I think any time you get a request you

      6   have to do your due diligence to understand whether

      7   it's a legitimate request regardless of who's posing

      8   that request.

      9             Q     Were there any reasons that you -- that

     10   you're aware of that the agency thought the --

     11   Ms. Pridgen's request was not a legitimate request for

     12   a reasonable accommodation?

     13                         MR. FAMUYIWA:    Objection.   You're

     14   mischaracterizing the statement of the witness.

     15                   BY MS. BOLLINI:

     16             Q     You may answer.

     17             A     Again, as I said before, any time you

     18   get a request for an accommodation, it's the

     19   responsibility of management to make sure it's a

     20   reasonable request.

     21             Q     Sure.

     22             A     And that there is a need.
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 138 of 228



                                                                           74



      1             Q    Did anyone ever discuss with you -- or

      2   did anyone ever tell you that they thought

      3   Ms. Pridgen's request for a quieter work space was not

      4   a legitimate request for reasonable accommodation?

      5             A    I'm not sure I understandthe question.

      6   Can you rephrase it, please?

      7             Q    I don't know that I can rephrase it.

      8                       MS. BOLLINI:      Could you read that,

      9   please.

     10                  (The record was read as requested.).

     11                  BY MS. BOLLINI:

     12             Q    I can rephrase it just by saying did

     13   anyone ever tell you they thought Ms. Pridgen's

     14   request for a quieter work space was not a legitimate

     15   request for a reasonable accommodation?

     16             A    I think there was a concern about the

     17   multitude of requests.

     18             Q    Who had that concern?

     19             A    I believe that HR had that concern.

     20             Q    Anyone else?

     21             A    I believe that within OFFM, we also had

     22   that same observation about the multitude of requests.
Case 1:25-cv-02314-MAU     Document 1     Filed 07/17/25   Page 139 of 228



                                                                             75



      1             Q      Who, if anyone, in -- who, if anyone,

      2   in HR told you that they had a concern about

      3   Ms. Pridgen having submitted multiple requests for a

      4   reasonable accommodation?

      5             A      I think in conversations with

      6   Lauren Wright.

      7             Q      Anyone else?

      8             A      I believe that's where the primary

      9   conversations were.

     10             Q      You said we and OFFM also had concerns.

     11                    Can you explain who "we" is?

     12             A      Ms. Lee had concerns about the

     13   multitude of requests, as did I.

     14             Q      What discussions, if any, did you have

     15   with Ms. Lee about the -- about the multitude of

     16   requests that Ms. Pridgen submitted for reasonable

     17   accommodation?

     18             A      I think we wanted to make sure at the

     19   end of the day that we had given the employee every

     20   opportunity to succeed, and that includes the physical

     21   work environment.

     22             Q      What conversations, if any, did you
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 140 of 228



                                                                           76



      1   have with Ms. Lee about the multitude of requests that

      2   Ms. Pridgen had submitted?

      3             A    I think there was -- again, just an

      4   observation that there seemed to be so many requests

      5   coming from one individual.     But at the end of the

      6   day, we wanted to make sure that all of the employees,

      7   including this individual, had a work environment

      8   where they could succeed.

      9             Q    What concerns, if any, did you have

     10   about the number of requests of -- that Ms. Pridgen

     11   had submitted for reasonable accommodation?

     12             A    I guess what I observed was that the

     13   Office of Management and Budget was going to great

     14   lengths to accommodate these requests, and there

     15   seemed to be more and more requests.

     16             Q    And how, if at all, was it a problem

     17   that there were more and more requests?

     18             A    You would want to make sure that you

     19   treat all of your employees the same way, and that all

     20   of the employees have an opportunity to succeed.

     21   These requests seemed to be excuses for not meeting

     22   performance expectations.
Case 1:25-cv-02314-MAU    Document 1     Filed 07/17/25    Page 141 of 228



                                                                             77



      1               Q   Which of Ms. Pridgen's requests for

      2   reasonable accommodations seemed to be excuses for not

      3   meeting performance expectations?

      4               A   I would say the quietness of the work

      5   space.    I know that that was identified as a reason

      6   for not being able to perform.      I know that there were

      7   issues related to Dragon Speak or the ability to type

      8   as also hindering performance.      And again, what we

      9   wanted to be able to do was, is if there were issues

     10   being identified, we wanted to resolve those issues.

     11                           THE WITNESS:    Can we take a break?

     12                           MR. FAMUYIWA:    Sure.

     13                           MS. BOLLINI:    That's fine.

     14                   (A brief recess was taken.)

     15                   BY MS. BOLLINI:

     16              Q    At any time during your tenure at OMB,

     17   did you discuss with anyone any concerns that

     18   Ms. Pridgen may harm any agency employees?

     19                           MR. FAMUYIWA:    Can you repeat

     20   that?    Agency harm?

     21                           MS. BOLLINI:    Yes.

     22                           MR. FAMUYIWA:    Objection.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 142 of 228



                                                                          78



      1                        THE WITNESS:    The conversation

      2   around threat focused on the original threats that

      3   were made and that were evaluated by the Secret

      4   Service.

      5                   BY MS. BOLLINI:

      6               Q   At any time after Ms. Pridgen returned

      7   from administrative leave, did you ever discuss with

      8   any agency employee any concerns that Ms. Pridgen may

      9   harm anyone at the agency?

     10               A   No, I don't believe so.

     11               Q   Okay.

     12               A   But I do know that when we were

     13   considering taking a personnel action, we wanted to

     14   make sure that there was no potential for any

     15   incident.

     16               Q   And what personnel action are you

     17   referring to?

     18               A   I think after we had gone through the

     19   performance period, after we had gone through the PIP

     20   period, when it became clearer that there would be a

     21   removal from the position, we wanted to make sure that

     22   when the employee was notified, that there would be no
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 143 of 228



                                                                          79



      1   potential for incident.

      2               Q   With whom did you discuss that

      3   potential for an incident when notifying Ms. Pridgen

      4   of her removal?

      5               A   I don't think there was a lot of

      6   conversation.   I think it would have been with HR.

      7   And again, I think that is a standard issue that you

      8   consider any time you take a personnel action.

      9               Q   Had you ever discussed that issue at

     10   any point in any of the federal positions that you've

     11   held, potential that an employee may harm any agency

     12   employee upon learning of a personnel action?

     13               A   Yeah.   Again, in the course of HR, any

     14   time you're taking a potential action, you want to

     15   kind of consider the reaction of the employee.      And

     16   again, it's something that often comes into the

     17   conversation regardless of who the employee is.

     18               Q   So you've had a similar conversation --

     19               A   In the District of Columbia.

     20               Q   -- at any other time?

     21               A   For example, in the District of

     22   Columbia.
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 144 of 228



                                                                          80



      1               Q   What was the substance of the

      2   conversation with HR on potential that Ms. Pridgen may

      3   harm an agency employee upon learning of a personnel

      4   action?

      5               A   Again, I don't want to characterize it

      6   as that.    I think it's just part of a standard

      7   conversation in terms of any employee, what would

      8   their reaction be and how do you -- you know, how

      9   would you react if there were an incident.      So it

     10   really is more kind of just preparing for potential

     11   reaction as opposed to assuming that there would be

     12   one.

     13               Q   What preparations, if any, did you

     14   discuss with HR for a potential reaction for

     15   Ms. Pridgen?

     16               A   From what I recall, and I don't recall

     17   a lot of specifics, I think it was just a notification

     18   of security that there would be a discussion with the

     19   employee.

     20               Q   I'd like to go back to Ms. Pridgen's

     21   request for a reasonable accommodation.

     22                   At any time during your tenure with
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 145 of 228



                                                                          81



      1   OMB, did you discuss with HR or any other managers

      2   whether any request submitted by any other employees

      3   for reasonable accommodation were legitimate?

      4               A    I'm not sure that we saw a lot of other

      5   requests.

      6               Q    Do you recall -- without identifying

      7   specifics, do you recall having considered any

      8   requests from any employees other than Ms. Pridgen

      9   while you were at OMB?

     10               A    I don't remember a lot of other

     11   requests.    I'm just racking my brain trying to think

     12   of some examples.    And I know that there was a person

     13   on detail who brought a special chair, for example.

     14   I'm trying to think if there were others beyond that.

     15               Q    When, if ever, did you have to provide

     16   any information to the agency's EEO office in relation

     17   to any of Ms. Pridgen's EEO complaints?

     18               A    Whether I had to personally?

     19               Q    Yes.

     20               A    I don't believe I ever handled that

     21   directly.

     22               Q    Other than the discussions you had with
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 146 of 228



                                                                           82



      1   the -- Lauren Wright prior to Ms. Pridgen returning to

      2   the agency after administrative -- or yeah, returning

      3   from administrative leave to the agency.       So other

      4   than any discussions you had with Ms. Wright about

      5   Ms. Pridgen's EEO complaints, did you ever have any

      6   other discussions with any agency employees about

      7   Ms. Pridgen's EEO complaints?

      8             A      I think it was largely with

      9   Lauren Wright.    It may have come up in a conversation

     10   with Karen Lee, but it was -- my conversations with

     11   Karen Lee really were focused more in terms of the

     12   current workload.    So I think those conversations

     13   about prior EEO complaints came up in the context of

     14   discussions with Lauren Wright.     And then, you know, I

     15   believe that counsel was also involved in those

     16   discussions or some of them.

     17             Q      After Ms. Pridgen returned to the

     18   agency from administrative leave, did you have any

     19   conversations with Ms. Wright, or can you describe any

     20   conversations you had with Ms. Wright about

     21   Ms. Pridgen's EEO activity?     And again, without -- any

     22   conversations without the involvement of counsel.
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 147 of 228



                                                                           83



      1               A   I'm sorry say that -- go through that

      2   one again.

      3               Q   Okay.    So talking about the time

      4   period, of course after Ms. Pridgen's back from

      5   administrative leave.     You mentioned that you had some

      6   conversations with Ms. Wright about Ms. Pridgen's EEO

      7   activity?

      8               A   Prior EEO complaints, yes.

      9               Q   Prior EEO activity, okay.

     10                   And you said that some of those

     11   counsel -- counsel was involved in some of those

     12   conversations you had with Ms. Wright; is that

     13   correct?

     14               A   Yes.    I just want to make sure I

     15   understand your question in terms of -- the

     16   conversations went beyond just -- in those

     17   conversations where Lauren was sharing information on

     18   EEO complaints, it was a broader conversation.       It

     19   wasn't just, okay, let's talk about this EEO thing.        I

     20   think it was part of a broader conversation.

     21               Q   I'd like to talk to you about those

     22   broader conversations you had, if any, without
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25    Page 148 of 228



                                                                            84



      1   counsel.

      2              A     Without counsel?

      3              Q     Right.

      4              A     Most of them had counsel in them.

      5              Q     Do you recall if any did not?

      6              A     About the EEO complaint or about other

      7   stuff?

      8              Q     I'd like to focus first on any that --

      9   in which the EEO complaint was discussed.

     10              A     I don't think there were a lot of

     11   conversations about the EEO complaint.         Again, I think

     12   part of it was just kind of reading me into what had

     13   taken place before I took the position.        But beyond

     14   that, I don't think there were a lot of conversations.

     15              Q     Are you aware of whether Ms. Pridgen

     16   requested a telework arrangement as a reasonable

     17   accommodation?

     18              A     When would that have been?

     19              Q     I can't give you a date.      I just don't

     20   know.

     21                    Were you aware of any request?

     22                         MR. FAMUYIWA:    Objection.    Vague.
Case 1:25-cv-02314-MAU    Document 1     Filed 07/17/25   Page 149 of 228



                                                                            85



      1   Maybe you can clarify the time frame.

      2                           THE WITNESS:   Can you clarify the

      3   time?

      4                   BY MS. BOLLINI:

      5             Q     I can't.     I just want to know if you're

      6   aware of Ms. Pridgen having requested any during your

      7   tenure.

      8             A     She may have.

      9             Q     Are you aware of whether Ms. Pridgen

     10   requested a flexible work schedule or alternative work

     11   schedule at any time during your tenure?

     12             A     Again, she may have.

     13             Q     Just to clarify, were you involved --

     14   do you recall having been involved in any way in

     15   responding to a request from Ms. Pridgen for a

     16   flexible work schedule as a reasonable accommodation?

     17             A     Can you repeat the question?

     18             Q     Sure.

     19                           MS. BOLLINI:   Could you read that

     20   back, please.

     21                   (The record was read as requested.).

     22                           THE WITNESS:   She may have.   She
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 150 of 228



                                                                          86



      1   may have requested it.

      2                         In terms of my involvement, I

      3   would, first and foremost, defer to a recommendation

      4   from the supervisor.    And again, I'm not recalling a

      5   lot of the conversation around this, but it would be

      6   based on what the supervisor would be recommending,

      7   and then the conversation would go from there.

      8                  BY MS. BOLLINI:

      9             Q    Are you familiar with FAPIIS?      That's

     10   F-A-P-I-I-S.

     11             A    Yes.    I have some recollection of

     12   FAPIIS.

     13             Q    Are you aware of Ms. Pridgen having

     14   voiced concerns at any time about OMB failing to

     15   implement the FAPIIS rule as statutorily required by

     16   the National Defense Authorization Act?

     17             A    I remember conversations with Karen Lee

     18   about the need to implement FAPIIS.

     19             Q    When did you have those conversations

     20   with Ms. Lee about the need to implement FAPIIS?

     21             A    It was sometime during my tenure.      I

     22   can't remember the exact month or day.
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 151 of 228



                                                                           87



      1              Q    Are you aware of whether OMB

      2   implemented the FAPIIS fraud disclosure rule prior to

      3   the end of your tenure?

      4              A    I'm not sure it was implemented.      I

      5   know that there was a movement afoot to implement

      6   it.   I know that Ms. Lee wanted to see it implemented.

      7              Q    Did Ms. Lee ever discuss with you

      8   Ms. Pridgen having voiced concerns to her that OMB had

      9   not yet implemented FAPIIS?

     10              A    No.   I think the conversation that I

     11   had with Ms. Lee was about Ms. Pridgen's lack of

     12   coordination with other employees in order to

     13   implement FAPIIS.

     14              Q    Did Ms. Lee ever tell you that

     15   Ms. Pridgen had reported to any outside agencies any

     16   concerns that OMB had failed to implement FAPIIS?

     17              A    I don't remember.     I don't recall that

     18   discussion.    Again, the conversations that we had with

     19   Karen Lee were about how Ms. Pridgen was not

     20   coordinating with other parts of OMB on supporting the

     21   implementation.

     22              Q    Did Ms. -- did Ms. Lee ever discuss
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 152 of 228



                                                                         88



      1   with you Ms. Pridgen having reported to the IG that

      2   the OMB had failed to implement FAPIIS?

      3             A    I don't recall that conversation.

      4             Q    During your tenure, did -- are you

      5   aware of any pressure from any outside agencies or

      6   entities for OMB to implement FAPIIS?

      7             A    I think we understood that there was a

      8   need to implement FAPIIS, and the question is, you

      9   know, again it comes back to how well we were

     10   coordinating or how well Ms. Pridgen was coordinating

     11   with her colleagues within OMB.

     12             Q    Are you aware of when the statutory

     13   requirement for implementation of FAPIIS came into

     14   effect?

     15             A    I'm not aware of the specific statutory

     16   deadline, but from what I understand, it was very time

     17   sensitive, and there was a need to implement it sooner

     18   rather than later.

     19             Q    Are you aware that the statutory

     20   requirement came into effect -- or the statutory

     21   requirement to implement FAPIIS came into effect in

     22   2010?
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 153 of 228



                                                                          89



      1             A    That seems to be from -- you know, that

      2   would seem to be correct.

      3             Q    When, if ever, did you discuss with --

      4   or let me rephrase that.

      5                  What discussions, if any, did you have

      6   with Ms. Lee as to why the OMB had not implemented

      7   FAPIIS between 2010 and the end of your tenure?

      8                         MR. FAMUYIWA:   Objection.   Lack of

      9   foundation.

     10                  BY MS. BOLLINI:

     11             Q    You can answer.

     12             A    Can you rephrase the question?

     13             Q    Sure.

     14                  I just wanted to know if you and

     15   Ms. Lee ever discussed why the agency had not

     16   implemented FAPIIS.    Let me rephrase that.

     17                  Other than any discussions relating to

     18   Ms. Pridgen's role in the implementation of FAPIIS,

     19   did you have any discussions with Ms. Lee about other

     20   reasons that the agency had not implemented FAPIIS?

     21             A    I think there was less discussion about

     22   what may have happened in the past and more discussion
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 154 of 228



                                                                         90



      1   about the need to implement now.

      2             Q    Are you familiar with implement grants

      3   reform?

      4              A   Yes.

      5              Q   When, if ever, did you learn that

      6   Ms. Pridgen had contacted the GAO regarding OMB's

      7   issues with implement grants reform?

      8              A   I'm not sure that I knew until right

      9   now.   I know that there was some discussion about

     10   training in workforce development, but I did not know

     11   that Ms. Pridgen had contacted GAO about the larger

     12   grants management reform effort.

     13              Q   Did Ms. Lee ever discuss with you any

     14   concerns that Ms. Pridgen's communications with

     15   outside agencies or entities were inappropriate in any

     16   way?

     17              A   I don't believe so.    I think there was

     18   a concern about maybe a lack of communication with

     19   outside entities, particularly as it related to the

     20   workforce development effort and the spending

     21   transparency effort.

     22                  I don't recall conversations in terms
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 155 of 228



                                                                         91



      1   of a lot of inappropriate contact.

      2             Q    Do you recall any discussions with

      3   Ms. Pridgen having inappropriate contact with outside

      4   agencies or entities?

      5             A    I honestly don't recall.

      6             Q    Are you aware of Ms. Pridgen having

      7   objected to any aspect of the performance plan that

      8   the agency established for her when she returned from

      9   administrative leave?

     10             A    I know that she did not sign it.

     11             Q    What's your understanding as to why she

     12   did not sign it?

     13             A    I can't speculate in terms of what she

     14   may have been thinking.

     15             Q    Did Ms. Lee give you any information

     16   about any objections Ms. Pridgen had to the 90-day

     17   performance plan?

     18             A    I think Ms. Lee may have characterized

     19   some discussions with Ms. Pridgen about the nature of

     20   the deliverables and the timing.

     21             Q    What do you mean by characterized

     22   discussions?
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 156 of 228



                                                                           92



      1             A    She may have shared some concerns that

      2   Marguerite may have shared with her.

      3             Q    And what were those concerns?

      4             A    I think as I said before, it really is

      5   the nature of the deliverables and the timing.

      6   Perhaps, in Marguerite's eyes, being unreasonable, but

      7   in OMB's eyes and having gone through review with HR,

      8   being deemed reasonable given what you would expect in

      9   other GS-15 employees.

     10             Q    Did you play any part in determining

     11   whether or not the nature of deliverables and the

     12   timing for those deliverables in Ms. Pridgen's 90-day

     13   performance plan were reasonable?

     14             A    My focus was on maintaining making sure

     15   that Karen was engaging with HR on this to make sure

     16   that we're being consistent across all of the

     17   employees, and to make sure that the performance

     18   expectations being set were reasonable for someone

     19   working at the GS-15 level.

     20             Q    How, if at all, did you determine

     21   whether performance expectations that were set were

     22   reasonable for someone performing at the GS-15 level?
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 157 of 228



                                                                         93



      1             A    That's where you rely upon HR to help

      2   provide counsel and guidance on this.

      3             Q    Did you provide input into any

      4   discussions on whether the performance expectations

      5   set for Ms. Pridgen were reasonable for a GS-15?

      6             A    I would rely largely upon others to do

      7   that, folks that have a far more understanding in

      8   terms of what you would expect of a GS-15.     Again,

      9   that's where you rely upon HR.    So I would rely upon

     10   the branch chief, rely upon HR.    The branch chief

     11   makes a determination of workload relative to other

     12   employees working at that level, and then HR also

     13   weighs in on that discussion.

     14             Q    Do you know who in HR was involved in

     15   that discussion?

     16             A    Probably Lauren Wright and Felica -- I

     17   forget her -- Peoples.   I know that they were involved

     18   in working with Karen on this.

     19             Q    When was the first time that you

     20   discussed with Karen Lee Ms. Pridgen's performance?

     21             A    I think it was during the course of the

     22   initial performance plan that had been set and how
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 158 of 228



                                                                         94



      1   Ms. Pridgen was doing in terms of executing against

      2   that plan.

      3             Q    What did Ms. Lee tell you about how

      4   Ms. Pridgen was doing?

      5             A    I think it was a fairly unfavorable

      6   assessment based on what she was seeing along the way.

      7             Q    What, in particular, did Ms. Lee assess

      8   unfavorably with respect to Ms. Pridgen's performance

      9   during the initial performance plan?

     10             A    I think there was some concern about

     11   timeliness of work product; I think there was some

     12   concern about participation in meetings or lack of

     13   participation in meetings; and I think there may have

     14   been some concern about quality of the work product.

     15   And whether that was during the initial period or

     16   during the subsequent period, I'm not sure exactly

     17   when, but I think in general those were the concerns

     18   that were being shared with me.

     19             Q    Did you solicit Ms. Lee's assessment of

     20   Ms. Pridgen's work the first time she talked to you

     21   about these issues?

     22             A    What do you mean by that?
Case 1:25-cv-02314-MAU   Document 1    Filed 07/17/25   Page 159 of 228



                                                                          95



      1             Q    Sure.

      2                  I'm just trying to understand, you

      3   know, why Ms. Lee came to you or why Ms. Lee shared

      4   with you her assessment.

      5             A    If you've got an employee who's not

      6   performing, I think it's incumbent upon the supervisor

      7   to say something.

      8             Q    And how, if at all, did you get

      9   involved in addressing any of Ms. Lee's concerns about

     10   Ms. Pridgen's performance during that initial 90-day

     11   performance planning period?

     12             A    Can you repeat the question?      I'm not

     13   sure I'm following.

     14             Q    Sure.

     15                  How, if at all, were you involved in

     16   addressing any of Ms. Lee's concerns about

     17   Ms. Pridgen's performance?

     18             A    What do you mean by "addressing"?

     19             Q    Did you do anything in any way in

     20   response to Ms. Lee's stated concerns?

     21             A    I think the first piece of guidance was

     22   to work with HR on this.    If Karen were seeing issues
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 160 of 228



                                                                           96



      1   in terms of Ms. Pridgen's performance, what guidance

      2   and counsel would HR have on this question.

      3             Q      And did you directly provide Ms. Lee

      4   with any guidance as to how to address any concerns

      5   she had about Ms. Pridgen's performance during that

      6   initial performance plan?

      7             A      I think the larger guidance I had was

      8   to make sure that we're following proper HR policy and

      9   protocol and procedure.

     10             Q      Were you aware of Ms. Lee and

     11   Ms. Pridgen having had any difficulties in

     12   communicating?

     13             A      Yes.   And I understand that we had

     14   asked Felica from HR to participate in the weekly

     15   meetings in order to help facilitate communication.

     16             Q      When did it first come to your

     17   attention that Ms. Lee and Ms. Pridgen were having

     18   difficulties communicating?

     19             A      I think a couple months after

     20   Ms. Pridgen came back to OMB.     I don't recall the

     21   exact timing, but ...

     22             Q      And how did it come to your attention?
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25    Page 161 of 228



                                                                           97



      1             A     I think there were differences in terms

      2   of what was being said or that were being reported

      3   that were coming to my attention.     And in

      4   conversations with HR, it seemed that the best

      5   approach would be to have a third party in the

      6   discussions and -- the regular discussions between

      7   Ms. Lee and Ms. Pridgen.

      8             Q     Can you explain what you mean by

      9   differences in what was being said?

     10             A     I think Ms. Pridgen would have

     11   characterized situations one way, and Ms. Lee would

     12   have characterized them another way.

     13             Q     What types of situations are you

     14   referring to?

     15             A     I think conversations about

     16   expectations and the plan ahead and next steps and the

     17   timing of what and when.

     18             Q     Just to clarify my earlier question.

     19                   How did it come to your attention that

     20   there were differences in what was being said?       What

     21   evidence -- did Ms. Lee complain to you?       Were you

     22   copied on communications?
Case 1:25-cv-02314-MAU   Document 1     Filed 07/17/25   Page 162 of 228



                                                                           98



      1             A    I think I may have been copied on

      2   communications.   Ms. Lee may have also shared some of

      3   the discussions as well.

      4             Q    I'd like to talk to you about your

      5   interaction with Ms. Lee, your role as -- in any

      6   position that you held.     I know that you changed from

      7   deputy controller to interim and acting.

      8                  How frequently did you meet with

      9   Ms. Lee in the course of your work at OMB?

     10             A    There were regular team meetings on

     11   different issues, but then I would have one-on-ones

     12   with each of my branch chiefs.     I tried to get onto a

     13   weekly cadence.   Sometimes we didn't quite stick to

     14   that.   And then we would have OFFM leadership meetings

     15   where it would be myself, the two branch chiefs and

     16   the senior advisor.

     17             Q    You mentioned team meetings first.

     18                  Can you tell me who was part of the

     19   team?

     20             A    Like if there was a specific issue

     21   we're talking about, whether it's grants reform or

     22   improper payments or real property, we would have the
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 163 of 228



                                                                          99



      1   team who was working that issue sit down with me to

      2   discuss the issue at hand or latest status on project

      3   activity.

      4               Q   Did Ms. Lee ever tell you that she was

      5   angry about anything that Ms. Pridgen had done?

      6               A   I think there was a sense of

      7   frustration at times in terms of what she deemed --

      8   what she saw as lack of performance.

      9               Q   Did Ms. Lee ever voice any frustration

     10   to you about Ms. Pridgen having submitted a request

     11   for reasonable accommodation?

     12               A   Can you repeat the question?

     13               Q   Sure.

     14                   Did Ms. Lee ever voice to you any

     15   frustration about Ms. Pridgen having submitted

     16   requests for reasonable accommodation?

     17               A   I think there was a concern that the

     18   multitude of requests were being used as reasons not

     19   to meet performance expectations.

     20               Q   Did Ms. Lee ever voice to you any

     21   concerns about Ms. Pridgen's conduct?

     22               A   I think there was an HR process
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 164 of 228



                                                                           100



      1   question where a letter of reprimand was being

      2   considered, and I wanted to make sure that we were

      3   being clear in terms of performance versus conduct.

      4   And from what I recall, there was no letter of

      5   reprimand because we were not seeing any issues of

      6   conduct that merited a letter of reprimand.

      7             Q     Did Ms. Lee ever voice to you any

      8   concerns about any issues of conduct?

      9             A     I think there were -- there were

     10   questions about attendance.     I'm not sure if that

     11   falls into a conduct issue.     I know that there were

     12   significant concerns about attendance and being on

     13   time for meetings.

     14             Q     Did Ms. Lee ever discuss with you

     15   taking any action to address any concerns about Ms. --

     16   any concerns she had about Ms. Pridgen's conduct?

     17                        MR. FAMUYIWA:     Objection.   Asked

     18   and answered.

     19                   BY MS. BOLLINI:

     20             Q     You may --

     21             A     I don't think we were seeing any

     22   conduct issues that merited management action.
Case 1:25-cv-02314-MAU    Document 1     Filed 07/17/25   Page 165 of 228



                                                                            101



      1             Q     But did Ms. Lee ever bring to you a

      2   question about whether to take any management action

      3   based on Ms. Pridgen's conduct?

      4                         MR. FAMUYIWA:     Objection.   Asked

      5   and answered.

      6                         THE WITNESS:     I'm with him on

      7   this.   I've answered the question.

      8                   BY MS. BOLLINI:

      9             Q     No.   No.    I just -- I don't know

     10   whether she ever asked you whether --

     11             A     I explained before that there was a

     12   question about a potential letter of reprimand, and I

     13   wanted to make sure we were distinguishing between

     14   conduct and performance.     And I think after that

     15   clarification, Ms. Lee understood that we weren't

     16   seeing conduct issues, we were seeing performance

     17   issues that merited action.

     18             Q     Sure.

     19                   And I'm just -- I mean, you talked

     20   about conduct issues that merited action.        So I'm

     21   wondering whether there were any other conduct issues

     22   other than, you know, you mentioned be on time for
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 166 of 228



                                                                           102



      1   meetings.    Did you ever discuss whether anything

      2   merited action?

      3                          MR. FAMUYIWA:    Well, objection.

      4   You said that he said that there was conduct issues

      5   that merited action.    He never said that.     So I just

      6   object on that point.

      7                          MS. BOLLINI:    Sure.

      8                   BY MS. BOLLINI:

      9               Q   I'm wondering whether there were any

     10   that you discussed.

     11               A   Were there -- can you rephrase your

     12   question?

     13               Q   Sure.

     14                   Did you ever discuss whether any

     15   conduct issues Ms. Lee identified merited any

     16   management action?

     17               A   How would you characterize conduct

     18   action or issues?

     19               Q   Let me ask you that question.      How

     20   would you characterize a conduct action?

     21               A   But what do you mean when you're posing

     22   it?
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 167 of 228



                                                                           103



      1                         MR. FAMUYIWA:    Objection.   You've

      2   mischaracterized the witness's statement, and it's

      3   already asked and answered.

      4                         MS. BOLLINI:    I'm not sure which

      5   question you're objecting to at this point.

      6                         MR. FAMUYIWA:    I can explain it.

      7                         You said that he said that -- you

      8   said that he said that Ms. Karen Lee said that there

      9   were conduct issues.    He did not say that.     So to that

     10   extent, I'm objecting because you're mischaracterizing

     11   what he said with respect to what Ms. Karen said.       And

     12   the second part of the objection is asked and

     13   answered.

     14                    BY MS. BOLLINI:

     15               Q    Just to clarify, did you, at any time,

     16   consider whether Ms. Pridgen's attendance was a

     17   conduct issue that warranted any management action?

     18               A    We had concerns about her poor

     19   attendance.     We did not feel that it warranted action.

     20               Q    And just one more piece of that since

     21   counsel has raised this objection.

     22                    Did you consider Ms. -- the allegations
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 168 of 228



                                                                           104



      1   that Ms. Pridgen was not on time for meetings to be a

      2   conduct issue?

      3             A      Can you rephrase that?

      4             Q      Sure.

      5                    Is attendance a conduct issue based on

      6   your understanding?

      7             A      It's not my place to say.

      8             Q      Okay.   Did you ever seek counsel from

      9   anybody about whether Ms. Pridgen's attendance was a

     10   conduct issue?

     11             A      As I said before, we had concerns about

     12   her attendance, but we didn't feel that it warranted

     13   management action.

     14             Q      And when you say "we," you are

     15   referring to yourself and Ms. Lee; is that correct?

     16             A      No.   I think HR was also involved in that

     17   discussion.

     18             Q      And did HR ever identify attendance as

     19   a conduct issue?

     20             A      I don't recall the specifics in terms

     21   of what labels we were putting on everything.       But as

     22   I said before, we didn't feel that it warranted
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 169 of 228



                                                                           105



      1   extreme management action.

      2             Q     Did you feel that it warranted any

      3   management action?

      4                          MR. FAMUYIWA:    Objection.   Asked

      5   and answered.

      6                          THE WITNESS:    I think I've already

      7   answered the question.

      8                   BY MS. BOLLINI:

      9             Q     You said "extreme management action,"

     10   so I wanted to clarify whether there's some management

     11   action.

     12             A     Let's just say management action.

     13             Q     Okay.    Did you ever review any of

     14   Ms. Pridgen's work product?

     15             A     I had an opportunity see the work

     16   products of her as well as other employees within

     17   OFFM.

     18             Q     Did you find that any of -- any of

     19   Ms. Pridgen's work product was acceptable?

     20             A     Any of the work product?

     21             Q     Yes.

     22             A     Let me understand the question, because
Case 1:25-cv-02314-MAU     Document 1   Filed 07/17/25   Page 170 of 228



                                                                           106



      1   I'm not sure I'm following the question.

      2                         MR. FAMUYIWA:    Objection.   Vague.

      3                    BY MS. BOLLINI:

      4               Q    Of the work product you saw that

      5   Ms. Pridgen completed, did you find any of it to be

      6   acceptable based on your standards?

      7               A    I would say that in reviewing and

      8   seeing Ms. Pridgen's work product relative to the work

      9   product of other employees within OFFM, I had concerns

     10   about the quality of what was being submitted.

     11               Q    Did you find any of her work product to

     12   be acceptable?

     13                         MR. FAMUYIWA:    The agency will

     14   object.   I think the -- I do understand the question.

     15   I do think it's overly complex because you're

     16   requiring him to take a work product that covers a

     17   long period of time.    Maybe you could break it up.

     18                         MS. BOLLINI:    I can't.

     19                         MR. FAMUYIWA:    Okay.

     20                         MS. BOLLINI:    I'm just asking to

     21   identify.

     22                         MR. FAMUYIWA:    Okay.   So objection
Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 171 of 228



                                                                           107



      1   over the complex then.

      2                        MS. BOLLINI:     Never heard of that

      3   objection before.

      4                        MR. FAMUYIWA:     There's a first

      5   time for everything.

      6                        THE WITNESS:     What's the question

      7   on the table?

      8                   BY MS. BOLLINI:

      9               Q   Of the -- of Ms. Pridgen's work product

     10   that you saw, did you find any of it acceptable?

     11               A   I would say that with all employees,

     12   there are examples of what would be considered good

     13   work product.   With Ms. Pridgen, my concern was that

     14   the work product was not at the level of a GS-15

     15   employee.

     16               Q   Is that -- did you see any of

     17   Ms. Pridgen's work product that you believe -- or of

     18   the work product of Ms. Pridgen that you did see, was

     19   any of it at a GS-15 level?

     20               A   I would say that there are probably

     21   some examples where the work product was at a GS-15

     22   level, and I think that's reflected in Ms. Lee's
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 172 of 228



                                                                         108



      1   year-end assessment of Ms. Pridgen's performance.      But

      2   there were many more examples of work product that was

      3   not acceptable at a GS-15 level.

      4             Q    What, in particular, did you see that

      5   made -- that led you to believe that Ms. Pridgen's

      6   work was not at a GS-15 level?

      7             A    I would say the work that she did in

      8   terms of the grants training repository and the work

      9   that she did within -- you know, the overall question

     10   of grants workforce training and development, it did

     11   not reflect a thoughtful and strategic approach.     It

     12   seemed to be, in some instances, I would say scattered

     13   and not very well focused or sequenced in terms of the

     14   specific activities and what problems they were trying

     15   to address.

     16                  So, for example, there was a need --

     17   she had proposed a -- an approach where we would ask

     18   each agency to identify the number of people it had

     19   working in grants management.    And I had asked the

     20   question in terms of what value comes from just having

     21   a number or a count.   And I don't think there was a

     22   good, coherent answers in terms of what the utility of
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 173 of 228



                                                                          109



      1   that information was.

      2               Q   Can you recall any other examples of --

      3   that you believe showed Ms. Pridgen was not performing

      4   work at a GS-15 level?

      5               A   I think there was an inability to

      6   produce deliverables timely, and I think there was

      7   some examples that Ms. Lee has articulated in

      8   Ms. Pridgen's year-end evaluation.     I think it was the

      9   quality of the work and the timeliness of the work or

     10   the lack thereof.

     11               Q   Did you ever identify to Ms. Lee any

     12   specific concerns that you had about Ms. Pridgen's

     13   work?

     14               A   I think there was feedback what I

     15   provided.    We talked about some of the team briefings

     16   before.   I think I shared some feedback in terms of --

     17   it may have been on the grants workforce development

     18   strategy and my observations in terms of a lack of

     19   cohesiveness among the different elements.

     20               Q   Do you know approximately when you

     21   identified that concern to Ms. Lee?

     22               A   I don't remember the specifics in terms
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25    Page 174 of 228



                                                                           110



      1   of the date.

      2               Q   Do you know when during the, let's call

      3   it the life of that project, you identified those

      4   concerns?    In other words, were you reviewing

      5   something that had been identified to you as a final

      6   draft, or was it --

      7               A   I don't remember the state in terms of

      8   draft or final draft.

      9                         MS. BOLLINI:    Why don't we stop

     10   right now.

     11                         MR. FAMUYIWA:    Okay.

     12                   (Signature having been waived, the

     13   deposition of NORMAN DONG was adjourned at 5:17 p.m.)

     14

     15

     16

     17

     18

     19

     20

     21

     22
Case 1:25-cv-02314-MAU    Document 1   Filed 07/17/25   Page 175 of 228



                                                                          111



      1                  CERTIFICATE OF NOTARY PUBLIC

      2

      3             I, Stephanie M. Marks, the officer before

      4   whom the foregoing deposition was taken, do hereby

      5   certify that the witness whose testimony appears in

      6   the foregoing deposition was duly sworn by me; that

      7   the testimony of said witness was taken by me in

      8   stenotype and thereafter reduced to typewriting under

      9   my direction; that said deposition is a true record

     10   of the testimony given by said witness; that I am

     11   neither counsel for, related to, nor employed by any

     12   of the parties to the action in which this deposition

     13   was taken; and, further, that I am not a relative or

     14   employee of any attorney or counsel employed by the

     15   parties hereto, nor financially or otherwise interested

     16   in the outcome of the action.

     17

     18   My commission expires May 31, 2019.

     19

     20   _____________________________

     21   Notary Public in and for

     22   the District of Columbia
Case 1:25-cv-02314-MAU   Document 1   Filed 07/17/25   Page 176 of 228
    Case 1:25-cv-02314-MAU
    Exhibit A5                 Document 1    Filed 07/17/25   Page 177 of 228
    MSPB Final Decision on Remand

                     UNITED STATES OF AMERICA
                  MERIT SYSTEMS PROTECTION BOARD
                   WASHINGTON REGIONAL OFFICE


MARGUERITE PRIDGEN,                         DOCKET NUMBER
             Appellant,                     DC-0432-14-0557-B-1

             v.

OFFICE OF MANAGEMENT AND                    DATE: May 14, 2025
  BUDGET,
             Agency.


      Marguerite Pridgen , Washington, D.C., pro se.

      Naomi Taransky , Washington, D.C., for the agency.

                                 BEFORE
                             Monique Binswanger
                             Administrative Judge

                             INITIAL DECISION

      On September 12, 2022, the Board remanded the instant appeal for
adjudication of the appellant’s affirmative defenses to her removal based on
unacceptable performance under 5 U.S.C. Chapter 43. See Remand Appeal File
(RAF) 1, Tab 1.    On April 5, 2024, the record closed following the parties’
submissions of additional evidence and argument on those issues. See RAF, Tabs
26 and 28.
      For the following reasons, the appellant has failed to establish her
affirmative defenses by preponderant evidence.
    Case 1:25-cv-02314-MAU        Document 1      Filed 07/17/25    Page 178 of 228

                                                                                        2

                            ANALYSIS AND FINDINGS

Factual Background 1
      The appellant was a GS-15 Policy Analyst for the agency’s (OMB) Office
of Federal Financial Management (OFFM) Management Controls and Assistance
Branch (MCAB). See Initial Appeal File (IAF), Tab 1 at 123, Tab 10 at 52, 377. 2
Her position involved a wide range of duties related to developing and
implementing budgetary, legislative, and regulatory policy for the agency and the
President. See IAF, Tab 10 at 378, Tab 38 at 3. During the relevant time period,
the appellant’s direct supervisor was Karen Lee, MCAB Chief, and her second
level supervisor was Norman Dong, Acting Controller. The appellant was one of
only two GS-15 Policy Analysts under Lee’s supervision, the other being Gil
Tran. She and Tran worked on different portfolios within the MCAB. However,
The appellant and Tran both served on the “Grants Team” within the MCAB,
along with Victoria Collin, a lower-graded Policy Analyst.
      The agency’s performance rating period ran from April 1 through March 31
of the following year. The appellant’s performance evaluation consisted of an
assessment divided into three parts: (1) OMB Core Competencies; (2) OMB
Strategic Goals; and (3) Summary Rating. See AF, Tab 10 at 218. Performance
standards and related elements are intended to be linked with Core Competencies
and Strategic Goals. See id. Core Competencies outline the skills necessary for

1
  This decision explicitly incorporates by reference the factual findings set forth in the
Initial Decision, dated June 10, 2016, and the Board’s September 12, 2022, Remand
Order. Specifically, I fully incorporate herein the former administrative judge’s findings
and credibility determinations regarding the merits of the appellant’s performance-
based removal and her affirmative defenses. Nonetheless, in adjudicating the
appellant’s affirmative defenses of race, color, and disability discrimination and
whistleblower reprisal, I have considered the complete record, including evidence and
argument the appellant submitted with her petition for review and on remand.
2
  Because documents in the initial appeal and the agency file have various page numbers
in the record, I have referred to the page numbers assigned by the Board’s e-Appeal
Online System. See IAF, Tabs 1, 10. Pridgen v. Office of Management and Budget, 117
M.S.P.R. 665, ¶¶ 2, 4, 7-9 (2012).
       Case 1:25-cv-02314-MAU       Document 1   Filed 07/17/25   Page 179 of 228

                                                                                    3

employees to carry out Strategic Goals. See id. Employees are rated on each Core
Competency on a numerical scale of 1-3. See id. A rating of 1 indicates that the
employee does not perform or inconsistently performs at an acceptable level; a
rating of 2 indicates that the employee consistently meets and may sometimes
exceed all expectations; and a rating of 3 indicates that the employee consistently
exceeds expectations. See id.
         The appellant was rated on the following Core Competencies: (1)
Contributes knowledge to EOP 3 /OMB Activities; (2) Quality of Employee’s
Contributions to EOP/OMB; (3) Effectiveness of Employee’s Contributions to
EOP/OMB; and (4) Personal and Professional Development to Enhance
Contributions to EOP/OMB. See IAF, Tab 10 at 219. Under each standard, the
agency identified between four and six specific rating elements. The appellant
received a rating of 1-3 on each rating element and a summary rating for each
standard. Id. at 217. Under Strategic Goals, the appellant’s performance
standards set forth performance goals in connection with certain OMB Strategic
Plan Goals. For each performance goal, the agency identified a rating element and
described how the appellant could meet and exceed expectations for each
element. Id. at 219-224. The appellant received a summary rating based on the
summary ratings she received under both Core Competencies and Strategic Goals.
Id. at 217.
         The events at issue in this appeal primarily began in late-2011. In October
2011, the appellant contacted the EEO office to initiate a complaint of
discrimination. See IAF, Tab 38 at 4. Based on written statements she provided to
the EEO office, on November 7, 2011, the agency placed her on administrative
leave “until further notice.” See IAF, Tab 1 at 7, 14, 26, 38, 44; Tab 10 at 11-12;
Tab 38 at 4. Thereafter, in or around November 2011, the appellant reported to
the Government Accountability Office (GAO) that the agency was delaying


3
    Executive Office of the President
       Case 1:25-cv-02314-MAU     Document 1    Filed 07/17/25   Page 180 of 228

                                                                                    4

implementing grant reform agenda, as required by the Federal Financial
Assistance Management Improvement Act of 1999 (Pub. L. No. 106-107, 113
Stat. 1486). See IAF, Tab 54, Hearing Record (HR), Vol. 1 at 26:25-27:20
(testimony of the appellant). Specifically, she said she reported that “things were
really delayed, and things were not getting done that should have gotten done and
no one was really providing any answers.” Id.
         The appellant remained on a combination of administrative and other paid
leave through May 7, 2012, when she returned to work. During her absence,
Karen Lee was selected as the MCAB Chief and became the appellant’s
supervisor. On May 11, 2012, Lee had a one-on-one meeting with the appellant to
discuss her portfolio of projects and assignments. See IAF, Tab 10 at 121; see
also RAF, Tab 25 (HR Vol. 2, testimony of Lee). Thereafter, Lee sent the
appellant a lengthy email summarizing their discussion. See id. She stated the
appellant would remain a full member of the Grants Team and focus solely on
grants management issues. See id. She suggested the appellant get up to speed on
where the Branch is with grants management issues since November 2011 and to
review the pertinent documents on the Branch’s shared drive. See id. She also
asked the appellant to give her a list of the grants-related projects she worked on
in the 6-12 months prior to her leave period, as well as the things she is interested
in working on going forward. See id.
         On May 16, 2012, the appellant responded, stating that her grants portfolio
was reassigned from her to both Lee and Victoria well prior to November 2011
and therefore had not worked in a lead role on those projects during that time. See
IAF, Tab 10 at 122. She requested Lee “reinstate the portfolio I had before you
and Victoria took over most of my work areas prior to November 2011” and listed
the following tasks: (1) Grant Governance/COFAR 4 ; (2) Grant Reform; (3) Single




4
    Council on Financial Assistance Reform
       Case 1:25-cv-02314-MAU      Document 1    Filed 07/17/25    Page 181 of 228

                                                                                      5

grant portal (aka, Grants.gov); (4) Recipient integrity (ISDC, FAPIIS, 5 EPLS, Tax
Delinquency, lobbying, fraud, DNP branch liaison); and (5) Grants Management
Qualification Standards, Training, and Certification. See id.
         On June 8, 2012, Lee issued the appellant a 90-day performance plan with
the intent to extend the appellant’s 2011-2012 performance cycle and provide her
with a performance appraisal for that rating period. 6 See IAF, Tab 10 at 229-33.
Subsequently, Lee shifted to incorporate the goals from the 90-day plan into a
2012-2013 performance plan rather than extending the prior performance year.
See id. at 53-54, 130. That plan was ultimately issued on August 29, 2012, and
ended on March 31, 2013, consistent with the agency’s regular performance
rating period. See IAF, Tab 1 at 23 and Tab 10 at 13, 217-27. The plan contained
the standard Core Competencies stated above and three Strategic Goals: (1)
Improve the effectiveness and efficiency of government rules and mandates; (2)
Improve the effectiveness of government programs; and (3) Ensure agencies
develop, express and implement policies in accordance with the President’s
priorities. See IAF, Tab 10 at 220-227. Each Strategic Goal contained one or
more Performance Goals and Elements, which identified projects or assignments
through which the appellant was to demonstrate acceptable performance. Id. For
each Performance Goal, the standard for “Meets” performance further described
the tasks required, to include deliverables and deadlines. Id.
         Strategic Goals 1 and 2 are at issue in this appeal. For Strategic Goal 1, the
first Performance Goal was related to the FAPIIS final rule and draft grants fraud
rule. The performance element of this Goal required the appellant to “Lea[d]
review and issuance of policy recommendations to improve oversight and
accountability of grants through reporting of information relating to past


5
    Federal Awardee Performance and Integrity Information System
6
  The appellant had missed much of the 2011-2012 performance cycle due to her
extended leave. See IAF, Tab 1 at 10, 22.
    Case 1:25-cv-02314-MAU     Document 1     Filed 07/17/25   Page 182 of 228

                                                                                 6

performance and integrity of awards.” “Meets” performance standard was
described as:
      Develops through project plans with appropriate milestones for
      internal and external coordination, review, and issuance of policies
      related to grants fraud and accountability (e.g., proposed grants fraud
      rule and FAPIIS final rule). Identifies strategy and guidance, as
      necessary, to bring together efforts under DNP with FAPIIS to
      reduce any duplication of efforts. Proposed fraud rule issued by
      December 2012. Final FAPIIS rule issued by December 2012.
The second Performance Goal for Strategic Goal 1 was related to OMB’s
response to GAO and Congressional inquiries regarding agencies’ undisbursed
grant balances. The performance element required the appellant to “Identif[y]
policy options to address undisbursed grant balances and develops OMB response
to GAO report.” Id. “Meets” standard was described as:
      Develops thorough project plan with appropriate milestones for
      internal and external coordination, review, and issuance of policies
      related to addressing GAO recommendations on undisbursed grant
      balances by August 2012. Drafts accurate, complete, coordinated,
      appropriate, and high-quality OMB response and ensures timely
      transmittal of OMB responses to GAO recommendations. Drafts
      Controller’s alert. 70% of all grant-making agencies have developed
      internal controls and processes to reduce the amount of undisbursed
      grant balances in expired grant accounts.
The third Performance Goal for Strategic Goal 1 was as follows:
      Improve the reliability, timeliness, accuracy, and completeness of
      information to USASpending.gov and ensure that Federal agencies
      and the recipient community have clear guidance on requirements
      pursuant to the Federal Funding Accountability and Transparency
      Act.
The “Meets” performance standard was described as:
      Based on clear and cogent analysis, draft effective data quality
      guidance that enhances the timeliness, accuracy, and completeness of
      USASpending.gov data while balancing agency resource constraints
      in coordination with Federal agencies through the Council on
      Financial Assistance Reform (COFAR) and relevant OMB offices
      (e.g., OFFM, 3-Gov, OPM) by September 2012. Provides accurate,
      thorough, and high-quality analysis and recommendations to inform
    Case 1:25-cv-02314-MAU     Document 1    Filed 07/17/25   Page 183 of 228

                                                                                7

      senior management on proposed legislation, policy, and
      Congressional and other inquiries. Identifies any inconsistencies or
      needs for clarification in current policies and drafts
      recommendations to address these areas. Identifies timeframe for
      review of documents for OMB clearance and manages process to
      ensure efficient and timely review and clearance. Guidance is issued
      by December 2012.
Under Strategic Goal 2 (Improve the effectiveness and efficiency of Government
Programs), the appellant had corresponding performance goals aligned to these
projects. Specifically, the appellant’s goals were to “Oversee agency progress to
improving data reliability of financial assistance awards on USAspending.gov”
and “Strengthen Federal grants management cadre by developing a framework for
grants training and professionalization of job category.” For the former, the
appellant will have met the “Meets” by “develop[ing] thorough project plans with
appropriate milestones for oversight. By May 2013, 100% of agencies have
identified a process to certify data reliability.” Regarding the second goal, the
performance element was to “Analyze and develop policies to improve grants
management professionalization across the Federal government through creation
of a standard body of knowledge for grants officers or other appropriate
mechanisms or policies.” “Meets” performance standard was described as:
      Develops through project plan with appropriate milestones for
      internal and external coordination, review regarding grants training
      and professionalization by October 2012. Provides accurate,
      thorough, and high-quality analysis, using cost-benefit analysis and
      any other appropriate analytical methods of recommended options
      and provides other viable options for improving grants management
      policies abased on identified objectives by September 2012.
      Develops and recommends thorough and comprehensive strategy
      integrated and coordinated with existing efforts, to improve grants
      management professionalization across the Federal government to
      ensure consistent and rigorous programmatic and financial oversight
      and management of grant awards within agency programs by
      December 2012.
In summary, the appellant’s main projects at issue in her 2012-2013 performance
plan were (1) FAPIIS and proposed fraud rule; (2) response to the GAO report on
       Case 1:25-cv-02314-MAU     Document 1      Filed 07/17/25   Page 184 of 228

                                                                                      8

undisbursed grant funds; (3) USAspending.gov data quality guidance and agency
data certification; and (4) grants workforce training. The appellant received both
the draft 90-day plan and also the final year-long plan. Ultimately, she refused to
sign the final plan.
        On June 26, 2012, Lee met with the appellant to discuss issues with her
performance since her return to work. See IAF, Tab 10 at 125. Pursuant to her
email summary the following day, Lee notified the appellant that she failed to
meet the standards of a senior level analyst with respect to her response to the
GAO report on undisbursed grant balances. See id. She stated the appellant failed
to work independently and with minimal guidance, requiring Lee to have multiple
discussions instructing the appellant how to gather information from agencies as
to their undisbursed balances. See id. She further stated the appellant “failed to
communicate clearly, effectively, accurately the concerns HHS 7 raised regarding
the accuracy of the GAO report,” which affected her ability to evaluate the
appellant’s recommendations. Id. She stated that, after learning of the concerns
“by     happenstance”   from    HHS   directly,    she   determined   the   appellant’s
recommended response to GAO failed to address the potential overstatement of
the undisbursed grant balances in the report. Id. She further stated the appellant’s
proposed solution, to have agencies submit more frequent reporting, was poorly
thought out and “missed the mark” for addressing the potential issue with
undisbursed balances. Id.
        On a general note, Lee further notified the appellant that her repeated
tardiness for meetings is “without notice and unacceptable.” Id. She noted the
appellant had been 10-20 minutes late for at least three meetings that occurred
over the past month, without explanation. See id. She instructed the appellant to
be reasonably on time for meetings and, if running late, to let Lee know. She
further stated “I am always open to working with you to improve your


7
    The U.S. Department of Health and Human Services
      Case 1:25-cv-02314-MAU    Document 1     Filed 07/17/25   Page 185 of 228

                                                                                   9

performance. I am also happy to work with you to identify training opportunities
that may improve these areas.” Id. at 126.
       The following day, the appellant responded to Lee and stated Lee had
failed to give her clear instructions on what she wanted vis a vis the GAO report.
See IAF, Tab 10 at 127. Rather, the appellant argued Lee simply asked for a
recommendation on “how to move forward” on the undisbursed grant balance
issue without telling her what she really wanted. See id. She also argued that she
had informed Lee and others of HHS’s concerns but noted that HHS did not
provide documentation supporting its concerns or raise the concerns formally in
its written response to GAO. See id. As a general matter, she also took issue with
Lee’s request that she provide “more background” when responding to Lee’s
specific questions. Id. She stated: “I expect that as a mid-level manager, you will
have sufficient technical understanding of the areas within your purview to brief
senior officials especially if you are the one who has the most recent visibility on
that issue.” Id. She also stated her tardiness at meetings was due to Lee’s failure
to provide her with a call-in number for all meetings. She stated she required a
call-in number as an accommodation for her disability so that she could remain
close to a bathroom. She also accused Lee of failing to accommodate her, though
noted that “After making these requests, I typically get contacted by a human
resources staff person who informs me that she is looking into solutions.” See id.
at 128. She concluded:
       I believe you are willfully disregarding my rights as an employee
       with a disability, and I am also concerned you may be retaliating
       against me because you were named as one of the offending
       managers in my 2011 EEO complaint. I intend to seek EEO
       consultation and/or other advocacy to remedy this situation.
Id.
       On July 6, 2012, Lee responded to the appellant regarding her performance
concerns as well as other issues the appellant raised. See IAF, Tab 10 at 130-132.
She reminded the appellant that her responsibilities in recommending a response
    Case 1:25-cv-02314-MAU      Document 1    Filed 07/17/25   Page 186 of 228

                                                                                 10

to the GAO report were clearly laid out in her Performance Goals, which
provided explicit details for how the appellant should craft the recommendations.
See id. She further listed numerous instances over the past month in which she
had to provide specific instruction or redirection to the appellant where her
original work product on the GAO response was unacceptable. See id. Regarding
the appellant’s dispute as to providing “background” along with her responses to
questions, Lee clarified that she had informed the appellant it was insufficient to
provide one-worded answers to questions without explaining the basis for her
position. See id. Regarding the appellant’s tardiness, she noted the appellant had
never stated she was late because she did not have a call-in number for the
meetings, nor had she asked for a number for those meetings. See id. Rather, Lee
stated she had provided a call-in number for every meeting the appellant notified
her she could not attend in person. See id. However, she informed the appellant
she would “consult with appropriate offices” regarding her request and get back
to her shortly. See id.
      Meanwhile, in June 2012, the appellant disclosed to the Offices of
Inspector General (OIG) for various agencies, and to the Office of the Deputy
Attorney General (DAG) at the Department of Justice (DOJ), that the agency
“would not implement” its requirement to publish guidance on grant fraud
disclosure under Section 872 of the Duncan Hunter National Defense
Authorization Act for Fiscal Year 2009 (FY 2009 NDAA), Pub. L. No. 110-417, §
872, 122 Stat. 4356, 4555-57 (2008) (codified as amended at 41 U.S.C. § 2313).
See IAF, Tab 1 at 16, 41; and RAF Tab 24, HR Vol. 1 at 27:51-30:04 (testimony
of the appellant). She further alleged that she informed Lee of these disclosures
on June 29, 2012, and, thereafter, Lee criticized her and directed her to set up
phone calls with the offices so Lee could retract the allegations. See RAF, Tab
24, HR Vol. 1.
      Lee and the appellant continued to have difficulties regarding work
assignments and communication. On August 10, 2012, Lee and the appellant met
      Case 1:25-cv-02314-MAU     Document 1     Filed 07/17/25   Page 187 of 228

                                                                                   11

with Falisa Peoples-Tittle, an HR Specialist, to discuss this issue. See IAF, Tab
10 at 135. During the meeting, both Lee and the appellant stated their concerns
with the other’s communication styles and their expectations going forward to
improve their communication. See id. at 135-36. Peoples-Tittle asked that the
appellant provide she and Lee a written summary of one-on-one meetings going
forward and that Peoples-Tittle would guide the parties on improving their
communications. See id. Lee and the appellant copied Peoples-Tittle on her their
emails summarizing or following up on their one-on-one meetings. See, e.g., IAF,
Tab 10 at 143-159.
       On August 30, 2012, Lee sent a lengthy summary to the appellant with
detailed instructions and deadlines for six outstanding deliverables, as well as a
summary of four general matters discussed. See id. at 145. On September 10,
2012, the appellant sent Lee a summary of their meeting that day. See id. at 151-
152. Pursuant to the summary, they discussed numerous directives and
deliverables surrounding the grants training and certification effort, the FAPIIS
FAQs and Fraud Rule, Data Quality and Transparency issues, and the appellant’s
requests for reasonable accommodation. See id. With respect to the latter, the
appellant stated the workspace provided was substandard and interfered with her
ability to do her job, and that the air purifier provided did not have a filter. See
id. at 152. Lee also sent the appellant a summary from her notes of the meeting
the following day, stating she had not seen the appellant’s summary. See id. at
153-54. In this summary, Lee informed the appellant that she reserved funds to
support the grants training and certification efforts. See id. She stated:
       Also – as you know, there is funding in FY12 funds from FMLOB to
       support training & certification system costs – if there are any. I
       wanted to make sure you had some funds available for this effort to
       start thinking of how we implement the recommendations – and
       where some IT may help with training, you have some funds for it
       (approximately 500K or so – but we can discuss the specific funds
       you may need as you identify them).
Id.
      Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 188 of 228

                                                                                 12

       Separately, on August 31, 2012, the appellant emailed Lee regarding her
untimely deliverables. See IAF, Tab 10 at 155-56. She stated her work area was
substandard and failed to constitute a reasonable accommodation for her
disability. See id. She also stated Lee restricted her access to resources and has
not given her flexibility in her assignments similar to that of others in OFFM. See
id.   On September 12, 2012, Lee emailed the appellant and Peoples-Tittle to
follow up on the appellant’s allegation that her workspace, and therefore the
previously granted accommodation, was substandard. See IAF, Tab 10 at 155. She
stated the agency provided her with the workspace in response to her request that
she be //within 50 feet of a bathroom and that, contrary to the appellant’s
complaints, “there is nothing extraordinary about the noise level in [her]
workspace” relative to other shared workspace areas. Id. She also stated that the
numerous performance deficiencies she had been informing the appellant of could
not be attributed to the noise level of her workspace. See id. The following day,
the appellant responded that her workspace indeed impedes her ability to perform
her duties. She also argued that Lee “repeatedly changed the assignment or given
me direction and guidance that was inconsistent with the direction and guidance
from other OFFM senior managers, ultimately, causing me to redo the work.” Id.
       On September 20, 2012, during her one-on-one meeting with the appellant,
Lee set deadlines for various deliverables going forward. See IAF, Tab 10 at 172.
Specifically, by September 27, 2012, the appellant was to produce a
comprehensive paper identifying issues to be addressed or may require further
discussion with respect to the grants workforce training project. See id. By that
same date, Lee also required the appellant to provide a project plan for issuing
guidance on the USAspending data quality initiative in December 2012. See id.
By October 8, 2012, the appellant was to provide the draft data quality guidance
itself, inclusive of internal stakeholder review, and ultimately ensure issuance of
the final guidance by December 2012. See id. Finally, she directed the appellant
    Case 1:25-cv-02314-MAU       Document 1    Filed 07/17/25   Page 189 of 228

                                                                                  13

to provide, by the end of the performance cycle (March 31, 2013), a final strategy
document for the grants workforce training project. See id.
      On September 28, 2012, Lee notified the appellant that she had failed to
produce the training and certification paper and directed her to submit it. See IAF,
Tab 10 at 175. She further informed the appellant that her data quality guidance
draft did not comport with previously identified policies and directed her to
provide a rewritten draft by October 2, 2012. See id. The appellant timely
provided a new data quality draft. See id. at 174. However, on October 5, 2012,
Lee notified the appellant of her concern that the guidance as drafted would be
overly burdensome for agencies and questioned the appellant’s choice to deviate
from the current procurement model. See id. at 173-74.
      Throughout the month of October, Lee continually provided feedback to
the appellant regarding deficiencies in her deliverables on the FAPIIS, data
quality guidance, and grants workforce training deliverables. See IAF, Tab 10 at
113-19. The appellant missed numerous deadlines and her written work products
required substantial redrafting during this time. See id.
      On October 25, 2012, Lee and the appellant exchanged summaries from
their one-on-one meeting that day. See IAF, Tab 10 at 186-87. Lee provided the
appellant with her comments and suggestions to the FAPIIS draft rule and invited
comments back. See id. She further requested the appellant check with Julie
Miller on whether the draft needed additional clearance review given her edits.
See id. Regarding the data quality project, Lee noted the appellant had a
deliverable due the following day and that it should reflect input from the
COFAR. See id. She also directed her to consult with colleagues regarding the
USAspending.gov and grants workforce training projects. See id. The appellant
responded with updates on various projects. See id. at 186. Regarding the FAPIIS
edits, she stated she did not agree with Collin’s proposed terminology changes or
deletion of a proposed section. See id. at 186. She further notified Lee that, per
    Case 1:25-cv-02314-MAU       Document 1    Filed 07/17/25   Page 190 of 228

                                                                                  14

Miller, the FAPIIS rule would require formal re-clearance due to the substantive
edits. See IAF, Tab 10 at 186.
      On October 31, 2012, Lee sent the appellant a summary of their meeting
that day, which included guidance on getting the FAPIIS rule into the agency’s
clearance process for issuance. See IAF, Tab 10 at 186. She directed the appellant
to produce a “clearance memo” identifying the changes for inclusion in the
package. See id. She further directed the appellant to finalize the rule by Friday,
November 2, 2012 so it could be “put into clearance” by Monday, November 5,
2012. See id. She further invited the appellant to “Let me know if you have any
concerns with this timing.” Id. Lee further summarized that the appellant was to
provide draft data quality guidance by close of business that day, as well as a log
of questions she had received regarding USAspending.gov along with her analysis
and recommendations by the following day. See id.
      On Friday, November 2, 2012, Lee and the appellant again exchanged
summaries of their meeting that day. See IAF, Tab 10 at 188-90. Lee summarized
that the appellant was, by the end of the day, to provide a “full data quality
guidance document (in memorandum format, as all OMB guidance documents
are)” reflecting the feedback discussed at the meeting. See id. at 189. She stated
this deliverable was the appellant’s highest priority and necessary to “give us a
better chance of hitting the December deadline for issuance of this guidance.” Id.
She further noted that she “pushed back the due dates for other deliverables (e.g.,
the FAPIIS revisions and USAspending.gov questions and analysis deliverable).”
Id. Lee summarized her feedback regarding the data quality guidance in the form
of eight bullet points, with the following headers:
      The outline does not pull together the broader policy objectives to
      the new agency requirements to assess the accuracy and
      completeness of USAspending.gov data.
      The outline does not inform agencies how they are to assess accuracy
      and completeness.
      The scope of the document is not internally consistent.
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 191 of 228

                                                                                  15

      The Schedule of Spending discussion is confusing.
      The deliverable you submitted needs to be in guidance format.
      The deliverable was not coordinated with OFFM and other OMB
      staff.
      The draft document should be agency pressure tested, if not already.
      Miscellaneous (some smaller items I did not mention this morning).
Id. at 189-90. The appellant timely provided a revised draft to various entities for
review, and also responded to Lee with respect to each of her identified concerns.
See id. at 188-89. Lee responded that the appellant should plan on sending her the
final draft on November 5, 2012 reflecting the feedback she receives. See id. at
188. She further arranged to meet with the appellant the following Monday
morning to follow up on the FAPIIS deliverable. See id.
      On November 9, 2012, the appellant sent Lee a summary of their meeting
that day. See IAF, Tab 10 at 191-192. Therein, she stated Lee informed her the
data quality guidance draft was “on hold until after the COFAR principals
meeting on November 14.” Id. She also summarized the status and upcoming
deadlines of the FAPIIS, USAspending.gov, GAO Duplication Report, and grant
workforce training projects. See id. Lee responded that the appellant had reported
“no significant concerns raised” by the COFAR agencies following circulation of
the draft guidance outline, so they should be able to circulate the full data quality
guidance to COFAR agencies for “pressure testing” after the meeting November
14th. See id. at 191. She further directed the appellant to stop by her office at
2:30 p.m. that day to discuss the appellant’s upcoming meeting with Collin to
resolve outstanding FAPIIS comments. See id.
      On or about November 10, 2012, the appellant filed a complaint with OSC
alleging the agency retaliated against her for her prior EEO and OSC complaints.
See IAF, Tab 1 at 8, 17, 44; Tab 30 at 10; and Tab 38 at 10.
      On December 11, 2012, Lee issued the appellant a Performance Counseling
memorandum. See IAF, Tab 10 at 113. The memorandum set forth the appellant’s
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 192 of 228

                                                                                  16

performance plan goals with respect to the grants workforce training initiative,
data quality guidance, and FAPIIS rule clearance. See id. Lee then detailed
numerous examples of the appellant’s failure to timely or sufficiently produce
deliverables with respect to these projects and the impact on the agency as a
result. See id. In particular, she stated the appellant failed to coordinate internal
review of her August 14, 2012 draft final FAPIIS rule, which resulted in the rule
being pulled from the agency’s clearance process and requiring substantial
revisions. See id. at 118-19. She stated the appellant had still not completed those
revisions and the document has thus not been submitted for final clearance. See
id. She stated “publication of the final rule will be delayed, resulting in continued
non-compliance with statutory requirements to collect and use certain information
about grant recipients.” Id.
      On or about April 22, 2013, OSC informed the appellant that it had closed
its investigation into her complaint. See IAF, Tab 1 at 8. On June 19, 2013, the
appellant filed a second complaint with OSC alleging the agency retaliated
against her for her disclosures about section 872 of the FY 2009 NDAA. See IAF,
Tab 1 at 8; and Remand File (RF), Tab 24 (HR Vol. 1). She also alleged that the
complaint included a separate disclosure that erroneous guidance from the
agency’s Controller in 2011 resulted in billions of dollars in undisbursed balances
not being returned to the Department of the Treasury, and that her first-line
supervisor tried to have her cover up, including through congressional testimony,
the fact that the guidance was the result of an agency error. See IAF, Tab 1 at 8.
      On June 26, 2013, Lee issued the appellant a summary performance rating
of unsatisfactory for the 2012-2013 performance cycle. See IAF, Tab 44 at 54 and
IAF, Tab 38 at 4. Lee identified the three critical performance expectations and
elements of the appellants plan as: (1) USAspending.gov data quality; (2) Grants
workforce training; and (3) Improving sub-award reporting on USAspending.gov.
See IAF, Tab 44 at 54. She found the appellant performed unsatisfactorily in each
element and provided examples thereof. See id.
    Case 1:25-cv-02314-MAU       Document 1     Filed 07/17/25    Page 193 of 228

                                                                                    17

       Regarding grants workforce training, Lee stated the appellant failed to
“provide clear analysis, options, and recommendations” related to the workforce
development initiative resulting in OFFM’s inability “to issue policy direction
and improve the competencies and skills of the grants workforce.” Id. at 55.
Regarding USAspending.gov, Lee stated the appellant failed to draft guidance
consistent with policy objectives, provide thorough analysis, and provide timely
deliverables. See id. She stated the appellant’s unsatisfactory performance
“jeopardized our ability to ensure that this data is correct” and caused the agency
to continue to be “subject to public criticism that this spending data is inaccurate
and incomplete.” Id. Regarding sub-award reporting policies, Lee stated the
appellant “failed to address this issue strategically and lacked an ability to lead to
identify and drive sustainable, institutional solutions.” Id. at 56.
       Lee further stated that the appellant failed to properly coordinate review of
the FAPIIS guidance, which resulted in the draft being pulled from the OMB
clearance process after senior management determined the draft exceeded
statutory requirements and conflicted with grant reform guidance also going
through clearance at that time. See id. at 56. She stated the appellant’s
unsatisfactory performance led to “continued delay in implementing this statutory
requirement for all federal grants programs.” Id. Lee stated, in summary:
       Ms. Pridgen continues to be challenged in her ability to tackle
       technically difficult or complex issues without previous experience
       with the issue. She requires constant guidance in order to
       conceptualize, plan and execute highly complex efforts. She has not
       demonstrated work product that meets the expectations of a GS -15
       senior analyst.
Id. at 56.
       On June 28, 2013, Lee issued the appellant a 90-day performance
improvement plan (PIP), to run from July 1, 2013 to September 30, 2013. See
IAF, Tab 10 at 77-91, 107. In the PIP, Lee notified her that her performance was
deficient with respect to the following two elements: (1) Analyze and develop
    Case 1:25-cv-02314-MAU     Document 1    Filed 07/17/25   Page 194 of 228

                                                                                18

policies to improve grants management professionalization across the Federal
government through creation of a standard body of knowledge for grants officers
or other appropriate mechanisms or policies; and (2) Require agencies to
implement a process that would require agencies to certify how the data that is
posted to USAspending.gov can be reconciled back to their audited financial
statements. See IAF, Tab 10 at 79. Lee provided specific examples of the
appellant’s unsatisfactory performance in those two elements and informed her of
what she needed to do during the PIP period in order to improve her performance
to at least the Meets Expectations level for each. See id. at 80-89. The PIP
included the following interim milestones and deadlines:
      A. Grants Workforce Development Initiative
         By July 31, 2013: Begin Red building (NEOB) clearance of grants
         workforce development guidance.
         By August 1, 2013: Finalize inter-agency agreement with OPM to
         build “grants 101” training course.
         By September 30, 2013:
             Issue final grants workforce development guidance.
             Deliver final repository (“go live date”) with a quality
              assurance framework for the content established.
             Incorporate final audit body of knowledge and include in
              final repository, delivered on the same day.
             Finalize “grants 101” training course design (finalize
              content areas, scope of course, course objectives, method of
              delivery, and metrics to measure success).
      B. Grants Reform and Final Guidance
         By August 1, 2013: review comments with COFAR and develop
         final guidance recommendations in assigned issue areas that
         reflect a firsthand understanding of the current problems FAPIIS
         and DNP seeks to address and the needs for alignment and the
         spirit and intent of the grants reform effort.
      C. USAspending.gov Data Quality Guidance Implementation
    Case 1:25-cv-02314-MAU     Document 1     Filed 07/17/25   Page 195 of 228

                                                                                 19

         By September 30, 2013: identify and ensure that all agencies
         subject to the OMB memorandum comply with the spirit and
         intent of the June 12, 2013 [guidance].
         By September 30, 2013: adjudicate all agency requests for
         deviation from OMB guidance and submit analysis and
         recommendation for OMB approval that balances a first-hand
         understanding of the problems and/or challenges agencies raise
         with the need to ensure agency compliance with the spirit and
         intent of the guidance. Oversee and provide assistance to agencies
         through implementation of their efforts to ensure agency
         compliance accordingly.
Id. at 87-89. The PIP also set forth how Lee would assist the appellant during the
PIP period, including weekly meetings to discuss the quality of her work. See id.
at 89-90. In her assessment of the appellant’s performance during the PIP period,
Lee detailed her regular interactions with the appellant throughout that period
regarding the quality of her work. See id. at 63-74. The appellant acknowledged
these regular meetings during her hearing testimony and testified that those
meetings sometimes occurred several times a day. See RF, Tab 24 (HR Vol. 1).
      On January 10, 2014, Lee notified the appellant that she failed to
demonstrate acceptable performance during the PIP. See IAF, Tab 10 at 57-75.
Lee found that the appellant failed to meet the August 1 deadline set forth in the
PIP regarding Grants Reform and Final Guidance, but that her overall
performance under that element was satisfactory. Id. at 59, 61. However, Lee
found that the appellant’s failure to meet the deadlines regarding both Grants
Workforce Development Initiative and USAspending.gov Data Quality Guidance
Implementation made her performance during the PIP period under those
elements unsatisfactory. Id. at 59-62. Accordingly, on January 10, 2014, Lee
proposed the appellant’s removal for Unacceptable Performance. See IAF, Tab 10
at 52-75. After the appellant responded to the proposal, Dong issued a decision
removing her, effective March 7, 2014. Id. at 37-50.
    Case 1:25-cv-02314-MAU       Document 1    Filed 07/17/25   Page 196 of 228

                                                                                  20

Procedural History
      On February 18, 2015, the appellant filed the instant Board appeal
challenging the merits of her removal and raising affirmative defenses of
discrimination based on race, color, national origin, age, and disability, as well as
retaliation for her prior EEO activity, Board appeals, OSC complaints, and
disclosures to other entities and OIGs. See IAF, Tab 1; Tab 30 at 4-12; and Tab
38 at 2, 5-14. Following a March 2015 hearing on the merits of the appeal, on
June 10, 2016, Administrative Judge (AJ) Zamora issued an Initial Decision
affirming the agency’s removal of the appellant for unacceptable performance.
See IAF, Tab 56. AJ Zamora further determined that the appellant failed to meet
her burden of proving her affirmative defenses of race, color, sex, and disability
discrimination, and of retaliation for protected EEO and whistleblower activity.
See id. The appellant filed a Petition for Review (PFR) of the AJ’s Initial
Decision. See PFR File, Tab 1.
      On September 12, 2022, the Board issued an Opinion and Order reversing
the appellant’s removal and ordering the agency to return her to duty with all
appropriate back pay and relief. See PFR File, Tab 9. Specifically, the Board
determined that the agency incorrectly treated the Strategic Goals set forth in the
appellant’s performance plan as Critical Elements of the plan. The Board
therefore determined the appellant’s removal was improper because the agency
failed to prove that she performed unacceptably in one or more Critical Elements
of her performance plan. The Board also determined the AJ had applied incorrect
legal standards in assessing the appellant’s affirmative defenses of race, color,
and disability discrimination, as well as her whistleblower reprisal claim.       Id.
The Board therefore remanded the appeal to this office for adjudication of those
affirmative defenses consistent with its Opinion. Id.
      On January 30, 2024, I issued a “Summary of Status Conference and Order
Closing the Record” wherein I identified the issues to be determined on remand
and notifying the parties that they may submit evidence and argument regarding
    Case 1:25-cv-02314-MAU        Document 1     Filed 07/17/25    Page 197 of 228

                                                                                      21

those issues, no later than March 1, 2024. 8 See RF, Tab 20. At the agency’s
subsequent request, I extended the close of record deadline to April 1, 2024. The
parties filed briefs prior to the close of the record and rebuttals thereafter. The
record is now closed and ripe for adjudication.

The appellant has failed to meet her burden of proving her affirmative defenses of
race, color, and disability discrimination
      The appellant’s claims of discrimination based on her race, color, and
disability are governed by the revised standards set forth in the Board’s Remand
Order. See Pridgen v. Office of Management and Budget, 2022 MSPB 31, ¶ 35.
As set forth in therein, an appellant may prove discrimination by various
methods. Id., ¶¶ 23, 42. No one method is the exclusive path to a finding of
liability. See id. An appellant may prove a claim of disparate treatment through
direct evidence, circumstantial evidence, or a combination of the two. See id. at
24, 42. Circumstantial evidence may include evidence of “ suspicious timing,
ambiguous statements oral or written, behavior toward or comments directed at
other employees in the protected group, and other bits and pieces from which an
inference of discriminatory intent might be drawn,” also known as “convincing
mosaic”; comparator evidence, consisting of evidence that employees similarly
situated to the appellant with different protected classifications received
systematically better treatment; 9 or evidence that the agency’s stated reason for

8
  Upon remand of the appeal, the parties entered the Board’s Mediation Appeals
Program (MAP) in an effort to resolve the remaining issues. See Remand Appeal File
(RAF), Tabs 7 and 8. On January 3, 2024, mediation concluded without resolution of
the appeals. See RAF, Tab 14. While in mediation, adjudication of the appeal had been
reassigned to me. See RAF, Tab 13. Following conclusion of the MAP process, on
January 9, 2024, I held a status conference with the parties to further discuss potential
settlement of the remanded appeal and related motion for attorney fees. See AF, Tab 3.
During that conference, the parties waived ex parte communications for settlement only
and I caucused with the parties regarding settlement thereafter. On or about January 19,
2024, the parties again reached impasse on settlement.
9
 To be similarly situated, comparators must have reported to the same supervisor, been
subjected to the same standards governing discipline, and engaged in conduct similar to
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 198 of 228

                                                                                  22

its action is “unworthy of belief, a mere pretext for discrimination” (i.e., the
burden-shifting standard under McDonnell Douglas Corp. Green, 411 U.S. 792,
802-04 (1973)). See id. at ¶¶ 24, 42. Not all of the above types of evidence, i.e.,
direct, “convincing mosaic,” comparator, or pretext, will be needed in every case.
Id. Each type of evidence is sufficient by itself to support a judgment for the
employee, or they can be used together. Id.
      Whatever theory of discrimination the appellant pursues and whatever
evidence they introduce to support it, all the evidence must be examined as a
whole to determine if the appellant has shown by a preponderance of the evidence
that the prohibited consideration was either a motivating factor in or a but-for
cause of the contested personnel action. An appellant may receive injunctive,
forward-looking relief if they show that discrimination based on one or more of
the identified bases was a “motivating factor” in their removal. See Pridgen, 2022
MSPB 31, ¶ 42. In order to obtain the full relief, including status quo ante relief,
compensatory damages, or other forms of relief related to the end result of an
employment decision, they must show that such discrimination was a “but-for”
cause of the employment outcome. Id. The “but-for” causation standard does not
require discrimination to be the sole cause of the contested action, only a
necessary one. Id., ¶¶ 22, 42. There may be more than one but-for cause of a
single employment action. Id.
      Beginning in March 2010, the appellant requested several accommodations
for her chronic colitis and chronic rhinitis. See IAF, Tab 31 at 16-18, 28-31, 39-
40, Tab 38 at 3. After communicating with the appellant regarding her needs, the
agency provided her with an air purifier and constructed a new office space to
meet her medical requirements. See IAF, Tab 31 at 16-17, 28-41. These
accommodations were completed and made available to the appellant in


the appellant’s without differentiating or mitigating circumstances.       See Fox v.
Department of the Army, 120 M.S.P.R. 529, ¶ 37 (2014) (discussing the use of
comparator evidence in connection with a disability discrimination claim).
    Case 1:25-cv-02314-MAU       Document 1     Filed 07/17/25    Page 199 of 228

                                                                                    23

November 2010. See id. at 16-41. In March 2013, the appellant asked for
dictation software to accommodate her carpal tunnel syndrome, which Lee
provided. Id. at 9.¶ 12. Furthermore, throughout 2013, the appellant continued to
communicate with Lee regarding the adequacy of the office space accommodation
previously provided. Accordingly, I find the appellant established that Lee was
aware of the appellant’s disabilities during the relevant time period.
      In its Remand Order, the Board determined that Tran is a similarly situated
employee of a different race and color, and without a disability, to which the
appellant may compare her treatment in similar circumstances. See Pridgen, 2022
MSPB 31 at ¶¶ 26-29, 41. The Board thus directed that I determine whether the
appellant has met her burden of proving discrimination based on her race, color,
or disability in light of the revised legal standards set forth in its Remand Order,
and taking into consideration Tran as a proper comparator to the appellant. See id.
The Board also directed that I consider whether the appellant established that her
pre-PIP assignments reflected discrimination on these bases. See id.; see also
Santos v. National Aeronautical and Space Administration , 990 F.3d 1355 (2021).
      The appellant alleged that Lee, Dong, and Tran were members of the Asian
American and Pacific Islander (AAPI) community and treated Tran more
favorably as a result. See RAF, Tab 26 at 14. In support of her claims, the
appellant alleged that, following Executive Order 13515, dated October 14, 2009,
regarding AAPI employees who were “to receive special consideration in career
and employment activities.” See id. at 13. Specifically, she alleged the agency
“used the list in implementing race-conscious policies and practices that unfairly
booster opportunities for [AAPI employees] to ascend [to] higher-graded
positions while negatively impacting African-American employees.” Id. at 13-14.
She further alleged, in a footnote, that she “had seen a version of the [list] with
Tran’s name” but did not submit a copy of that list for the record. See id. at 143,
n. 2. I find the appellant’s allegations regarding this list are self-serving in nature
and that she failed to present any corroborating evidence thereof. See Hillen
    Case 1:25-cv-02314-MAU        Document 1    Filed 07/17/25   Page 200 of 228

                                                                                   24

v. Department of the Army, 35 M.S.P.R. 453, 458-62 (1987). I therefore give little
weight to these assertions. See id.
      The appellant also alleged Tran was treated more favorably than she with
respect to his performance standards, project deadlines, and contractor support.
Specifically, she claimed Lee crafted Tran’s performance plan to include “lax
generic requirements…allowing him to make mistakes, miss or self-extend
deadlines, and still meet his performance goals.” See RF, Tab 26 at 14.
Conversely, she argued, Lee included in her performance plan “very specific and
rigid deliverables and deadlines…leaving little slack for the appellant to make a
mistake or miss a deadline and still meet her goals.” Id. She also alleged that her
performance requirements were “highly dependent on processes and timing of
activities not within her control” whereas Tran’s requirements included “mostly
broadly stated self-directed work assignments with loose standards involving
collaboration,   making      recommendations,   and   identifying   progress   within
unspecified deadlines.” Id. at 14-15. She also alleged the agency “regularly gave
Tran timely contract resources to complete routine work but “refused” to grant
the appellant’s request for special project funding “until late in the PIP period.”
Id. at 16. She also alleged the agency allowed Tran to “maintain his core
assignments and choose additional work assignments but denied the appellant the
opportunity to do so.” Id.
      I find the appellant’s allegations unsupported by the record. It is clear the
appellant was unhappy with her portfolio of projects upon her return from leave
in May 2012. However, it appears her discontent stems from a reallocation of
work that occurred in or around 2011 under her prior supervisor, Dana James,
well before the performance period at issue here. There is no indication that Lee
had any role in James’s reallocation of work several years earlier or that Lee
subsequently assigned the appellant projects in a discriminatory fashion upon her
return to duty. In fact, the appellant specifically requested that her former
       Case 1:25-cv-02314-MAU      Document 1    Filed 07/17/25   Page 201 of 228

                                                                                    25

portfolio be returned to her, to include “(1) Grant Governance/COFAR 10 ; (2)
Grant Reform; (3) Single grant portal (aka, Grants.gov); (4) Recipient integrity
(ISDC, FAPIIS, EPLS, Tax Delinquency, lobbying, fraud, DNP branch liaison);
and (5) Grants Management Qualification Standards, Training, and Certification.”
See IAF, Tab 10 at 122. These are the very projects the appellant was assigned
upon her return and that were at issue in the PIP.
         Notwithstanding    the   appellant’s   general    dissatisfaction   with   her
assignments, she failed to present evidence of other assignments available or that
should have been reassigned to her upon her return to work. Specifically
regarding Tran’s portfolio, Lee testified that Tran was OFFM’s expert on grants
management and single-audit findings, and that his performance goals were
directly aligned with that expertise. See RF, Tab 25 (HR Vol. 2). The appellant
did not rebut this testimony or otherwise present evidence that she had recognized
expertise in this area or performed these tasks with any regularity prior to her
return. Nor do I otherwise find evidence of record supporting the appellant’s
assertion that Tran was provided with “better” or more “choice” assignments than
she because of age, race, or disability.
         I further find the appellant failed to support her allegation that her project
deadlines or collaborative requirements evidence discriminatory animus against
her. The appellant points to the deadlines set forth in her performance plan, and
the lack of similar deadlines in Tran’s plan, as evidence that she was treated less
favorably. She alleges that she would not have been placed on a PIP or terminated
were it not for that disparity. I find little support in the record for her assertions.
The appellant failed to identify with any specificity the work Tran performed in
relation to his performance goals. While the wording of Tran’s plan on its face
evidences fewer specific deadlines, the appellant failed to put into context the
nature of his work and whether shorter or stricter deadlines were feasible in


10
     Council on Financial Assistance Reform
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 202 of 228

                                                                                  26

relation to those assignments. Furthermore, the deadlines in the appellant’s
performance plan are consistent with Lee’s explanation that the appellant’s plan
morphed from the original 90-day extension of the 2011-2012 plan, due to the
appellant’s extended leave period, into the full 2012-2013 performance plan
ultimately implemented. The documentation between Lee and the appellant
regarding the plans fully supports that explanation as well. Accordingly, to the
extent such deadlines are not usually present in her performance plan, the manner
in which they came to be included in her 2012-2013 plan do not evidence
disparate treatment.
      I also find unsupported the appellant’s allegations that her own deadlines
were not feasible. I note that the summaries of Lee and the appellant’s one-on-one
meetings both prior to and during the PIP indicate that Lee consistently extended
deadlines of the appellant’s deliverables in response to the appellant’s constant
failure to meet the original deadlines. The emails further establish that Lee had to
give the appellant frequent, extensive feedback at every stage of her assignments
in order to obtain deliverables from her. The record also reflects that Lee pushed
back some of the PIP deadlines in response to the appellant’s feedback while
drafting the PIP. Lee testified that she believed the appellant was substantially
finished with the proposed fraud rule and final FAPIIS rule, and that the
December 2012 deadlines were therefore reasonable. In rebuttal, the appellant
alleged that Lee was continually unhappy with her work or that other individuals
were to blame for her missed deliverables. She alleged generally that Lee
continually returned her drafts for further editing but failed to rebut Lee’s
assertion that the earlier drafts were inadequate. That the appellant did produce
drafts within the required timeframes, albeit insufficient, indicates that the
deadlines were feasible. Despite the appellant’s general assertions, she presented
no evidence indicating the work assigned could not have been performed in the
time provided.
    Case 1:25-cv-02314-MAU       Document 1      Filed 07/17/25    Page 203 of 228

                                                                                      27

      Likewise,    I   find   unavailing   the    appellant’s     assertion   that   Lee
discriminatorily required her to rely on the performance of others to meet her
deliverables. As a general matter, it is reasonable that the appellant was required
to work within internal and external processes given her high grade level and the
government-wide implications of her work. I further find that the appellant’s
performance plan goals and PIP deadlines on their face incorporated these
processes and the appellant’s responsibility in relation thereto. For example,
during the PIP, the appellant was required to produce a final draft and begin “Red
Building” clearance of the grants workforce development guidance by July 31,
2013, but the final guidance was not required to be issued until September 30,
2013. The PIP itself therefore explicitly built in time for the appellant to shepherd
the document through the clearance process, which was otherwise out of her
control. Additionally, emails between Lee and the appellant establish that, even
though the appellant missed the July 31 deadline for starting the clearance
process, Lee still encouraged the appellant to continue working on getting the
draft into clearance as late as August 23, 2013 so they could still meet the
September 30 issuance deadline. See IAF, Tab 34 at 93. It is therefore clear that
Lee built a certain amount of buffer into the PIP deadlines and that she was
willing to consider the appellant’s performance satisfactory had she taken the
necessary steps to ensure a timely final deliverable despite some deliverables
depending on performance of others.
      As discussed in more detail in my analysis of the appellant’s whistleblower
reprisal claim, I find the record reflects that the appellant failed to act prudently
to ensure the portions of her tasks that she was independently responsible for
were done in a timely fashion. For example, regarding agency data quality plans,
the appellant failed to follow up with nonresponsive agencies until far too late in
the PIP. Though the agencies were ultimately responsible for submitting their
plans to the appellant, I find she did not take reasonable steps to ensure they did
so or to establish that she had done all that was prudent in achieving that goal.
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 204 of 228

                                                                                  28

Nor did she present a plausible explanation for not timely adjudicating agency
requests to use alternative methodologies for ensuring data quality by the
September 30, 2013 deadline. She also failed to rebut Lee’s testimony explaining
why those requests were not detailed enough to approve the alternative plans and
what additional information the appellant should have obtained sooner from the
requesting agencies in order to do so.
      I find the record amply establishes that the appellant and Tran’s portfolios
and areas of expertise were very different and their performance goals differed
accordingly. However, I find the difficulty or rigidity of those goals did not differ
with any measurability such that I could find the appellant’s assignments during
the FY 2013 performance year were the result of discrimination based on her
race, color, or disability. Nor do I find a preponderance of any other probative
evidence creating such an inference. Accordingly, I find the appellant failed to
establish that Lee was motivated by her race, color, or disability with respect to
her pre-PIP or PIP assignments. I further fully adopt AJ Zamora’s analysis with
respect to these affirmative defenses and therefore conclude the appellant failed
to meet her burden of proof regarding these claims.

Whistleblower Reprisal
      To establish a prima facie case of whistleblower reprisal, an appellant must
prove by a preponderance of the evidence that (1) he engaged in whistleblower
activity protected by 5 U.S.C. §§ 2302(b)(8) and (b)(9)(A)(i), (B), (C), or (D);
and (2) the protected disclosures or activity was a contributing factor in the
agency’s decision to take or fail to take a “personnel action” as defined by
statute. See 5 U.S.C. § 1221(a). A preponderance of the evidence is the degree
of relevant evidence that a reasonable person, considering the record as a whole,
would accept as sufficient to find that a contested fact is more likely to be true
than untrue. See 5 C.F.R. § 1201.4(q).
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 205 of 228

                                                                                  29

      Where the appellant establishes a prima facie case of whistleblower
reprisal, the Board must order corrective action unless the agency can establish
by clear and convincing evidence that it would have taken the same personnel
actions even in the absence of the protected disclosure or activity. See Carr
v. Social Security Administration, 185 F.3d 1318, 1322-23 (Fed. Cir. 1999); see
also Miller v. Department of Justice, 842 F.3d 1242, 1258-62 (Fed. Cir. 2016).
Clear and convincing evidence is defined as that measure or degree of proof that
produces in the mind of the trier of fact a firm belief as to the allegations sought
to be established. See 5 C.F.R. § 1209.4(e). It is a higher standard of proof than
preponderant evidence. Id.
      The Board determined the appellant made protected disclosures under 5
U.S.C. § 2302(b)(8) by virtue of her November 2011 report to the General
Accountability Office (GAO); her June 2012 disclosures to the Deputy Assistant
General Counsel (DAGC); her June 2012 disclosures to various Offices of the
Inspector General (OIGs); and her June 2013 OSC disclosure. The Board further
determined the appellant’s November 2012 OSC complaint constitutes protected
activity under 5 U.S.C. § 2302(b)(9)(C), as did her June 2012 OIG disclosures.
      The Board’s Remand Order upheld AJ Zamora’s finding that Lee and Dong
were aware of the appellant’s June 2012 OIG disclosures and that these
disclosures were a contributing factor to the appellant’s removal. The Remand
Order directed that I determine whether each of the remaining disclosures and
activities were a contributing factor to the appellant’s removal.

November 2011 GAO disclosure
      The appellant does not allege notifying Lee or Dong herself of her
November 2011 disclosure. However, she alleges that a copy of her disclosures to
GAO were included in the Report of Investigation (ROI) produced following her
2012 EEO complaint. See RF, Tab 26 at 21-22. She therefore concludes that “this
is evidence that the agency was aware of the appellant’s protected disclosures to
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 206 of 228

                                                                                  30

GAO.” Id. However, the appellant fails to provide any context for that conclusion
or otherwise describe any procedures indicating the likelihood that the appellant’s
EEO ROI was disseminated in whole or part to Lee or Dong prior to her removal.
Rather, she argued:
      The argument of whether the appellant’s supervisors (Lee and Dong)
      were aware of all the appellant’s disclosures would be irrelevant
      because the agency collective was aware, and the agency collective
      was involved with the decision to remove the appellant.
Id. at 21-22. I find the appellant’s argument unavailing. The Board has long held
that management officials may be charged with constructive knowledge of
protected disclosures or activities where an individual with actual knowledge of
the disclosure influenced the official accused of taking the retaliatory action,
known as the “cat’s paw” theory. See, e.g., Aquino v. Department of Homeland
Security, 121 M.S.P.R. 35, ¶19 (2014), citing Weed v. Social Security
Administration, 113 M.S.P.R. 221, ¶ 22 (2010). However, the Board has not
recognized a “collective” knowledge of the “agency” as a means of establishing
the knowledge-timing test. Here, the appellant has failed to present any credible
evidence that any of the individuals involved in her removal were provided a full
copy of the ROI or the GAO disclosures included therein. Given the appellant’s
lack of reasonable evidence inferring a relevant official’s knowledge of the GAO
disclosure, I find she has failed to meet the knowledge-timing test.
      I further find the appellant failed to present preponderant evidence
otherwise indicating that her GAO disclosure was a contributing factor to her
removal. Where an appellant fails to meet the “knowledge/timing test,” the Board
will consider any relevant evidence on the contributing factor question, including
the strength or weakness of the agency’s reasons for taking the personnel action,
whether the whistleblowing or activity was personally directed at the responsible
officials, and whether those individuals had a desire or motive to retaliate against
the appellant. See Powers v. Department of the Navy, 69 M.S.P.R. 150, 156
(1995).
    Case 1:25-cv-02314-MAU      Document 1    Filed 07/17/25   Page 207 of 228

                                                                                 31

      I find the agency’s reasons for removing the appellant were strong. As
discussed in more detail below, the agency presented significant evidence that the
appellant failed to successfully perform the majority of tasks assigned during the
PIP. I further find, as discussed in more detail below, that significant evidence
supports that the assignments were a fair and appropriate opportunity to
demonstrate acceptable performance. The appellant does not dispute that she
failed to meet the deliverables required. Rather, she claims the assignments were
discriminatory and unfair. As discussed above, I find no evidence that her
assignments were discriminatory. I further adopt AJ Zamora’s finding that the
PIP provided the appellant with a reasonable opportunity to improve in her
performance and, therefore, that the assignments were not unfair. See IAF, Tab 56
at 10. I note that the appellant herself testified that she had direct input on the
deliverable deadlines of the PIP assignments. See RF, Tab 25 (HR Vol. 2).
      I further find the appellant’s GAO disclosure was not directed towards
either Lee or Dong, as Lee was not the appellant’s supervisor at the time and
Dong did not join the agency until 2012. See RF, Tab 25 (HR Vol. 2). However,
in the event either were aware of the disclosure, it is reasonable to assume that
they would have had some motive to retaliate against the appellant given that the
disclosure reflects poorly upon the agency and specifically the OFFM. See
Chavez v. Department of Veterans Affairs, 120 M.S.P.R. 285, ¶ 33 (2013).
Nevertheless, I find the weakness of that motive alone, and particularly given the
strong evidence supporting Lee’s assessment of the appellant’s PIP performance,
does not constitute preponderant evidence that the GAO disclosure contributed to
the appellant’s removal. See Powers, 69 M.S.P.R. at 156.

June 2012 DAGC and OIG disclosure
      The appellant testified that she informed Lee about her disclosures to the
DAGC and OIGs on or about June 29, 2012 and that, in response, Lee directed
her to convene a conference call with the offices so she could retract the
     Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 208 of 228

                                                                                   32

appellant’s statements. See IAF, Tab 24 (HR Vol. 1). I adopt AJ Zamora’s finding
that Lee did not specifically dispute the appellant’s testimony and, therefore,
found Lee was aware of these disclosures. 11 See IAF, Tab 56 at 26. Furthermore,
as these disclosures occurred within two years of the appellant’s removal, I find
the appellant has met her burden of establishing these disclosures were a
contributing factor to her removal. See Agoranos v. Department of Justice, 119
M.S.P.R. 498, ¶ 20 (2013); Schnell v. Department of the Army, 114 M.S.P.R. 83,
¶¶ 20-22 (2010).

November 2012 OSC Complaint
      Regarding the November 2012 OSC Complaint, the Board upheld the prior
AJ’s determination that Lee and Dong were unaware of the complaint and,
therefore, failed to establish contributing factor through the knowledge-timing
test. See Pridgen, 2022 MSPB 31 at ¶ 64. However, the Board directed I consider
whether the appellant otherwise established contributing factor through other
relevant evidence. Id. at ¶ 65. I find the appellant has failed to do so. Lee and
Dong likely had motive to retaliate against the appellant for her November 2012
OSC Complaint because implicated them both directly and indirectly. However,
as discussed in more detail below regarding Carr Factor 1, I find the agency had
strong reasons for placing the appellant on a PIP, determining she failed to raise
her performance to an acceptable level, and removing her accordingly. I further
find, as discussed in more detail below, that the strength of those reasons
significantly outweigh the agency’s motivation to retaliate against her for
whistleblowing. I therefore find the appellant failed to meet her burden of
establishing preponderant evidence that her November 2012 OSC Complaint was
a contributing factor to her removal. See Powers, 69 M.S.P.R. at 156.


11
  Though AJ Zamora addressed only the appellant’s contact with the various agency
IGs, I find the appellant consistently described this disclosure as being made to both
various IGs as well as various agencies’ DAGCs. Accordingly, I find the record
supports a finding that Lee was aware of the appellant’s disclosures to both groups.
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 209 of 228

                                                                                  33

June 19, 2013 OSC Disclosure
      The appellant failed to argue that Lee, Dong, or other relevant management
officials were personally aware of her June 2013 OSC Disclosure. Rather, as
discussed above, the appellant argued the agency was “collectively” aware of all
of her protected activities. See RF, Tab 26 at 21-22. However, the appellant failed
to support this allegation with any credible evidence of record. Furthermore, as
discussed above, I find the strength of the agency’s evidence supporting its
actions significantly outweighs its motive to retaliate against the appellant for her
whistleblowing. Accordingly, I find the appellant failed to meet her burden of
establishing preponderant evidence that her June 2013 OSC Disclosure was a
contributing factor to her removal. See Powers, 69 M.S.P.R. at 156

The agency would have removed the appellant even absent her whistleblowing
      As stated above, where an appellant establishes a prima facie case of
whistleblower reprisal, the Board must order corrective action unless the agency
can establish by clear and convincing evidence that it would have taken the same
personnel actions even in the absence of the protected disclosure or activity. See
Carr, 185 F.3d at 1322-23. In determining whether the agency has met this
burden of proof, the Board considers the following factors: (1) the strength of the
agency’s evidence in support of the action; (2) the existence and strength of any
motive to retaliate on the part of the agency officials who were involved in the
decision; and (3) any evidence that the agency takes similar actions against
employees who are not whistleblowers, but who are otherwise similarly situated.
Id. The Board must consider all the pertinent record evidence in making this
determination. See Miller, 842 F.3d at 1258-62; Whitmore v. Department of
Labor, 680 F.3d 1353, 1368 (Fed. Cir. 2012); Mattil v. Department of State, 118
M.S.P.R. 662, ¶ 25 (2012). The Board does not view these factors as discrete
elements, each of which the agency must prove by clear and convincing evidence,
but rather weighs them together to determine whether the evidence is clear and
      Case 1:25-cv-02314-MAU     Document 1    Filed 07/17/25   Page 210 of 228

                                                                                   34

convincing as a whole. See Alarid v. Department of the Army, 122 M.S.P.R. 600,
¶ 14 (2015).
Carr Factor 1
       I find the agency has presented strong evidence to support the appellant’s
removal. The Board declined to make findings regarding AJ Zamora’s factual
findings regarding the appellant’s performance under the PIP. Upon careful
review of the record below and the parties’ evidence and argument on remand, I
find AJ Zamora’s factual findings and credibility determinations as to the
appellant’s unacceptable performance are fully supported by the record and I
incorporate them fully herein.
       As AJ Zamora found, the appellant did not successfully complete two of
the three tasks required under the PIP. To show acceptable performance, Lee
required the appellant satisfactorily complete tasks associated with three main
projects:     (1)   Grants   Workforce    Development     Initiative     (“Workforce
Development”); (2) Grants Reform and Financial Guidance (“Grants Reform”);
and     (3)    USAspending.gov     Data    Quality     Guidance        Implementation
(“USAspending”). Per the PIP, Lee and the appellant met at least weekly
throughout the PIP period and Lee provided the appellant with summaries of the
meetings via email thereafter. See IAF, Tab 10 at 63-74. The PIP period ran
through September 30, 2013. AF, Tab 10 at 77. On January 10, 2014, Lee gave
the appellant an assessment of her performance during the PIP period. Id. at 57-
75. Lee found that the appellant failed to meet the August 1 deadline regarding
Grants Reform, but that her overall performance under that critical element was
satisfactory. Id. at 59, 61. However, she found that the appellant’s failure to meet
the deadlines regarding both Workforce Development and USAspending made her
performance during the PIP period unsatisfactory. Id. at 59-62.
     Case 1:25-cv-02314-MAU          Document 1       Filed 07/17/25      Page 211 of 228

                                                                                               35

       As to Workforce Development, Lee found the appellant failed to meet five
of the six specific deadlines set forth in the PIP. 12 AF, Tab 10 at 60-61. The
appellant disputes that finding. For example, she testified that she did deliver the
final repository by September 30, 2013, as required. See IAF, Tab 24 (HR, Vol.
1). However, in an email to Lee on October 18, 2013, the appellant acknowledged
that the repository had not yet been finalized. IAF, Tab 34 at 148. Lee testified
that the repository still was not finalized as of November 2013. See HCD, Day 2,
Part 1. With respect to the other Workforce Development deadlines, the appellant
generally asserts that her failure to meet the deadlines was due to either Lee’s
failure to approve her drafts, a lack of available funding, or the failures of other
agency employees and/or other agencies. See generally, IAF, Tabs 24 and 25
(HR, Vols. 1 and 2). However, Lee explained during her hearing testimony how
the appellant could have completed each of the tasks and how she could have
been more proactive in seeking help with any difficulties she encountered. Lee
also explained why some of the drafts submitted by the appellant were
unacceptable. AJ Zamora found Lee’s explanations were credible, well-reasoned,
and sound. See IAF, Tab 56 at 12. The record fully supports that conclusion and I
adopt it herein. I therefore find Lee’s conclusion that the appellant did not
perform acceptably during the PIP with respect to the Workforce Development
assignment is well supported by the record.
       As to USAspending, the PIP required the appellant to, by September 30,
2013, ensure that all agencies subject to OMB’s June 12, 2013 guidance be in
compliance with the spirit and intent of the guidance and to adjudicate all agency
requests for deviation from the guidance. See IAF, Tab 10 at 88-89. In the June
12, 2013 guidance, OMB set forth several new requirements for agencies to
ensure the quality of financial data on USAspending.gov. Specifically, OMB

12
  Although the appellant also did not meet the sixth deadline (“Incorporate final audit body of
knowledge and include in final repository, delivered on the same day,” by September 30, 2013),
Lee determined that the appellant should not be held responsible for that failure because Tran did
not provide the materials she needed in order to complete that assignment. See IAF, Tab 10 at 60.
      Case 1:25-cv-02314-MAU    Document 1    Filed 07/17/25   Page 212 of 228

                                                                                 36

required that, beginning in October 2013, each agency assign a Federal Award
Identification Number (FAIN) to each financial assistance award. See IAF, Tab
32 at 15. OMB further required that, by October 1, 2013, each Federal agency
develop and implement procedures to validate the data on USAspending.gov with
data maintained in the agency’s financial system, and that, for each quarter
beginning after October 1, 2013, each agency report to OMB the accuracy rate of
USAspending.gov data based on its validation process, Id. In the guidance itself,
OMB set forth two authorized methods for validating USAspending.gov data. Id.
at 16. However, OMB also gave agencies the option to request to use an
alternative methodology. Such requests were to be submitted to OMB by August
31, 2013, and in their requests, agencies were required to describe the alternative
methodology, identify how it would assure the accuracy of USAspending.gov
data, and justify why neither of the two authorized methods was viable. Id. at 16-
17.
       On September 10, 2013, Lee asked the appellant to provide an update on
the status of compliance with the June 12, 2013 guidance and to identify which
agencies OMB was concerned about and why. See IAF, Tab 32 at 63-64. The
appellant responded, “I can send you what I have so far as some agencies have
still not provided their plans.” Id. at 63. In response to a follow-up email from
Lee, the appellant wrote,
       I didn’t call out any agencies we are concerned about because I
       haven’t come across agencies that are not trying to comply with the
       memo. I think they just need additional clarification and
       assistance/guidance in some of the areas raised during the calls.
Id. On September 27, 2013, the last business day before the September 30
deadline, the appellant sent an email indicating that four agencies had indicated
they would be submitting a plan but had failed to do so and identifying three
other agencies with outstanding issues regarding their plans. AF, Tab 45 at 8. On
September 30, 2013, the appellant sent an email indicating that at least two
    Case 1:25-cv-02314-MAU      Document 1    Filed 07/17/25   Page 213 of 228

                                                                                 37

agencies still had not submitted any response to the guidance and that further
follow-up was required as to several other agencies. See IAF, Tab 32 at 69.
      In assessing the appellant’s performance during the PIP, Lee determined
that, of the 24 agencies subject to the June 12, 2013 guidance, three agencies had
not provided any information to OMB indicating how they intended to comply
with the guidance, while four other agencies had submitted requests to use
alternative methodologies that were not adjudicated by September 30 2013. See
IAF, Tab 10 at 61-62. In her hearing testimony, Lee discussed each of the four
requests to use alternative methodologies and explained why the appellant did not
have sufficient information in each case to adjudicate the request by September
30, 2013. See IAF, Tab 25 (HR Vol. 2).
      The appellant testified that she raised issues regarding agency compliance
with the guidance in her discussions with Lee well before the deadline and that
Lee did not provide the assistance she requested. See IAF, Tabs 24 and 25 (HR
Vols. 1 and 2). She also testified that she did not receive the assistance she
requested from another agency employee, Mike Wetklow. Id. She testified that
Wetklow told her not to contact the Office of Personnel Management (OPM) or
the Department of the Treasury (Treasury) regarding their compliance with the
guidance. Id. Both Lee and Wetklow disputed the appellant’s version of events.
      As to the agencies that did not submit any response to the guidance prior to
the deadline, Lee testified that the appellant only requested assistance with those
agencies very late in September, shortly before the deadline. See IAF, Tab 25
(HR Vol. 2). Wetklow, the Branch Chief of the Office of Federal Procurement
Policy, was asked to provide technical support and assistance to the appellant and
Lee on the USAspending project. See id. Wetklow was not part of the appellant’s
chain of command and he did not know that the appellant was on a PIP. Id.
Wetklow testified that he worked with the appellant to get agencies to respond to
the guidance. Id. Wetklow testified that the September 27, 2013 email in which
    Case 1:25-cv-02314-MAU      Document 1    Filed 07/17/25   Page 214 of 228

                                                                                 38

the appellant asked him for assistance was the first time she had requested such
assistance, and that he would have helped her earlier had she asked. Id.
      Considering all of the relevant Hillen factors, AJ Zamora credited the
testimony of Lee and Wetklow over that of the appellant and found the appellant
did not request assistance until a few days before the September 30, 2013
deadline. See IAF, Tab 56 at 15-16. Furthermore, AJ Zamora did not credit the
appellant’s testimony that Wetklow told her not to contact OPM or Treasury
regarding the guidance. See id. After a thorough review of the record, I concur
with AJ Zamora’s findings. The documentary record reflects that the appellant
and Lee had regular email communications regarding the status of her various
assignments during the PIP. However, the first record of the appellant requesting
assistance was her September 27, 2013 email. See IAF, Tab 45 at 8. Lee later
indicated in an email that the appellant had requested assistance a few days
earlier on September 23, 2013, see IAF, Tab 32 at 74, but even that request came
only a week before a deadline of which the appellant had been aware for several
months. The appellant’s September 10, 2013, email to Lee, in which she wrote, “I
haven’t come across agencies that are not trying to comply with the memo,” see
IAF, Tab 32 at 63, is also inconsistent with her assertion that she requested
assistance well ahead of the deadline. Similarly, though the appellant claimed that
Wetklow told her not to contact OPM or Treasury about the guidance, the
appellant did not raise that issue in her October 18, 2013 email to Lee discussing
the status of the USAspending assignment, despite discussing both agencies in
that email. See IAF, Tab 32 at 74-75. Given the appellant’s failure to meet the
PIP deadlines and her failure to act reasonably toward achieving those deadlines,
I find Lee’s conclusion that the appellant’s performance during the PIP as to
USAspending assignment was unacceptable is well supported by the record.
      In its Remand Order, the Board directed that I reassess AJ Zamora’s
finding that the agency met its burden of proof under Carr, “particularly as to the
first Carr factor,” given that the Board “revers[ed] the sole charge of
    Case 1:25-cv-02314-MAU       Document 1     Filed 07/17/25   Page 215 of 228

                                                                                   39

unacceptable performance.” Pridgen, 2022 MSPB 31 at ¶ 68. I find the Board’s
reversal of the unacceptable performance charge does not materially alter my or
AJ Zamora’s findings with respect to the agency’s burden of proof under Carr.
      The Board reversed the agency’s removal action on the grounds that the
performance tasks against which the appellant was rated were not aligned with
“critical elements” of her performance plan. It stated the Grants Workforce and
USAspending tasks were associated with the Strategic Goals rather than the Core
Competencies of the appellant’s performance plan. See Pridgen, 2022 MSPB 31
at ¶¶ 16-17. The Board determined the “Core Competencies” equated to critical
elements and the strategic goals did not. In making that determination, the Board
noted that OPM regulations define “critical element” as “a work assignment or
responsibility of such importance that unacceptable performance on the element
would result in a determination that an employee’s overall performance is
unacceptable.” Id., quoting 5 C.F.R. § 430.203. The Board determined that, per
the appellant’s performance plan, unacceptable performance in any one Core
Competency required an overall unacceptable rating for the performance year,
whereas an employee must be unacceptable in three or more performance goals to
require an unsatisfactory rating. See id. The Board found the agency based the
appellant’s PIP and subsequent performance assessment on tasks listed as
strategic goals rather than Core Competencies. Accordingly, the Board
determined the agency failed to prove the appellant’s performance remained
unacceptable in at least one critical element. Id. at ¶ 18.
      In assessing the strength of the agency’s reasons for its actions, I find more
probative the significant evidence of the appellant’s unacceptable performance
leading to her removal and Lee’s clear intent to comply with the law rather than
the technical basis for its reversal. Lee consistently treated the appellant’s
performance goals as critical elements throughout the 2012-2013 rating period
and the PIP. Her consistent behavior is indicative of her attempt, albeit failed, to
properly follow required performance management principles and, accordingly,
     Case 1:25-cv-02314-MAU      Document 1      Filed 07/17/25   Page 216 of 228

                                                                                      40

lends strength to her reasons for proposing the appellant’s removal. Lee rated the
appellant unacceptable in three of the four Core Competencies of her 2012-2013
performance plan and unacceptable overall as a result. See IAF, Tab 10 at 97-98.
Lee’s narrative explanation of the unacceptable rating discussed the appellant’s
unacceptable performance in light of her failure to produce satisfactory work
towards the identified Performance Goals and broader Strategic Goals. See IAF,
Tab 30 at 55-57. This is consistent with the plan’s requirement that the elements
in an employee’s Performance Goals be “linked with” the Core Competencies and
Strategic Goals. See IAF, Tab 10 at 95. Similarly, the PIP refers to the
Performance    Goals   as   “critical    elements”   the   appellant   must    complete
successfully, see id. at 60, 66-67, and Lee’s assessment of the appellant’s
performance of those tasks likewise refers to the tasks as critical elements. See id.
at 59. Consistent with all of these references, Lee refers to the performance tasks
as critical elements in her proposed removal letter as well. See id. at 52.
      It appears, therefore, that Lee erred by identifying the Performance Goals
to   be   completed    during   the     PIP   without   also   identifying    the   Core
Competency(ies) to which her performance of those goals corresponded. This
error was then perpetuated throughout the PIP and removal process. However,
Lee testified that she and the appellant drafted the PIP requirements together and
that the PIP was reviewed by the agency’s legal counsel. See IAF, Tab 25 (HR
Vol. 2). She further testified that HR assisted her in drafting the proposed
removal letter based on her assessment of the appellant’s PIP performance. See
id. The record contains no indication that Lee or Dong were advised by legal
counsel or HR that the PIP or subsequent removal was improper because they
were not based on critical elements of the appellant’s performance plan. Nor does
the record reflect that the appellant raised that concern during the PIP, in her
response to the proposed removal, or during the hearing of this appeal. See
generally, IAF, Tab 1; IAF, Tab 10 at 43-47; and IAF Tabs 24 and 15 (HR). I
therefore find reasonable that the agency proposed and sustained the appellant’s
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 217 of 228

                                                                                  41

removal based on her failure to successfully perform the PIP tasks. I therefore
find the agency’s assessment of the appellant’s PIP performance constitutes
strong evidence supporting her removal regardless of the Board’s reversal of the
unacceptable performance charge.
Carr Factor 2
      As discussed above, Lee was aware of the appellant’s June 2012
disclosures to the DAGC and OIGs and I find the record supports that the
disclosures in part implicated Lee herself. Furthermore, the appellant alleged Lee
directed her to schedule conference calls with these offices in order to retract her
disclosures. Lee did not rebut this testimony. I therefore find evidence that Lee
had strong motive to retaliate against the appellant. I further find that motive
could be attributed to Dong as the Deciding Official in the removal given that Lee
proposed the removal.

Carr Factor 3
      The Federal Circuit has explained that “Carr does not impose an
affirmative burden on the agency to produce evidence with respect to each and
every one of the three Carr factors to weigh them each individually in the
agency’s favor.” See Whitmore, 680 F.3d at 1374. The Board has further held that
the third Carr factor may be insignificant where there is no evidence that the
agency had taken similar actions against non-whistleblowers. See Runstrom
v. Department of Veterans Affairs, 123 M.S.P.R. 169, ¶ 18 (2016) (finding the
third Carr factor insignificant due to the lack of evidence that there were any
similarly situated employees to the appellant); McCarthy v. International
Boundary and Water Commission: U.S. & Mexico, 116 M.S.P.R. 594, 626 (2011),
Sutton v. Department of Justice, 94 M.S.P.R. 4, 13-14 (2003). However, the
Federal Circuit has warned that an agency’s failure to present such evidence of
this factor may be perilous to its case. See Whitmore, 680 F.3d at 1374-75, Siler
v. Environmental Protection Agency, 908 F.3d 1291 (Fed. Cir. 2018); see also
    Case 1:25-cv-02314-MAU        Document 1   Filed 07/17/25   Page 218 of 228

                                                                                  42

Soto v. Department of Veterans Affairs, 2022 MSPB 6, ¶18 (2022). Likewise, in
Miller v. Department of Justice, 842 F.3d 1252 (Fed. Cir. 2016), the court found
the third Carr factor “add[ed] little to the overall analysis” of the case “but, if
anything, cut slightly against the Government” due to the absence of evidence
pertaining to that factor. Id. at 1262.
      I find the agency failed to present evidence that it has taken similar actions
against non-whistleblowers under similar circumstances. It is undisputed that
Tran was the only other GS-13 Policy Analyst under Lee’s supervision during the
relevant time period. See IAF, Tab 25 (HR Vol. 2). However, I find no evidence
that Tran similarly failed to perform successfully in any Core Competency or
Performance Goal in his FY 2012-2013 performance plan, or that he was ever
placed on a PIP. Rather, Lee testified that Tran had a “really great” performance
year in 2012-2013. See IAF, Tab 25 (HR Vol. 2). The appellant does not dispute
this testimony. She testified that she is aware of only one deliverable Tran failed
to meet that year – the audit body of knowledge for the grants workforce
repository – which, Lee testified, was not a prioritized element of Tran’s
performance plan that year. See IAF, Tabs 24 and 25 (HR Vols. 1 and 2).
Accordingly, I find Tran’s circumstances were not similar to the appellant’s such
that he could be considered a proper comparator for this analysis. Furthermore,
given the lack of any other potential comparators, I find reasonable the agency’s
inability to present evidence that it took similar actions against non-
whistleblowers in similar situations. This factor is therefore neutral in my
assessment of the agency’s actions.
      Weighing all of the evidence of record relevant to the Carr factors, I find
the agency has established by clear and convincing evidence that it would have
demoted the appellant even absent her whistleblowing. The agency had strong
motive to retaliate against the appellant during this time period. However, the
weight of that motive is eclipsed by the overwhelming strength of the evidence
supporting Lee and Dong’s reasons for removing the appellant. As such, I find the
    Case 1:25-cv-02314-MAU       Document 1     Filed 07/17/25   Page 219 of 228

                                                                                   43

agency has established by clear and convincing evidence that the agency would
have taken the same action regardless of the appellant’s whistleblowing.
Accordingly, no corrective action may be ordered. Carr, 185 F.3d at 1322-23

                                     DECISION
      The agency’s action is AFFIRMED.




FOR THE BOARD:                         ______________________________
                                       Monique Binswanger
                                       Administrative Judge

                            NOTICE TO APPELLANT
      This initial decision will become final on June 18, 2025 , unless a petition
for review is filed by that date. This is an important date because it is usually the
last day on which you can file a petition for review with the Board. Any petition
for review must be filed within 35 days after the date of issuance of the initial
decision or, if the petitioner shows that the initial decision was received more
than 5 days after the date of issuance, within 30 days after the date the petitioner
received the initial decision. The date that the petitioner receives the initial
decision is determined according to the standard set forth at § 1201.22(b)(3),
pertaining to an appellant's receipt of an agency decision. If the petitioner is
represented, the 30-day time begins to run upon receipt of the initial decision by
either the representative or the petitioner, whichever comes first. The date on
which the initial decision becomes final also controls when you can file a petition
for review with one of the authorities discussed in the “Notice of Appeal Rights”
section, below. The paragraphs that follow tell you how and when to file with the
Board or one of those authorities. These instructions are important because if you
wish to file a petition, you must file it within the proper time period.
     Case 1:25-cv-02314-MAU     Document 1     Filed 07/17/25   Page 220 of 228

                                                                                   44

                                BOARD REVIEW
       You may request Board review of this initial decision by filing a petition
for review.
       Your petition must state your objections to the initial decision, including
all of your legal and factual arguments, and must be supported by references to
applicable laws or regulations and by specific references to the record. You must
file it with:
                             The Clerk of the Board
                         Merit Systems Protection Board
                               1615 M Street, NW.
                            Washington, DC 20419

A petition for review may be filed by mail, facsimile (fax), personal or
commercial delivery, or electronic filing.     A petition submitted by electronic
filing must comply with the requirements of 5 C.F.R. § 1201.14, and may only be
accomplished at the Board's e-Appeal website (https://e-appeal.mspb.gov/ ).

                  Criteria for Granting a Petition for Review

       Pursuant to 5 C.F.R. § 1201.115, the Board normally will consider only
issues raised in a timely filed petition for review. Situations in which the Board
may grant a petition for review include, but are not limited to, a showing that:
       (a) The initial decision contains erroneous findings of material fact. (1)
Any alleged factual error must be material, meaning of sufficient weight to
warrant an outcome different from that of the initial decision. (2) A petitioner
who alleges that the judge made erroneous findings of material fact must explain
why the challenged factual determination is incorrect and identify specific
evidence in the record that demonstrates the error. In reviewing a claim of an
erroneous finding of fact, the Board will give deference to an administrative
judge’s credibility determinations when they are based, explicitly or implicitly,
on the observation of the demeanor of witnesses testifying at a hearing.
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 221 of 228

                                                                                  45

      (b) The initial decision is based on an erroneous interpretation of statute or
regulation or the erroneous application of the law to the facts of the case. The
petitioner must explain how the error affected the outcome of the case.
      (c) The judge’s rulings during either the course of the appeal or the initial
decision were not consistent with required procedures or involved an abuse of
discretion, and the resulting error affected the outcome of the case.
      (d) New and material evidence or legal argument is available that, despite
the petitioner’s due diligence, was not available when the record closed. To
constitute new evidence, the information contained in the documents, not just the
documents themselves, must have been unavailable despite due diligence when
the record closed.
      As stated in 5 C.F.R. § 1201.114(h), petition for review, or a response to a
petition for review, whether computer generated, typed, or handwritten, is limited
to 30 pages or 7500 words. A reply to a response to a petition for review is
limited to 15 pages or 3750 words. A party relying on word count to adhere to the
length limitation must include certification of the word count with their pleading.
Argument formatted such that the length of the pleading cannot be determined
may be rejected. Computer generated and typed pleadings must use no less than
12-point typeface and 1-inch margins and must be double spaced and only use
one side of a page. The length limitation is exclusive of any table of contents,
table of authorities, attachments, and certificate of service. Length limitations
may not be circumvented by including argument in attachments. Failure to
comply with length limitations, after sufficient opportunity to comply, may lead
to dismissal of the petition for review. A request for leave to file a pleading that
exceeds the limitations must be received by the Clerk of the Board at least 3 days
before the filing deadline. Such requests must give the reasons for a waiver as
well as the desired length of the pleading and are granted only in exceptional
circumstances. The page and word limits set forth above are maximum limits.
Parties are not expected or required to submit pleadings of the maximum length.
    Case 1:25-cv-02314-MAU         Document 1   Filed 07/17/25   Page 222 of 228

                                                                                   46

      If you file a petition for review, you should not include documents that
were part of the record below, as the entire administrative record will be available
to the Board. Any petition for review must be filed within 35 days after the date
of issuance of the initial decision or, if the petitioner shows that the initial
decision was received more than 5 days after the date of issuance, within 30 days
after the date the petitioner received the initial decision.      The date that the
petitioner receives the initial decision is determined according to the standard set
forth at § 1201.22(b)(3), pertaining to an appellant's receipt of an agency
decision. If the petitioner is represented, the 30-day time period begins to run
upon receipt of the initial decision by either the representative or the petitioner,
whichever comes first.
      Any response to a petition for review must be filed within 25 days after the
date of service of the petition. Any reply to a response to a petition for review
must be filed within 10 days after the date of service of the response to the
petition for review. The Board’s regulation at 5 C.F.R. § 1201.23 governs the
computation of time.

                    NOTICE TO AGENCY/INTERVENOR
      Any party to the proceeding, the Director of the Office of Personnel
Management (OPM), or the Special Counsel (under 5 U.S.C. 1212(c)) may file a
petition for review. Each party is limited to filing a single petition for review,
response to a petition for review, and reply to a response to a petition for review.
A petition for review filed by an agency should address the agency's compliance
with any interim relief requirements and should contain a certification, as set
forth at 5 C.F.R. § 1201.116(a).

                         NOTICE OF APPEAL RIGHTS
      You may obtain review of this initial decision only after it becomes final,
as explained in the “Notice to Appellant” section above. 5 U.S.C. § 7703(a)(1).
By statute, the nature of your claims determines the time limit for seeking such
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25    Page 223 of 228

                                                                                   47

review and the appropriate forum with which to file.            5 U.S.C. § 7703(b).
Although we offer the following summary of available appeal rights, the Merit
Systems Protection Board does not provide legal advice on which option is most
appropriate for your situation and the rights described below do not represent a
statement of how courts will rule regarding which cases fall within their
jurisdiction. If you wish to seek review of this decision when it becomes final,
you should immediately review the law applicable to your claims and carefully
follow all filing time limits and requirements.         Failure to file within the
applicable time limit may result in the dismissal of your case by your chosen
forum.
      Please read carefully each of the three main possible choices of review
below to decide which one applies to your particular case. If you have questions
about whether a particular forum is the appropriate one to review your case, you
should contact that forum for more information.

      (1) Judicial review in general . As a general rule, an appellant seeking
judicial review of a final Board order must file a petition for review with the U.S.
Court of Appeals for the Federal Circuit, which must be received by the court
within 60 calendar days of the date this decision becomes final . 5 U.S.C. §
7703(b)(1)(A).
      If you submit a petition for review to the U.S. Court of Appeals for the
Federal Circuit, you must submit your petition to the court at the following
address:
                              U.S. Court of Appeals
                              for the Federal Circuit
                             717 Madison Place, N.W.
                             Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 224 of 228

                                                                                   48

relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.

      (2)   Judicial   or   EEOC    review   of   cases    involving   a   claim   of
discrimination . This option applies to you only if you have claimed that you
were affected by an action that is appealable to the Board and that such action
was based, in whole or in part, on unlawful discrimination. If so, you may obtain
judicial review of this decision—including a disposition of your discrimination
claims —by filing a civil action with an appropriate U.S. district court ( not the
U.S. Court of Appeals for the Federal Circuit), within 30 calendar days after this
decision becomes final under the rules set out in the Notice to Appellant section,
above. 5 U.S.C. § 7703(b)(2); see Perry v. Merit Systems Protection Board, 582
U.S. 420 (2017). If the action involves a claim of discrimination based on race,
color, religion, sex, national origin, or a disabling condition, you may be entitled
to representation by a court-appointed lawyer and to waiver of any requirement of
prepayment of fees, costs, or other security. See 42 U.S.C. § 2000e-5(f) and 29
U.S.C. § 794a.
      Contact information for U.S. district courts can be found at their respective
websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .
      Alternatively, you may request review by the Equal Employment
Opportunity Commission (EEOC) of your discrimination claims only, excluding
all other issues . 5 U.S.C. § 7702(b)(1). You must file any such request with the
    Case 1:25-cv-02314-MAU       Document 1        Filed 07/17/25   Page 225 of 228

                                                                                      49

EEOC’s Office of Federal Operations within 30 calendar days after this decision
becomes final as explained above. 5 U.S.C. § 7702(b)(1).
      If you submit a request for review to the EEOC by regular U.S. mail, the
address of the EEOC is:
                         Office of Federal Operations
                  Equal Employment Opportunity Commission
                               P.O. Box 77960
                          Washington, D.C. 20013

      If you submit a request for review to the EEOC via commercial delivery or
by a method requiring a signature, it must be addressed to:
                         Office of Federal Operations
                  Equal Employment Opportunity Commission
                              131 M Street, N.E.
                                Suite 5SW12G
                          Washington, D.C. 20507

      (3)   Judicial   review    pursuant     to    the   Whistleblower     Protection
Enhancement Act of 2012 . This option applies to you only if you have raised
claims of reprisal for whistleblowing disclosures under 5 U.S.C. § 2302(b)(8) or
other protected activities listed in 5 U.S.C. § 2302(b)(9)(A)(i), (B), (C), or (D).
If so, and your judicial petition for review “raises no challenge to the Board's
disposition of allegations of a prohibited personnel practice described in section
2302(b) other than practices described in section 2302(b)(8) or 2302(b)(9)(A)(i),
(B), (C), or (D),” then you may file a petition for judicial review with the U.S.
Court of Appeals for the Federal Circuit or any court of appeals of competent
jurisdiction. The court of appeals must receive your petition for review within 60
days of the date this decision becomes final under the rules set out in the Notice
to Appellant section, above. 5 U.S.C. § 7703(b)(1)(B).
      If you submit a petition for judicial review to the U.S. Court of Appeals for
the Federal Circuit, you must submit your petition to the court at the following
address:
                                U.S. Court of Appeals
    Case 1:25-cv-02314-MAU      Document 1     Filed 07/17/25   Page 226 of 228

                                                                                  50

                              for the Federal Circuit
                             717 Madison Place, N.W.
                             Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.
      Contact information for the courts of appeals can be found at their
respective websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx
       Case 1:25-cv-02314-MAU           Document 1   Filed 07/17/25   Page 227 of 228




                            CERTIFICATE OF SERVICE

       I certify that the attached Document(s) was (were) sent as indicated this day
to each of the following:

                            Appellant

Electronic Service          Marguerite Pridgen
                            Served on email address registered with MSPB



                            Agency Representative

Electronic Service          Naomi Taransky
                            Served on email address registered with MSPB




               05/14/2025
                (Date)                                          Kiecia Payne
                                                             Paralegal Specialist
     Case 1:25-cv-02314-MAU                  Document 1        Filed 07/17/25        Page 228 of 228

                                                         A12



                       Exhibit A6

                       Xxxxxxxx
                      Exhibit A12
                       Paycheck withheld during PIP Period
                                   Cl ck the Reply button to create a response.
     Subject:         RE: Inquiry
     Received:        11/30/2013 9:27:00 AM
                      Good morning,

                      Thank you for contact,ng NASA Federal. The credit union does not receive any
                      notice 1f a change 1s made to a direct deposit since that process 1s controlled on
                      the payroll provider's end. The credit union simply receives and deposits the funds
                      to your account.

                      If you are not receiv ng your d rect deposit, please contact your payroll office to
                      have them research where your direct deposit 1s being sent. If they show it is be ng
                      sent to the credit union, please have them note which account number and have
                      them provide you w11h the 15-chglt trace number for each m ssing deposit Once you
                      have this information, please contact the cred t un on so that we may research our
                      system.

                      If they determine that the funds are not being sent to NASA Federal. then you and
                      your payroll office will have to deierm ne where the funds are being sent. The credit
                      un on cannot do this for you 1f the funds are not being sent here

     Message:         Thank you,

                      Colleen L.
                      Member Services

                      -----Onginal Message---··
                      From: •• •··s7S@)nasarcu.loca • <--••875@nasarcu.t ocal>
                      Sent: Saturday, November 30 2013 6:00 AM
                      To: "support@nasafcu.com· <support@nasarcu.com>
                      Subject: Inquiry {Contact Us General-39598452}

                      From Name: MARGUERiTE PRIDGEN
                      From ·              . •    OM
                      Pho �
                      Account:

                      Comments: My Rl)'C!jeck hasn't been deposited to my account since June I never
                      changed my Direct Deposit account. Is someone fraudulenUy diverting my
                      paycheck to another account?


                               Reply          Delete          Archive         Cancel



                                       )<>




t!lt� "bfhl>er: 2016033951     Submission date: 2016-08-08 20:17:14     Confirmation Number. 609731442   page36
